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                        Exhibit 2
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                                                                 C. Campbell, RDA CRR CSR f13921
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 NORCO
 IP         2000-2015 -  Watson Laboratories, Inc. now known as Actavis
            Laboratories Florida
            2016 - Allergan Sales, LLC
            2017 - Present Allergan Pharmaceuticals Limited (APIL)



            < July 2015 Watson Laboratories, Inc. (Nevada)
            > July 2015 Warner Chilcott Company, LLC (Puerto Rico)
                  divested to Teva August 2016


            Prior Actavis Pharma, Inc. formerly known as Watson Pharma, Inc.
            current Allergan USA, Inc.




 KADIAN
 IP         12/ 08 - 13 - Actavis Elizabeth LLC
            2013 - 2016 - Actavis Laboratories Utah formerly known as Watson
            Laboratories Salt Lake
            2016 -Allergan Sales, LLC



            Actavis Elizabeth TPM to Alpharma since 12/19/2005
            Actavis Elizabeth acquired Product in December 2008
            Continues to supply Allergan USA, Inc.


            Previous Actavis Pharma, Inc. formerly known as Watson Pharma, Inc.
            Today Allergan USA, Inc.
                             Case: 1:17-md-02804-DAP Doc #: 1909-5 Filed: 07/19/19 4 of 144. PageID #: 87678

        Steve Kaufhold: Information collccled in response to Plaintiffs' 30(b)(6) Notice


NO                   Topic                                                                     Response
43. 1   The corporale structu re of all                                                  Corporate History
        Allergan e ntities (i ncluding
        Allergan Finance, LLC,              See provided graphic laying out Allergan's transactional history.
        Allergan pie, and all
        subsidiaries, parents,                                                          Corporate Structure
        predecessors. successors
        and/or associated entities          The corporate struc ture of all the e ntities identified below is shown in the following corporate
        resulting from any and all          organizational charts: 20 11 -0 1-05 ALLERGAN_MDL_03367307; 20 11 -01 -2 1
        mergers over the years) a nd        ALLERGAN_MDL_ 03367302; 20 12-10- 12 ALLERGAN_MDL_03367301; 2012- 11 - 0
                                            ALLERGAN_ MDL_ 027__6 l-l72: 2012-12-3 1 ALLERGAN_MDL_03367304; 20 13-0 1-24
        each such entity' s
                                            ALLERGAN_MDL_02758853; 20 13-06-30 ALLERGAN_MDL_0293 I208; 2013- 10-0 I
        involvement with any opioid
                                            ALLERGAN_MDL_0 I098786; 2014-01-3 1 A LLERGAN_M DL_01384578; 20 14-06-30
        products from 1995 to the
        present, including the              ALLERGAN_MDL_03295845: 2014-12-3 1 ALLERGAN_MDL_02 I 77059; 20 15-01-0 I
        idenli fication of all drugs, the   ALLERGAN_MDL_02079795; 20 15-09-08 A LLERGAN_ M DL_0 1471538; 20 15-09-30
        entity's ro le in connection        ALLERGAN_MDL_02 I473 I5; 2016-0 1-0 I ALLERGAN_ MDL_0 1373731; 20 16-03-3 1
                                            ALLERGAN_ MDL_02 147 I I I; 20 16-08-03 A LLERGAN:.._MDL_03295865; 20 16-09-30
        with such drugs, and all opioid
                                            ALLERGAN_ MDL_03295869; 20 17-06-30 ALLERGAN_MDL_00000006: 20 17-08-0 1
        management involved.
                                            ALLERGAN_ MDL_0000000I; 2018-03-3 1 ALLERGAN_MDL_03295860.

                                            Key Chart - 08-02-20 16 A LLERGAN_ MDL_03674501

                                                                                     Involvement with Opioids

                                            Transferred Entities/IP Ownership:

                                            Allergan sold its generic businesses to Teva in 20 16. Teva - Allergan MPA
                                            (ALLERGAN_M DL_0 148 1207). As part of that transaction, A llergan sold a number of entities to Teva
                                            that were involved with generic opioids. The fo llowing entities sold to Teva were li sted as the ANDA or
                                            NOA holders for the following schedule JI opio id products (sec FDA "Orange Book"):

                                                    I.     Watson Laboratories, Inc.
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NO                   Topic                                                                     Response
                                                           (a)     Fentanyl citrate injection (ANDA# 0749 17)

                                                           (b)     Fentanyl citrate table (ANDA # 079075)

                                                           (c)     Fentany l Lransdermal (ANDA# 076709)

                                                           (d)     E-lydrocodone / acetam inophen (ANDA #s 081083; 081080; 081079; 040094;
                                                                   040122;040123;040099;040148;089883;040248)

                                                           (e)     Meperidine H ydrochloride Injection (AN DA #s 073443; 073444; 073445)

                                                           (I)     Meperidinc Hydrochloride Tablet (ANDA #s 040186)

                                                           (g)     Morphine su lfate injection (ANDA #s 073373; 073374; 073375; 073376)

                                                           (h)     Morphine sul fate capsu le (ANDA #s 200812)

                                                           (i)     Oxycodone / acetaminophen (ANDA #s 040234; 040171; 040371; 040535)

                                                           (j)     Oxycodone / aspirin (ANDA #s 040255; 090084)

                                                           (k)     Oxycodone /ibuprofen (ANDA# 078394)

                                                           (I)     Morphine sulfate tablet (ANDA# 075656)

                                                   2.      Actavis Laboratories FL, lnc. f/k/a Watson Laboratories, I nc. - Florida

                                                           (a)     Hydrocodone / acetaminophen (ANDA #s 040493; 040494; 040495; 040148 1;
                                                                   206470)

                                                           (b)     Hydrocodone / ibuprofen (ANDA #s 077454; 076604)


     1
         Some products are listed under more than one entity i f the ANDA or NOA transferred between the entities.


                                                                               2
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NO   Topic                                                           Response
                                    (c)   Oxycodone I aspirin (ANDA # 090084)

                                    (d)   Hydromorphone tablet (ANDA# 202 144)

                              3.   Actavis T otowa LLC

                                    (a)   Oxycodone I acetaminophen (ANDA #s 040203; 040 199; 040800)

                                    (b)   Homatropine methyl bromide/ hydrocodone bitartrate ( ANDA# 040295)

                                    (c)   Oxycodone I hydrochloride tablet (ANDA # 076636)

                              4.   Actavis El izabeth LLC

                                    (a)   Oxycodone / acetaminophen (AN DA #s 040203; 040199; 040800; 20 1447)

                                    (b)   Homatropine methyl bromide/ hydrococlone bitartrate (ANDA# 040295)

                                    (c)   M orphine sulfate capsu le (ANDA #s 0206 16; 079040)

                                    (d)   M orphine sulfate tablet (ANDA# 203849)

                                    (e)   Oxycoclone / hydrochloride tablet ( ANDA# 076636)

                                    (f)   Oxycodone / ibuprofen ( ANDA# 078769)

                                    (g)   Oxymorphone tablet (ANDA # 079046)

                              5.   Actavis Mid Atlantic LLC

                                    (a)   Homatropine rnethylbrornide / hydrocodone bitartrate (ANDA # 088017)

                              6.   Actavi s Laboratories UT, Inc. f/k/a Watson L aboratories, Inc. Salt Lake City




                                                     3
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NO   Topic                                                               Response
                                       (a)    Morphine su lfate capsule (NOA# 020616)

                                7.     Actavis South Atlantic LLC

                                       (a)    Oxymorphone tablet (ANDA# 079046)

                                       (b)    Fe ntanyl transdermal (ANDA # 077602)

                        Remaining Allergan Entities:

                        Kadian®: From December 19, 2005, until it purchased the medication, Actavis Elizabeth LLC served as
                        the contract manufacturer o f Kadian® for Alpharma. February 2, 2008 Actavis Elizabeth and Alpharma
                        Contract (ALLERGAN_ MDL_0 I 076982); December 19, 2005, Alpharma - Purepac Contract
                        (ALLERGAN_ MDL_0 1474803).

                        Actavis El izabeth LLC acqu ired Kaclian® from Alpharma in December 2008. December 17, 2008 Asset
                        Purc hase Agreement by and between King Pharmaceuticals, Inc. and Actavis El izabeth, L.L.C.
                        (ALLERGAN_MDL_0 1514893).

                        The ho lders of the Kadi an® NOA (0206 16) since December 2008 were and a re (see FDA "Orange
                        Book"):

                        •   December 2008-20 13: Actavis E lizabeth LLC

                        •   2013-2016: Actavis Laboratories UT, Inc. f/k/a Watson L aboratories, Inc. - Salt Lake C ity

                        •   20 16-Present: Allergan Sales, LLC

                        April 11 , 20 13 Transfer Lette r (A LLERGAN_MDL_0081 I 3 13); November 20, 20 14, Company Name
                        Change Letter (ALLERGAN_MDL_02 I 95036); Ma rch I I, 2016 Tran sfer Letter
                        (ALLERGAN_ MDL_02 I 97647).




                                                         4
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NO                 Topic                                                                        Response
                                           As part of the sale of its generic business to Teva, Teva agreed to continue manufacturing Kadi an® and
                                           Norco for Allergan. Exhibit B of Teva-A llergan 2015 MPA (ALLERGAN_MDL_03367042). At that
                                           time, Allergan also contracted with UPS SCS, Inc. to distribute control led substances, including Kadian®
                                           and Norco.2015 UPS A llergan Contract ALLERGAN_MDL_0 I 396729.

                                           Since December 2008, Kadian 's label has identified the fol lowi ng entities as the manufacturer or
                                           distributor of Kadian® : Actavis Elizabeth LLC; Actavis Kadian LLC; Actavis Pharma, Inc.; and Allergan
                                           USA, Inc. 02/2009 Label (ALLERGAN_MDL_0220069 I ); 02/20 IO L abel
                                           (A LLERGAN_MDL_0 I 132982); 07/2012 L abel2; 04/20 14 Label 3.

                                           The current label (revised 09/20184) states that Kadi an® is distributed by A llergan USA, [nc.; however,
                                           A llergan USA, Inc. does not distribute Kadian® itself. Instead, after Allergan sold the entities with the
                                           DEA-registrations required to produce and distribute schedule II controlled substances, Allergan USA,
                                           Inc. has contracted with UPS SCS, Inc. to distribute Kadian® on its behalf. 20 15 UPS Allergan Contract
                                           (ALLERGAN_MDL_0 1396729).

                                           Norco: The holders of the Norco ANDAs (40099 & 40 148) were and are (see FDA " Orange Book"):

                                           ANDA 40099:

                                           •   1997- 1999: UCB Pharmaceuticals, Inc .

                                           • 2000-20 15: Watson L aboratories, Inc.
                                           • 20 16: Allergan Sales, LLC
                                           • 20 17-Present: Allergan Pharmaceuti cals International Limited


     2
         ht1ps://www.acccssdata.f"da.gov/dru gsatfda_docs/l abcl/20 I 2/0206 16s04 I lbl.pdf"
     3
         hups://www.acccssdata.fda.gov/drugsatrda_docs/lahcl/20 I 4/0206 16s05 1lhl.rdr
     4
         hllps://www.a I lcrgan.com/assets/pd f/kad i an_ pi


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NO                 Topic                                                                        Response
                                          ANDA 40148:

                                          •   1997-2014: Walson Laboralories, Inc.

                                          •   20 15: Acta vis Laboratories FL, Inc .

                                          •   20 16: Allergan Sales, LLC

                                          •   20 17-Prcsent: Allergan Pharmaceuticals International Limited

                                          The following entities were involved in manufacturing and distributing Norco: Walson Pharma, Inc.,
                                          Walson Laboratories, Jnc., Warner Chi lcott Company, LLC, Allergan USA, Inc. , and Allergan Sales,
                                          LLC. 04/2002 Label (ALLERGAN_ MOL_01095947); April 2003 Label
                                          (ALLERGA N_MOL_0 I 095940); 07/2007 Labe l (A LLERGAN_MOL_0 1680965); I 0/2009 Label
                                          (ALLERGA N_MDL_02206790); 06/20 I I Labels (ALLERGAN_MDL_02209823;
                                          ALLERGAN_MDL_022 I 0219); 08/2012 Label (ALLERGAN_MDL_0 1768757); 08/2013 Labels
                                          (ALLERGA N_MDL_022 I 0402; ALLERGAN_ MDL_02209867); 2014 Labels5; 02/2017 Label
                                          (ALLERGAN_ MDL_022 I 9168); Current Label 6 .

                                          Similar to Kadian®, after Allergan sold the entities wi th the DEA-registralions required to produce and
                                          distribute schedu le II controlled substances, Allergan contracted with Teva and UPS, SCS Inc. to
                                          manufacture and distribute Norco on behalf of Allergan USA, Inc. and Allergan Sales, LLC.2015 UPS
                                          Allergan Contract (ALLERGAN_MDL_0 1396729); Exhibit B of Teva-A llergan 2015 MPA
                                          (ALLERGAN_MDL_03367042).

                                          Other Schedule II Branded Drugs: Between 2004 and 2006, Watson Pharmaceuticals, Inc., col laborated
                                          with Interpham, Inc. (the ANDA holder) in the marketing and sale of Rcprcxain (ANDA 076642 -
                                          Hydrocodone bitartrate / ibuprofen). June 07, 2004 Email & Press Release Announcing Launch


     5
         h1tps://www.acccssda1a.fda.c:ov/drugsa1rda docs/labcl/20 I 4/040099Orig I s0 I 81hl.pdr;
         hltps://www.acccssdata.fda.gov/drugsatrda_docs/labcl/20 14/040 I 48s053 1bl.pdr
     6
         hitps://www .al lergan .com/assets/pd f/norco_pi


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NO                 Topic                                                                   Response
                                         (ALLERGA N_MDL_0 1830938; ALLERGAN_MDL_01830941); June 14. 2006 Email Discussing No
                                         Longer Promoting Reprexain (ALLERGAN_MDL_0 1728789).

                                         On October 12, 2000, Watson Pharma, Inc. announced the addition of Maxidone (40094 - hydrocodone
                                         bitartrate / acetaminophen) to its product portfolio. October 12, 2000 Product Introduction Notification
                                         (A LLERG AN_MDL_02579713). Since 2015, Maxidone has been included on the FDA's list of
                                         discontinued drugs. (See 2015 FDA Orange Book, "Disconti nued Drug Product List").

                                         Actavis acquired Forest L aboratories, Inc. in 20 14. Prior to the acquisition. Forest Laboratories, Inc. sold
                                         a product called Combunox (02 1378 - Oxycodone Hydrochloride/ ibuprofen). Forest received approval
                                         for Combunox on November 26, 2004. Since 2012, Combu nox has been included on the FDA 's list of
                                         discontinued drugs. (See 2012 FDA Orange Book, "Discontinued Drug Product List'').

43.2   The management of the             Each of the seven entities identified above that had involvement with generic opioid medications is
       generic opioid business from      included on Schedule 4.6(g) of the Teva-Allergan M PA, which lists the entities transferred to Teva . Teva-
       1995 to the present for al I      Allergan MPA Schedules (ALLERGAN_MDL_03367048).
       Allergan entities (including
       Allergan Finance, LLC,            The January I, 2015, organization chart shows where each of these enti ties fell within the the corporate
       A llergan pie, and all            structure of Allergan prior lo the sale 10 Teva. ALLERGAN_MDL_02079795. Actavis South Allantic
       subsidiaries, parents,            LLC, Actavis Elizabeth, LLC, Actavis Mid Atlantic LLC, and Actavis Totowa LLC were all direct
       predecessors, successors          subsidiaries of Actavis LLC, which was an indirect subsidiary of Watson Laboratories, Inc. See id at 2.
       and/or associated entities        Watson Laboratories, Inc. was a direct subsidiary of Actavis, Inc. n/k/a Allergan Finance, LLC. See id.
       resulting from any and all        Actavis Laboratories UT, Inc. was a direct subsidiary of Actavis, Inc. n/k/a A l lergan Finance, LLC. Id.
       mergers over the years) and all   Actavis Laboratories FL, lnc. (f/k/a Watson L aboratories, lnc. - Florida) was a direct subsidi ary of Andrx
       generic opioids for which any     Corporation, which was a direct subsidiary of Actavis, Inc. n/k/a Allergan Finance, LLC. Id. Andrx
       Allergan entities had any         Corporation and Actavis LLC. in add ition to the seven generic ANDA-holding entities, were transferred Lo
       involvement                       Teva. Teva-Allergan MPA Schedules (ALLERGAN_MOL_03367048).

                                         Prior to the sale of these entities to Teva, Actavis, Inc. n/k/a Allergan Finance, LLC did not manufacture,
                                         market, distribute, or sell any pharmaceutical products. It operated solely as a holding company. All of the
                                         direct subsidiaries of Actavis, Inc. n/k/a Allergan Finance involved in the management of the generic




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NO   Topic                                                              Response
                        opioid business were transferred to Teva. No other affiliate of Allergan Finance LLC or Allergan pie had
                        involvement with generic opioids.

                        Officers & Directors of Generic Entities:

                        Based on a review of reasonably available documents, we have identified the following persons as
                        directors and officers of some of the entities identi fied above.

                        Watson Pharma, Inc.

                        7-24-2012:

                        Director: Paul M. Bisaro;

                        Officers: Paul M. Bi saro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                        Ranjana B. Pathak, Andrew Boyer, Charles M. Mayr, Lynne Amato, Thomas R. Griffin, Tim Callahan,
                        Diane Miranda, Kathleen Reape, Allan Slavsky, Michael W. Carr, Sigurd C. Kirk , James O'Brien, James
                        A. Williamson, Brett W. Hagardorn.

                        See A LLERGAN_MDL_03367292

                        8-30-2013:

                        Director: Paul M. Bisaro;

                        Officers: Paul M. Bisaro, G. Frederick Wilkinson , Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                        Ranjana B. Pathak, Andrew Boyer, Charles M. Mayr, Lynne Amato, Thomas R. Griffin, Tim Callahan,
                        Kath leen Reape, Allan Slavsky, Michael W. Carr, Sigurd C. Kirk, James O'Brien, James A. Williamson,
                        Brett W. Hagardorn, John Larocca.

                        See ALLERGAN_MDL_03367295.

                        Watson Laboratories, Inc.



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NO                  Topic                                                                    Response
                                           7-24-20 I 2:

                                           Director: Paul M. Bisaro;

                                           Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Slewart, R. T odd Joyce, David A. Buchen,
                                           Patrick G. Brunner, Charles D. Ebert, Ranjana B. Pathak, N ick Kerkhof, Gary Kozloski, Gary Holloway,
                                           Jeffery Regan, Beth Brennan, Kathleen Reape, Michael W. Carr, James O'Brien, James A. Williamson,
                                           Miguel A. Gomez, Brett W. Hagadorn, Roberta L oomar.

                                           See ALLERGAN_MDL_03367294.

                                           8-30-2013

                                           Director: Paul M. Bisaro;

                                           Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A . Stewart, R. Todd Joyce, David A. Buchen,
                                           Patrick G. Brunner, Charles D . Ebert, Ranjana B. Pathak, Hafrun Fridriksdouir, Nick Kerkhof, Gary
                                           Kozlosk i, Gary Holloway, Jeffery Regan, Beth Brennan, Kath leen Reape, Michael W. Carr, James
                                           O'Brien, James A. Williamson, Miguel A. Gomez, Bretl W. Hagadorn, John Larocca.

                                           See ALLERGAN_MDL_03367296.

43.3   All involvement and                 Allergan pie "was establi shed for the purpose of faci litating the business combination between A llergan
       communications Allergan pie         Finance, LLC (formerly known as Actavis, lnc.) and Warner Chi lcou pie." A llergan pie 2017 10-K at 3.
       has had with any of its             Allergan Finance, LLC acqui red Warner Chi lcott pie in a stock-for-stock transaction in 2013. 5/ 19/2013
       subsidiaries involved in the        Actavis, Inc. 8- K at 9. After the transaction, Warner Chi lcott and A llergan Finance, LLC each became
       li censing, manufacture,            wholly owned, indirect subsidiaries of A l lergan pie. Allergan pie 20 17 I 0-K at 3.
       marketing, sale, or distri bution
       of any opioid products,             A llergan pie f/k/a Actavis pie is an Irish corporation and its only offices arc located in Ireland. A llergan
       including A llergan pie's           pie is a holding company that exists for the purpose of holding shares of other companies that manufacture
       ownership interests in, control     and distribute prescription drugs rather lhan producing or selling its own goods or services. A llergan pie
       over, and financial                 docs not finance or control the daily affairs, including marketing or sales operations, of its subsidi aries.
       interrelationships with any



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NO                Topic                                                                     Response
     such subsidiaries, as wel l as  The following individuals are or were the primary executives at Allergan Finance, LLC in the following categories
     how subsidiaries' management at the specified time period:
     interacted with and reported to
     Allergan pie and how this       Watson Pharmaceuticals, Inc.
     changed over time.
                                     Officers
                                             (i)     Chief Executive Officer: Allen Chao ( 1999-2008), Paul Bisaro (2008-20 12)
                                             (ii)    Chief Financial Officer: Michael Boxer ( 1999-2002), Charles Slacik (2003-2007), Mark
                                                     Durand (2008-2009), R. T odd Joyce (20I0-2012)
                                             (iii)   Chief Operating Officer: Fred Wilkinson ( 1999-2000), Joseph Papa (2001-2004), Robert
                                                     Stewart (20 I0-2012)
                                             (i v)   General Counsel: Robert Funsten ( 1999-200 I ), David Buchen (2002-20 12)
                                             (v)     Sales: Lynne Amato ( 1999, 2003-2009), Carolyn Logan ( 1999), Andy Boyer (2003-20 12),
                                                     Tim Callahan (2010-20 12)
                                             (vi)    Marketing: Lynne Amato ( 1999, 2003-20 12), Carolyn Logan ( 1999), Andy Boyer (2003-
                                                     20 12)
                                             (vii)   Compliance: Roberta Loomar (2008-20 I 0), Deborah Penza (20 I 1-2012)
                                             (viii ) Sales or Marketing T raining: None
                                             (ix)    Government Affairs: G. Thomas Long (2004-20 I 0), Charlie Mayr (20 I 1-20 12)
                                             (x)     M edical Director: Gary Kozloski (200 1-20 12)
                                             (x i)   Research and Development: Charles Ebert ( 1999-2012), Francois Menard (2007-20 12)

                                       Directors
                                              (i)       Paul Bisaro (2007 - 2012)
                                              (ii)      Christopher Bodine (2009 - 20 12)
                                              (iii)     Allen Chao ( 1983 -2009)
                                              (iv)      Michael Fedida ( 1995 -20 12)
                                              (v)       Michael Feldman (1985 - 20 12)
                                              (vi)      Albert Hummel ( 1986 - 20 12)
                                              (vii)     Alec K eith ( 1991 - 2000)
                                              (viii )   Catherine K lema (2004 - 20 12)
                                              (ix)      Jack Michelson (2002 - 20 12)



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NO   Topic                                                                     Response
                                (x)        Mel vin Sharoky ( 1995 - 1998)
                                (xi)       Anthony T abatznik (2009 - 20 12)
                                (xi i)     Ronald Taylor ( 1994 - 20 12)
                                (x iii)    Andrew Turner ( 1997 - 20 12)
                                (xiv)      Fred Weiss (2000 - 20 12)

                        Actavis, Inc.

                        Officers:
                               (i)         Chief Executive Officer: Paul Bi saro (20 13-2014), Brent Saunders (20 15-20 16)
                               (ii)        Chief Financial Officer: Todd Joyce (20 13-20 14), Tessa Hilado (20 15-2016)
                               (iii)       Chief Operating Officer: Robert Stewart (20 13-20 16)
                               (iv)        General Counsel: David Buchen (20 13-20 14), A. Robert D. Bai ley (20 15-2016)
                               (v)         Sales: Andy Boyer (20 13), Tim Callahan (20 13), Siggi Olafsson (20 13-20 14), William
                                           Meury (20 15-20 16)
                                (vi)       Marketing: Andy Boyer (201 3), Lynne Amato (20 13), Siggi Ol afsson (20 13-201 4),
                                           William M eury (20 15-20 16)
                                (vii )     Compl iance: Debra Penza (20 13-20 14), Joseph Z immerman (20 14), Jonathon Kellerman
                                           (2015-20 16)
                                (vi ii )   Sales or Marketing T raining: None
                                (ix)       Government Affairs: Charlie Mayr (20 13-20 14), Alex Kel ly (2015-20 16)
                                (x)        Medical Direct.or: Gary Kozlowski (201 3), Gavi n Corcoran (20 14-20 16)
                                (xi)       Research and Development: Chuck Ebert (20 13-201 4), Hafrun Fridriksdotti r (20 13-20 14),
                                           David Nicholson (20 15-2016)

                        Directors
                               (i)         Paul Bisaro (20 13-2014)
                               (ii )       Christopher Bodi nc (20 13-2014)
                               (iii)       Michael Fedid;a (20 13-20 14)
                               (iv)        Michael Feldman (20 13-20 14)
                               (v)         Albert Hummd (20 13-20 14)
                               (vi)        Catherine Klcrna (20 13-2014)



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NO   Topic                                                            Response
                              (vii)    Jack Michelson (201 3-201 4)
                              (viii)   Ronald T aylor (201 3-201 4)
                              (ix)     A ndrew Turner (20 13-2014)
                              (x)      Fred Weiss (201 3-20 14)

                        Allergan Finance, LLC

                        Officers
                        A l lergan Finance, LLC's management structure is set forth i n the Second A mended and Restated
                        Operating A greement of Allergan Finance, LLC (ALLERGAN_MDL_SUPP_00000326). This Operating
                        Agreement identifi es the following offi cers:
                                 (i)     A . Robert D. Bailey
                                 (i i)   M atthew M . Walsh
                                 (iii)   Jonathon Kellerman
                                 (iv)    K aren Ling
                                 (v)     A lex Kelly
                                 (vi)    Wi l liam M eury
                                 (vii) Sigurd Kirk
                                 (viii) M,-u-c Prineen
                                 (ix)    James D ' A recca
                                 (x)     Sean L ennon
                                 (x i)   David N icholson
                                 (x ii)  L y nne Bolduc
                                 (xiii) Thomas Poche
                                 (x i v) Brian Anderson
                                 (xv)    Ri ccardo Mancuso
                                 (xvi) M artin Shindler
                                 (xvi i) W ayne Swanton
                                 (xviii) Stephen M. K aufhold
                                 (xi x) Kira Schwartz
                                 (xx)    Judith Tomkins




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NO                 Topic                                                                            Response
                                          Directors
                                          A llergan Finance, LLC does not have a Board of Directors. Allergan Finance, LLC instead has a two-
                                          person Board of Managers that is comprised of A. Robert D. Bailey and Matthew M. Walsh.

                                          Allergan pk Board & Executive Leadership Team:

                                          10-02-20137

                                          Directors:
                                                 (i)       Paul M. Bisaro
                                                 (ii)      James H. Bloem
                                                 (iii)     Christopher Bodine
                                                 (iv)      Tamar D. Howson
                                                 (v)       John A. King
                                                 (vi)      Catherine M. Klema
                                                 (vii)     Jiri Michal
                                                 (viii)    Jack Michelson
                                                 (ix)      Sigurdur Oli Olafsson
                                                 (x)       Patrick J. O'Sullivan
                                                 (xi)      Andrew L. Turner
                                                 (xii)     Fred G. Weiss

                                          Current Leadership:

                                          Executive Leadership Team:
                                                 (i)    Brenton L. Saunders, Chairman, President and CEO
                                                 (ii)   W illiam Meury, EVP & Chief Commercial Officer
                                                 (iii)  Matt Walsh, EVP & Chief Financial Officer
                                                 (iv)   A. Robert D. Bailey, EVP & Chief Legal Officer and Corporate Secretary
                                                 (v)    Karen L. Ling, Esq., EVP & Chief Human Resources Officer

     7   https://www.allergan.com/ news/news/thomson-reuters/actavis-plc-names-board-of-directors




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NO   Topic                                                              Response
                               (vi)     C. David Nicholson, PhD, EVP & Chief R&D Officer
                               (vii)    Alex Kelly, EV P & Chief Communications Officer
                               (viii)   Wayne R. Swanton, EVP, Global Operations

                        Directors
                               (i)      Nesli Basgoz, M.D.
                               (ii)     Joseph H. Boccuzi
                               (iii)    Christopher W. Bodline
                               (iv)     Adriane M. Brown
                               (v)      Christopher J. Coughlin
                               (vi)     Carol Anthony (John) Davidson
                               (vii)    Michael E. Greenberg, PhD
                               (viii)   Thomas C. Freyman
                               (ix)     Catherine M. Klema
                               (x)      Peter J. McDonnell, M.D.
                               (xi)     Fred G. Weiss




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                                                                                                                           Amide Pharmaceuticals
                                                      The Actavis Group                                                  Alpharma Generic Business
                                                                                    Actavis Group Enters the US                  (Purepac)
                                                                                    Market 2005                                                                                                   I
                                                                                                                                                                                        Dec. 2001 I Kadian Sold

                                                                                                                                                                                                 ..
                                                                                                                                                                                                  I


                                                            Oct. 2012
                                                                                                                                                   Dec. 2008
   Watson Pharmaceuticals, Inc.                                                            Actavis, Inc.                                                                                     King/Alpharma
                                                                                                                                                  Kadian Divested
                                                 Watson Pharmaceuticals
                                                 acquires the Actavis Group and
                                                 changes name to Actavis, Inc.




                                     Oct. 2013
Warner Chilcott pie                                          Actavis, Inc.

                                  Actavis pie formed to
                                  acquire Warner Chilcott
                                                                             Feb. 2014
                                                              Actavis pie                            Forest Laboratories, Inc.



                                                                                     Mar. 2015
                                                              Actavis pie                                                        Allergan, Inc.



                                                                                                                                       Aug. 2016
                                                                                   ___A_lle
                                                                                          _r_g_
                                                                                              an~ pl~c- ~- · - · - · - · - · - · - · - · - · - · - · - · - · - · - · - · - · -   •   Teva
                                                                                                                                     Generics Business Sold
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                                                                   EXECUTION VERSION
                                                                       CONFIDENTIAL

                                 Schedule 1.1 - Brand R&D Assets




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                                                                                                                     EXECUTION VERSION
                                                                                                                         CONFIDENTIAL

                                                                                                                Other        I
                                                                            Lame, Nothem
        Brands R&D Projects                                 Elizabeth, NJ                  Salt Lake City     Other Sites          API
                                                                               Ireland
                                                                                                            (Drug Product)
       Armour Thyroid              T3, T4
        Bystolic                   Nebivolol
        Byvalson (NAC)             Nebivolol , Valsartan
       TRV-027                     TRV-027                                                                     Nerv1ano               Ambernath
       Vraylar                     Cariprazine
        Fetzima                    Levomilnacipran
        Namenda XR                 Memanline
        Namzaric (MDX)             Memanline, Donepezil
       Saphris                     Asenapine
       Viibryd                     Vilazodone
       AGN237396
       AGN241607                   B63-a                                                                                         Ambernath
        Gelnique                   Oxybutynin
       Oxybut. for hyperhydrosis   Oxybutynin
       Sarecycline                 WC3035                                                                                             Ambernath
       Asacol 800 WC3046
                                   Mesalamine
       Asacol 400 WC3079
       Carafate, Sulcrate          Sucralphate
       Viberzi                     Eluxadoline                                                                                        Ambernath
       Linzess                     Linaclotide
       Zenpep                      Pancreatic enzyme
        Pylera                     Bi/tetracycl ./metro.
        Rectiv                     Nitroglycerine
        RM-131                     Relamorelin


                                                           -4-




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       Teflaro                   Ceftaroline fosamil
       AVYCAZ.                   Ceftazidime .avibactam
       CXL                       Ceftaroline, avibactam
       Dalvance                  Dalbavancin
       ATM-AVI                   Aztreonam-avibactam
       Colobreathe               Colistimethate Na
       Enablex WC3059            Darifenacin                         TBC         TBC
       Rapaflo                   Silodosin                                                  Dupnitsa
       Diafert                   Immunoassay kit
       Esmya                     Ulipristal acetate                  TBC
       Est.capsule WC3037        Estradiol                                                  Fajardo
       Est. cream WC3011         Estradiol                                                  Fajardo
       Etonog. Ring WC3058       Etonogestrel
       Levosert/ Liletta         Levonorgestrel IUD
       Loyelle/Loestrin WC3081   Norethindrone Ac ,EE                                       Fajardo
       Minestrin                 Norethindrone Ac ,EE                                       Fajardo
       Nuvessa                   Metronidazole gel
       lnFed                     Ion dextran
       PEG beads                 (Phoenix project)




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                                                                             EXECUTION VERSION
                                                                                 CONFIDENTIAL

                                    Schedule t.t (a)- Excluded Products

             •   Manufactured Products, as agreed on the date of the Agreement and as defined in the
                 Tem1 Sheet for the Manufacturing Agreement set out as Exhibit B to the Agreement.

             •   Androderm

             •   Aquadeks

             •   Asacol

             •   Diafert

             •   Eziclen

             •   Levoser

             •   Oxytrol

             •   Panzytrat

             •   Pylera

             •   Rapatlo

             •   Bendamustine HCI (Treanda ANDA #204208)

             •   Viibryd




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                                                                              EXECUTION VERSION
                                                                                  CONFIDENTIAL

                             Schedule 1.1 (b) - 1nternational Generics Products

        The products shown on the workbook entitled "International Gx Product L ist" in the Excel file
        entitled "SCJ-#3914718-vl -Product_ Schedule.xlsx", the final version of which was emailed to
        Jinhee Chung at Sullivan & Cromwell by Andrew Clark of Latham & Watkins at 03.04 AM on
        July27, 2015.




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                                                                           EXECUTION VERSION
                                                                               CONFIDENTIAL

                                     Schedule 1.1 (c) - OTC Products

        The products shown on the workbook entitled "US Product Gx List" in the excel file entitled
        "SCl-#3914718-vl-Product_Schedule.xlsx", the final version ofwhich was emailed to Jinhee
        Chung at Sullivan & Cromwell by Andrew Clark of Latham & Watkins at 03 .04 AM on July 27,
        2015.




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                                                                             EXECUTION VERSION
                                                                                 CONFIDENT IAL

                                Schedule 1.1 (d) - Seller Parent's Knowledge

           •   Paul M. Bisaro, Executive Chairman

           •   Brenton L. Saunders, Chief Executive Officer and President

           •   Robert Stewart, President, Generics and Global Operations

           •   Maria Teresa Hilado, ChiefFinancial Officer

           •   A. Robert D. Bailey, Chief Legal Officer and Corporate Secretary

           •   Karen Ling, Chief Human Resources Officer

           •   Jonathon Kellerman, Global Chief Compliance Officer




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                                                                           EXECUTION VERSION
                                                                               CONFIDENTIAL

                              Schedule 1. 1(e) - Transferred Brand Products

        The products shown on the workbook entitled "Transferred Brands" in the excel file entitled
        "SCJ-#3914718-vl-Product_Schedule.xlsx", the final version ofwhich was emailed to Jinhee
        Chung at Sullivan & Cromwell by Andrew Clark of Latham & Watkins at 03.04 AM on July 27,
        20 15.




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                                                                                 EXECUTION VERSION
                                                                                      CONFIDENTIAL

                                       Schedule 1.1 (f) - Transferred Entities




                                          Company Name                                Jurisdictwn of
                                                                                      Incorporation

        I.    Warner Chilcott Company, LLC                                          Puerto Rico

        2.    Warner Chilcott (Ireland) Limited                                     Ireland

        3.    Warner Chilcott Australia Pty. Ltd.                                   Australia

        4.    Warner Chilcott Pharmaceuticals B.V.B.A.                              Belgium

        5.    Warner Chilcott France SAS                                            France

        6.    Wamer Chilcott Italy S.r.1.                                           Italy

        7.    Actavis Phanna Iberia S.L. (f7k/a Warner Chilcott fberia S.L.)        Spain

        8.    Robin Hood Holdings Ltd.                                              Malta

        9.    Paomar plc                                                            Cyprus

        10. Actavis Pham1a Pty Ltd.                                                 Australia

        11.   Actavis Holding 2 Sarl                                                Luxembourg

        12.   Actavis S.a.r.l.                                                      Luxembourg

        13.   Actavis Phanna Holding 4 ehf. (APH4)                                  Iceland

        14.   Forest Laboratories UK Ltd.                                           UK

        15.   Forest Pharma BY                                                      Netherlands

        16.   Ax.can France (Invest) SAS                                            France

        17. Mako ff R&D Laboratories, Inc.                                          California

        18.   Royce Laboratories, Inc.                                              Florida

        19. The Rugby Group, Inc.                                                   New York

        20.   Watson Pharmaceuticals (Asia) Ltd.                                    BVI

        21.   Nicobrand Limited                                                     Northern Ireland

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                                          Company Name          Jurisdiction of
                                                                Incorporation

        22.   Watson Pharmaceuticals International Ltd.      BVT

        23.   Watson Diagnostics, Inc.                       Delaware

        24.   Del Mar Indemnity Co. Inc.                     Hawaii

        25.   Acta vis Laboratories NY, Inc.                 New York

        26.   Andrx Cotporation                              Delaware

        27.   Watson Cobalt Holdings, LLC                    Delaware

        28.   Watson Manufacturing Services, Inc.            Delaware

        29.   Allergan UK LLP                                UK

        30.   ForestTosara Ltd.                               Ireland

        31.   Actavis Laboratories UT, Inc.                  Delaware

        32.   Watson Laboratories, Inc.                      Nevada

        33.   Actavis Phanna, Inc.                           Delaware




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                                                                              EXECUTION VERSION
                                                                                  CONFIDENTIAL

                                  Schedule 1.1 (g)- U.S. Generics Products

        The products shown on the workbook entitled "US Product Gx List'' in the excel file entitled
        "SC 1-#3914718-v1-Product_ Schedule.xlsx" to the extent such products are not over the counter
        (non-prescription) products, the final version of which was emailed to Jinhee Chung at Sullivan
        & Cromwell by Andrew Clark of Latham & Watkins at 03.04 AM on July 27, 2015.




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                                                                             EXECUTION VERSION
                                                                                 CONFIDENTIAL

                   Schedule 1.1 (h)- Authorized Generic List of Own Brand Products



        #       Generic Name                                 Dosage Form           B rand Equivalent

        1       Butalbital/ Acetaminopben/Caffeine           Immediate Release     Fioricet®
                                                             Tablets

        2       Butalbital/Acetaminophen/Caffeine/Codeine Immediate Release        Fioricet® w ith Codeine
                Phosphate                                 Capsules

        3
               -Butalbital/ Aspirin/Caffeine                 Immediate Release     Fiorinal®
                                                             Capsules

        4       Codeine                                      Immediate Release     Fiorinal® with Codeine
                Phosphate/Butal b ital/ Aspirin/Caffeine     Capsules

        5       Escitalopram Oxalate                         Oral Solution         Lexapro®

        6       Estradiol                                    Immediate Release     Estrace ®
                                                             Tablets

        7       Ethinyl Estradiol/Noretbindrone (Layolis     Immediate Release     Generess Fe®
                Fe)                                          Tablets

        8       hydrochlorothiazide                          Tmmediate Release     Microzide®
                                                             Caps ules

        9       Hydrocodone Bit/Acetaminophen                Immediate Release     Norco®
                                                             Tablets

        10      Hydrocodone Bit/Acetaminophen                Immediate Release     Norco® 5MG/325MG
                                                             Tablets

        11      Hydrocodone Bit/Acetaminophen                Immediate Release     Norco® 7.5MG/325MG
                                                             Tablets

        12      Lidocaine/Prilocaine                         Topical Cream         Emla®

        13      Loxapine Succinate                           Immediate Release     Loxitane®
                                                             Capsules

        14      Morphine Sulfate ER                          Modified Release      Kadian®
                                                             Capsules

        15      Namenda                                      Immediate Release     Namenda®

                                                      -14-




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                                                              Tablets

        16      Norethindrone (Nora-Be)                       Immediate Release    Nor-QD®
                                                              Tablets

        17      Norethindrone A-E Estradiol/Ferrous           Immediate Release    Estrostep®Fe
                Fumarate (Tilia)                              Tablets

        18      Norethindrooe-E1hinyl Estradiol (Leena)       Immediate Release    Tri-Norinyl®
                                                              Tablets

        19      Norethindrone-Ethinyl Estradiol (Necon)       Immediate Release    Norinyl® 1/50
                                                              Tablets              (Norethindrone/Mestranol)

        20      Norethindro• e-Ethinyl Estradiol (Zenchent)   Immediate Release    Ovcon®
                                                              Tablets

        21      Noretbiodrone-Etl1inyl Estradiol/Ferrous      Immediate Release    Femcon FE®
                Fumarate (Zenchent Fe)                        Tablets

        22      Oxazepam                                      Immediate Release    Serax®
                                                              Capsules

        23      Podofilox                                     Topical Solution     Condylox® Solution

        24      Risedronate DR                                Modified Release     Atelvia®
                                                              T ableets

        25      Risedronate Sodium                            Modified Release     Actonel®
                                                              T ablets

        26      Risedronate Sodium                            Immediate Release    Actonel®
                                                              Tablets

        27      Ursodiol                                      Immediate Release    Actigall®
                                                              Capsules

        28      Ursodiol                                      Tmmediate Release    Urso 250®
                                                              T ablets

        29      Ursodiol                                      Immediate Release    Urso Forte®
                                                              T ablets

        30      Sucralfate                                    Immediate Release    Carafate®
                                                              Tablets




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                                Schedule 1.1 (i) - Puerto Rico Grant




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                                            COMMONWEALTH OF PUERTO RICO
                                   DEPARTMENT OF EC0N0MJC DEVELOPMENT AND COMMERCE
                                          OFFICE OF INDUSTRIAL TAX EXEMPTION

                   Grant of Tax Exemption to WARNER CHILCOTT COMPANY, LLC and PROCTER &
                   GAMBLE PHARMACEUTJCALS PUERTO R.IC0 LLC (hereinafter referred to 11s.
                   "applicants" or "Grantees"), Case No. 09-73-T-47, pursuant to the tenns of Act No. 73 of May
                   28, 2008 (hereinafter referred to as the "Act");

                                                                    DECREE

                           WHEREAS, the Act empowers the Secretary of the Department of Economic
                   Development and Commerce of the Commonwealth of Puerto Rico to Grant tax exemption from
                   specified t8JCCS to eligible industries when it is proved to the satisfaction of the Secretary of the
                   Department of Economic Development and Commerce that the applicants has established, or
                   will establish, an eligible industry as denned in the Act and that the same will be in the best
                   interest of Puerto Rico;

                           WHEREAS. the Secretary of the Department of Economic Development and Commerce
                   of the Commonwealth of Puerto Rico, after having examined the report of the Special Exammer,
                   the repo1t of the Executive Director of the Puerto Rico Industrial Development Company. and
                   other documents relative to this case, is of the opinion that the applicants bas proved that it will
                   operate an eligible industry within the meaning of the Act and that the same will be in the best
                   interest of Puerto Rico:

                           NOW, THEREFORE. BE IT DECREED BY THE SECRETARY OF Tiffi
                   DEPARTMENT OF ECONOMJC DEVELOPMENT AND COMMERCE OF THE
                   COMMONWEALTH OF PUERTO RJC0, that the applicants WARNER CHILCOTT
                   COMPANY. LLC ("WCCL") and PROCTER & GAMBLE PHARMACEUTICALS PUERTO
                   RJC0 LLC ("P&G Pharma"), be hereby granted tax exemption in accordance witb the applicable
                   terms of the Ac( covering the following activities: (I) the manufacturing of the following
                   products: chemical products: nitrofurantoin in its micro and macro crystalline form, dantrolene
                   sodium, etidronate sodium (EIIDP), and chemical intermediates thereof, which are useful in the
                   manufacturing of nitrofurantoin, dantrolene and dantro(ene sodium. and etidronate sodium as
                   bulk or fine chemicals, and pharmaceutical products: nitrofurantoin in its micro and macro
                   crystalline fonu, in U,e form ofliquid suspeosious, tablets and capsules; and Didronel (et1dro11ate
                   sodium) granulation and tablets. actonel, stedicor, Dantnwn capsules, such as dantrolene sodium,
                   in a sustained release or "long acting" or ..repeat action" tablet and/or capsule form. and any
                   related derivative or next generation products of such pharmaceutical products; (2) the
                   manufacturing and pacltaging of any otber ph&maceutical products. including but not limited to
                   tablets, semi solids and capsules for pharmaceutical products; (3) contract manufacturing of
                   pharmaceutical products; (4) contract manufacturing or toll processing of phannaceutical
                   products for other related or unrelated companies including, without limitation, the convCISion of
                   raw materials into goods in process or finished goods; warehousing of raw materials, goods in
                   process or finished products; logistics or administration services in connection with raw
                   materials. packaging materials, goods in process or finished goods, product supply, and any other
                   activity relnted to the manufacturing of the products and or necessary to conduct the
                   manufacturing operations by U1e applicants and/or other parties; provided that the raw materials,
                   goods in process or finished goods may be either owned by any of tl1e Grantees or the other
                   contracting party: (5) the distribution of products manufactured by other entities on behalf of the
                   applicants under contract manufacturing agreements; (6) import of products for their distribution
                   to foreign markets; (7) the distribution of products that will not enter into Puerto Rico (drop
                   shipments); (8) the licensing of intMgible assets to companies in Puerto Rico or outside of
                   Puerto Rico; and (9) import of the products Doryx. Pyridium. and Pyridium Plus, as well as any
                   other products for distribution to foreign markets. provided that the operations shall be carried
                   out as described in the application;




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                                                                 -2-                           Case No. 09-73-1-47

                          BE IT FURTHER DECREED. that pursuant to Section 13(aJ (2) (G) of the Act and
                  Administrative Order No. 0002-2008 of September 2. 2008. the Secretary of the Department of
                  Economic Development and Commerce of the Commonwealth of Puerto Rico authorized the
                  Director of the Office of Industrial Tax Exemption to carry on administrative duties of all nature,
                  related with Grants of tax exemption issued under the provisions of the Act. including the
                  approval or denial of tax exemption Grants for property devoted to industrial development, but
                  excluding the authority to approve or deny lllX exemption Grants to manufacturing or se1vice
                  units and any other duty specifically bestowed upon him by the Act;

                         BE IT FURTHER DECREED. that the Grantees heretn shall be entitled to an exemption
                  period of fifteen (15) years. The locations of the exempted businesses are at the municipalities of
                  Fajardo and Manatf, Puerto Rico. The effective dale of said tax exemption for WCCL shall be
                  September l 7. 2009 for income tax purposes and for municipal license and other municipal taxes
                  purposes; and January l, 2010, for real and personal property tax purposes. The effective date for
                  P&G Pharma shall be October 30, 2009. for income tax purposes; and January I, 2010, for real
                  and personal property tax purposes aod for municipal license and other municipal ta.xes
                  purposes;

                         BE IT FURTHER DECREED. that with the approval of this Grant, WCCL shall
                  surrender the remainder exemption period for Case No. 04-135-I-29, effective from September
                  16, 2009, for income tax pulJ)OSCS and for municipal license and other municipal taxes purposes;
                  and December 31. 2009. for real and peTSonal property tax purposes; PROVIDED FURTHER,
                  that P&O Pharma shall surrender the remainder of tbeir exempt period for the operations nt
                  Manatf on the Grant 00-135-I-18, effective October 30, 2009, for income tax purposes; and
                  December 31. 2009, for real and persona! property tax purposes and for municipal license and
                  other municipal taxes purposes;

                          BE IT FURTHER DECREED, that as an essential condition to this Grant. P&G Pharma
                  shall request that the grant of tax exemption under Case No. 00-135-1-18, be 11mended to reflect
                  that Procter & Gamble Pharmaceuticals Puerto Rico LLC and its operations at ManatL Puerto
                  Rico. shall not be covered under such Grant. effective as of October 30, 2009;

                        BE IT FURTHER DECREED, that the Grantees are authorized to perfonn contract
                  manufacturing activities pursuant to Section 2(f) of the Act:;

                          BE IT FURTHER DECREED. that pursuant to Section 3(a) (2) of the Act. and dunng the
                  term of th.is Grant, the Grantees shall be subject to a fixed income ta.x rate of two percent (2%)
                  on its industrial development income ("!Dlj derived from the manufacturing operations, the
                  services activities. the licensing activities and the contract manufacturing activities covered by
                  this Grant, in lieu of any other income tax rate; PROVIDED FURTHER, that the fixed income
                  tax rate will not be subject to a Base Period Income pursuant to Section 3(g) of the Act, as
                  recommended by the Puerto Rico Jndustnal Development Company at the Eligibility Report and
                  Supplementary Reports for this case:

                           BE IT FURTHER DECREED. that on cUITCnt distributions and on total liquidations, the
                  industrial development income accumulated by WCCL starting on September 17, 2009 shall be
                  totally exempt pUTsuantto Sections 3(d) (1) and (4) of the Act;

                          BE IT FURTHER DECREED, that on current distributions and on total liquidations. the
                  industrial development income accumulated by P&G Pharma starting on October 30, 2009. shall
                  be totally exempt pursuant to Sections 3(d) ( l) and (4) of the Act:

                         BE 1T FURTHER DECREED, that on current distributions and on total liquidations, the
                  IDT accumulated by WCCL up to September 16. 2009, shall be totally exempt pursuant to
                  Sections 7 and 10 ofAct No. 135 of December 2. I 997 ("Act No. 135");

                         BE IT FURTHER DECREED. that on current distributions aod on total Jiquidabons, the
                  IDI accumulated by P&G Pharma from July l. 2001 through October 30. 2009 shall be totally
                  exempt pursuant to Sections 7 and 10 of Act No. 135;




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                                                                 -3-                           Case No. 09-73-J-47
                         BE IT FURTHER DECREED. that distributions, as dividends, of !DI accumulated by
                  P&G Pharma as of June 30. 2001. shall be subject to taxation according to the provisions of Act
                  No. 26 of June 2, 1978, as amended ("Act No. 26");

                         BE IT FURTHER DECREED, that total liquidation ofIDl accwnulated by P&G Pha1ma
                  from January 1, 1987 through June 30, 2001. shall be subject to taxation according to the
                  provisions of Act No. 8 of January 24, 1987, as ameoded;
                         BE 1T FURTHER DECREED. that total liquidation of IOI accumulated by P&G Pharma
                  up to December 31. 1986. shall be taxed as provided in Act No. 26;

                         BE IT FURTHER DECREED. that pursuant to Section 3(c) of the Act. the !DI derived
                  from investments on eligible activities under Section 20) of the Act shall be totally exempt from
                  mcome taxes and any other taxation;

                          BE IT FURTHER DECREED. that to the extent allowed and/or contemplated by the Act,
                  the Grantees shall not be subject to any additional tax mensured by reference to income or
                  revenues, withholding taxes. property taxes, or municipal taxes: provided that any mcome tax
                  overpayments attributable to the fixed income tax rates provided in this grant shall be creditable
                  against Grantees' income tax liabilities arising io other taxable years:

                          BE IT FURTHER DECREED, that as provided by Section 7(a) of the Act. the Grantees,
                  shall enjoy ninety percent (90%) exemption from municipal and Commonwealth personal and
                  real property taxes. used in the development organization, construction, establishment or
                  operation of the activity covered under the grant. during the exemption period provided by
                  Section l 0 of the Act, starting on January 1. 20 l O;

                         BE 1T FURTHER DECREED. that intangible personal property in the nature of patent,
                  production license. or trademark acquired by the Grantees. as well as the shares of stock. bonds
                  and other securities held by the Grantees, shall be totally exempt from the payment of property
                  taxes:

                         BE IT FURTHER DECREED, that the effective date of this Grant for municipal license
                  tax purposes will be September 17, 2009. for WCCL and January I , 2010, for P&G Pharma. The
                  Grantees will continue to be sixty percent (60¾) exempt with respect to the municipal license tax
                  payments and other municipal taxes imposed by any municipal ordinance, due on September 17,
                  2009, for WCCL, and January 1. 2010, for P&G Pharma. as provided by Section 8 (a) of the Act;

                          BE IT FURTHER DECREED, that pursuant to Section 3(b) (3) of the Act, the royalty
                  payments that the Grantees make to non-residents of Puerto Rico will be subject to a withholding
                  tax of ten percent ( I 0%);

                          BE lT FURTHER DECREED, that pursuant to Section 2(a) (6) of the Act, tbe ID£
                  subject to a fixed income tax rate of two percent (2%), will include any net income derived in
                  connection with intangible property or any other right to receive 1ncome re.fated to activities or
                  intangible property owned or possessed by the Grantees, mcluding, without limitation, tncome
                  related to the sale of products manufactured under the intangible property (even if mnnufoctu1'Cd
                  outside of Puerto Rico), royalties, up-front fees, and milestone payments, and any net gains from
                  the sale of the intangible property;

                         BE IT FURTHER DECREED. that the minimum tax payment pursuant to Section 5(h) of
                  the Act, shall be the fixed income tax rate of two percent (2%), considering as payment of such
                  minimum tax any amounts withheld on royalty payments;

                          BE IT FURTIIBR DECREED, that in the case the Grantees is eligible for any of the
                  credits provided by Sections 5 and 6 of the Act. the same shall be subject to the limitations
                  imposed by Section S(h) of the Act;




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                         BE IT FURTHER DECREED. that this Grant shall be subject to the condition that the
                   Grantees maintain the export billings of the services herein contemplated at a minimum annual
                   volume of $5,000,000 within twelve (12) months after the effectiveness of this Grant;

                           BE IT FURTHER DECREED, that as an essential condition to the issuance and
                   continuance of this Decree. Grantees m\lSt comply with a combined employment comnutment of
                   three hund.red and ninety (390) persons in its manufacturing operations and ten (10) persons in
                   its service activities within the twelve (12) months after the effectiveness of this Grant. and must
                   always continue to so directly employ at least said number of individuals; PROVIDED
                   FURTHER, that to comply with the combined employment requirement of four hundred (400)
                   persons, the Grantees can be allowed to consider full-time, part-time. temporary empl.oyees and
                   employees for hire from employment agencies or other third parties rendering services to the
                   Grantees in connection with its exempt operations; PROVIDED. that for purposes of compliance
                   with the mmimum employment requirement herein established, the Grantees shall not count
                   people employed by the corporations that subcontract the Grantees, affiliated eotihes of the
                   Grantees or other entities doing business in Puerto Rico, unless any employee COWlted by ti1e
                   Grantees are not counted by that other entity for pur:poses of detennining compliance of its own
                   mm1mum employment requirement. if any; PROVIDED. that comrnenclJlg with the first full
                   fiscal year of operations under the Grant after the effective date of the Grant. compliance with
                   said employment requuement shall be detenn.ined on an average annual basis, using the weekly
                   employment level and the fiscal year of the Grantees. and the ave1,age employment level shall
                   likewise apply during any partial fiscal year of operations prior to ti1e date of ceasing operations
                   under the Grant;

                          BE IT FURTI-IER DECREED. that in determining the weekly employment level of direct
                   employees, in order to calculate tbe Grantees' annual average employment level, the Grantees
                   could include in such calculation any and all employees deemed inactive due to temporary leaves
                   as a result of maternity. non-occupational disability, workmen's compensation related claims,
                   and any 0th.e r in similar work license;

                           BE IT FURTHER DECREED. that in detennining the weekly employment level of
                   temporary employees, part-time employees, and employees from employment ageuc1es, in
                   order to calculate the Grantees' annual average employment level. the Grantees shall compute
                   the weekly full time equivalent employment level by dividing the total number of man-hours
                   for a particular week by forty ( 40) hours;

                          BE IT FURTHER DECREED. that in determining the weekly employment level of
                   employees, in order to calculate the Grantees' annual average employment level, plant
                   shutdowns resulting from strikes. war. actions of the government, or the elements, plant shut-
                   downs for regular maintenance of the facilities as per industry standard. or any other reasonable
                   cause beyond the control of the Grantees shall not be !alcen into account:

                           BE IT FURTHER DECREED, that the employment requirement for the service activities
                   mentioned above shall not include the company owners. nor employees of Grantees' associated
                   local concern or employees of the Grantees that renders services for tl1e local marl<et;

                           BE IT FURTHER DECREED, that the Grantees must always comply with the
                   employment requirement of the preceding clause. e xcept In cases of unforeseen circumstances
                   which may cause a reduction of employment beyond the control of Grantees, at which
                   occurrence, or at the earliest date when such occurrence is contemplated, the Grantees shall be
                   subject to one of the following alternatives:

                                I. lf the reduction represents ten percent (l0%) or less of the employment
                                   requirements, the Grantees has no obligation to notify the Office of Industnal
                                   Tax Exemption of said reduction;

                               2. If the reduction represents more than ten percent (10%) but less than twenty
                                  five percent (25%) of the employment requirement. Grantees shall notify within
                                  thirty (30) days after such reduction occurs, the Office of IndustiiaJ Tax
                                  Exemption. with copy to the Department of Labor and Human Resources of




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                                    Puerto Rico and the Industrial Development Company, of said reduction of
                                    employees on a swam statement sent by certified mail with return receipt
                                    requested, or in the alternative, shall file said sworn statement personally at the
                                    Office of Industrial Tax Exemption with copy to tbe Department of Labor and
                                    Human Resources of Puerto Rico and the Industrial Development Company;

                                3. If the reduction represents twenty five percent (25%} or more of the
                                   employment requirement, the Grantees shall file within thirty (30) days after
                                   such reduction occurs, to the satisfaction and acceptance. which acceptance
                                   shall not be unreasonably withheld. with the Office of Industrial Tax Exemption
                                   a sworn application, with copy to the Department of Labor and Human
                                   Resources of Puerto Rico and the Industrial Development Company requesting
                                   approval of the Office of Industrial Tax Exemption for said reduction;
                                   PROVIDED, that the Office of Industrial Tax Exemption shall rnnke a
                                   determination of such application as to whether Grantees shall be deemed to be
                                   in compliance with the employment requirement talcing into considerat10n such
                                   reasonable grounds for reduction of employment., as for example, but not
                                   limited to, strikes, war. action of a government or of the elements. or any other
                                   reasonable cause beyond the control of the Grantees; PROVIDED, FURTHER.
                                   that it may, in lieu of the cancellation of the Decree on those cases in which the
                                   reduction of twenty five percent (25%) or more of the employment requirement
                                   1s not approved:

                                        a. increase the fixed income tax rate and reduce the tax exemption
                                            percentages applicable to property and municipal                licenses
                                            proportionately in a ratio which bears the relation between the reduced
                                            employment to the employment requirement:. and/or

                                        b. approve a temporary reduction of the employm.e nt requirement when
                                            circumstances so merit by negotiating any other reasonable condition
                                            satisfactory both to the Grantees and the Commonwealth of Puerto Rico,
                                            and, a waiver of the employment requirement will be Granted when in
                                            the judgment of the pertinent Government agencies such terms of the
                                            negotiation further the purposes of industrial development under this
                                            Act;

                            BE IT FURTHER DECREED, that Grantees are waived from compliance with the eighty
                   percent (80%) employment level requirement established pursuant to Sections 3(aJ (2) and 3(b)
                   (3) of the Act.

                            BE IT FURTHER DECREED, that notwithstanding the preceding clause. the Grantees
                   herein shall be subject to the following conditions. in regard of tile herein exempt service
                   acllvities:

                                  I. E ighty percent (80%) of rts employees. technicions and/or professionals shall
                                     be residents of Puerto Rico;

                                  2. Such services shall not be utilized directly or indirectly in Pueiio Rico. except
                                     those to be rendered to another finn in Puerto Rico that ultimately exports the
                                     designated service product;

                           BE IT FURTHER DECREED, that if at any trme during the effectiveness of this Grant
                   such services are utilized directly or indirectly m Puerto Rico, the provisions of this Grant shall
                   not be applicable, and. therefore, such services shall be fully taxable, except those that fall within
                   the exception mentioned in the paragraph above;




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                          BE IT HJRTHER DECREED. that the Grantees shall make all possible efforts to hire its
                   production workers from the unemployed labor force listed in the Employment Service Division
                   of the Bureau of Employment Security of the Department of Labor and Human Resources of
                   Puerto Rfoo;

                            BE IT FURTHER DECREED, that if the income of the Grantees or any affiliate of the
                   Grantees is adjusted by a firm and final order of the U.S. lntemnl Revenue Savice pul'Sl1ant to
                   the United States Internal Revenue Code of 1986. as amended, or by the appropriate ta."
                   administration agency or competent autbority of any foreign jurisdiction under any compamble
                   and applicable statute of said foreign Jurisdiction (hereafter the "Adjustment"). and the
                   Adjustment involved or implied an actual. deemed or implicit decrease or incr~ase, ,n
                   attributions, assignments, allocations, or imputations made from the Grantees to or from any
                   affiliates thereof in the taxable income of said Grantees as said taxable income had been
                   previously determined by the Grantees on a Puerto Rico income tax return, or would otherwise
                   reflect a tax position inconsistent with a tax reporting position taken by the Grantee for Puerto
                   Rico income tax (including non-resident withholding tax) purposes and. if by a reason of said
                   inconsistent tax treatment or tax reporting position lhe Grantee or its affiliate may be subJect to
                   mconsistent tax treatment and/or potential double taxation, the Commonwealth of Puerto Rico,
                   through the Puerto Rico Treasury Department may issue a credit to the Grantees, without
                   interest, for any excess income taxes previously paid: provided, that if the effect of the
                   Adjustment were 11n actual, deemed or implicit increase in the Puerto Rico taxable income of the
                   Grantees, the Grantees shall show an amount equal to tbe Adjustment on an amended Puerto
                   Rico income tax return or the Grantees shall enter into a Closing Agreement with the Puerto Rico
                   Treasury Department and shall pay the corresponding taxes, without the imposition of nny
                   interest, surcharges. penalties. or other additions (hereafter the "Correlative Adjustment"'). The
                   Granree acknowledges that the Puerto Rico Treasury Department, under the provisions of the
                   Tax Coordination Agreement entered into between the Puerto Rico Treasury Department and the
                   United States Internal Revenue Service, enacted Circular Letter 06-04 establishing the procedure
                   to request assistance under the Mutual Agreement Procedure on potential double ta-.:ation
                   established in the Tax Coordination Agreement between the United States and Puerto Rico. The
                   Grantees shall follow the procedure established in the Circular Letter whenever a situation that
                   would give rise to an Adjustment would require a Correlative Adjustment;

                           BE IT FURTHER DECREED. that the gross Puerto Rico income and Puerto Rico taxable
                   income of those Grantees that have in effect an election under Section 936 of the United States
             \     Internal Revenue Code of 1986. as amended, shal.l conform with the gross income and ta.xable

           ~
                   income of the grantees for purposes of the United States Internal Revenue Code of 1986, 11s
                   amended: provided. that any cost sharing, profit split. royalty, or other analogous. compnrable, or
                   equivalent payments, attributions, assignments. allocations, or imputations made from the
                   Grantees to any affiliates thereof in order to reflect the gross income and taxable income of the
                   grantees or other affiliates for purposes of the United States Internal Revenue Code of l 986. as
                   amended. shall be removed and excluded from. and shall reduce, thi: Grantees' gross income,
                   taxable income and volume of business for Puerto Rico tax purposes; and provided, that any such
                   payments. attributions. assignments. allocations, or imputations that are made 10 other affiliates
                   shall be one hundred percent (100%) exempt from income laxes, including income taxes
                   with.held ar source, and from municipal license taxes, as provided in Article 1042-7 of the
                   Regulations issued under the Code:

                          BE IT FURTHER DECREED. that during the term of this Grant. the Grantees will be
                   entitled to all of the benefits. exemptions and special tax rales available under the Act in effect
                   on the date the Grant is signed. to the extent not inconsistent with nny special provisions of this
                   Grant; provided. that Grantees shall have tJ1e option of availing themselves of any benefit~ which
                   may in the future become generally available under the Puerto Rico Internal Revenue Code of
                   1994. as amended, the Act and its regulations. or any successor statute, as theses statutes may be
                   amended from time to time;




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                          BE IT FURTHER DECREED. that this Grant shall be subject to the continuing condition
                   that the Grantees shall be required to keep its corporate books and accounts m Puerto
                   Rico;

                          BE IT FURTHER DECREED, that during the period of effectiveness of this Grant the
                   Grantees shall acquire no property and take no other action forbidden by the prov1s1ons of
                   Section 16 of the Act, except in regard to Cases No. 04-135-1-29 and 00-135-1-18. 97-8-Rl-2, 82-
                   26-1-98, Cl-87-8-151 (82-26-1-98) and 74-57-1-89, in which the application of Section 16 is
                   waived, and the use of previously exempt facilities, land, buildings, machinery and equipment,
                   inventory. supplies, trademarks, and marketing outlets utilized by the Grantees is approved;

                          BE IT FURTHER DECREED. that the tax benefits Granted herein shall be applicable
                   only to the property directly used in connection with the production of the manufactured
                   products or the rendering of the services bereinbefore listed and the fixed tax rate to the
                   industrial development income (as defined in the Act) derived from the production of said
                   manufactured products and/or the rendering of the services listed which give rise to the
                   exemption provided by th.is decree, and such other property specifically declared exempt by the
                   Act;

                           BE IT FURTHER DECREED. that t.he Grantees shnll comply with all requirements
                   imposed by the Environmental Assessment Report of the Environmental Affairs Office of the
                   Industrial Development Company (Exhibit I);

                         BE IT FURTHER DECREED. that the continuance of this Grant shaU be conditional
                  upon compliance by the Grantees with such regulations and requirements as the Environmental
                  Quality Board of the Commonwealth of Puerto Rico has heretofore promulgated and may
                  hereafter promulgate. relative to the control of water. air. ground and any other environmental
                  pollution; PROVIDED. FURTHER. that Grantees shall obtain all permits applicable to its
                  operations from the Regulations and Permits Administration (RPA) and the Puerto Rico
                  Planning Board;

                          BE IT FURTHER DECREED. that said taX benefits shall include exemption to the extent
                  provided in the Act from all Commonwealth taxes, and from license fees and other municipal
                  taxes levied by any ordinance of any municipality. except as otherwise herein before provided in
                  this Decree;

                          BE lT FURTHER DECREED, that there shall be excluded from the scope of the benefits
                  of this Grant the operation of retail stores; and the providing of any services in connection with
                  the sales of the manufactured products;

                         BE IT FURTHER DECREED. that the Grantees shall make all possible efforts to buy
                  from local enterprises the products. services, materials. components, equipment and machinery
                  available in Puerto Rico, that are necessary for its operations; the Grantees shall annually
                  demonstrate to the Office of Industrial Tax Exemption the measures taken to increase their local
                  purchases from other manufacwrers or distributors in the island;

                          BE IT FURTHER DECREED. that the Grant shall not include exemption from;

                                 a. Workmen's compensation premiums as provided by law:
                                 b. Fees for motor vehicle licenses or plates;
                                 c. Taxes levied under Act No. 286, of April 6. 1946:

                          BE IT FURTHER DECREED, that as a condition to the continuance of the tax benefits
                  hereby Granted the Grantees shall be required, in conformance with Section I 8 of the AcL to file
                  with the Secretary of the Treasury of the Commonwealth of Puerto Rico ("Secretary of the
                  Treasury"), regardless of its gross or net income, an annual income tax return. separate from any
                  other return it is required to file. in relation to the business operations covered by this Grant and
                  in accordance with the Puerto Rico Internal Revenue Code of 1994, as amended (the "Code"), as
                  amended; the exempted business shall also be required to keep in Puerto Rico the accounting
                  records relative to its operations separately, as well as the necessary records and files, and to




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                   make and submit rroch sworn statements, and comply with the rules and regulations m force for
                   the proper fulfillment of th.e purposes under the Code and that the Secretary of the Treasury may
                   prescribe from time to time in connection with the levying and collection of all kinds of ta.xes;
                   every ex.empted business sball file duly completed reports and surveys for the preparations of
                   statistics and economic studies th«t may be requested by the Executive Director of the Puerto
                   Rico Industrial Development Company in the perfom,ance of his duties; provided, furlher. that
                   the Grantees shall file duly completed reports that mny be requested by the Office of the
                   Commissioner of Financial Institutions:

                          BE LT FURTHER DECREED. that the Grantees shall comply with the obligations set
                   pursuant Section 18 (d) of the Act, to submit an annual report to the Office of lndusta at Tax
                   Exemption. with copies to the Secretary of the Treasury and the Executive Director of the Puerto
                   Rico Industrial Development Company. within the time limit of thirty (30) days after the date
                   provided by law to submit income tax returns, including any extensions; PROVlDED that not
                   compliance with !'his obligation can expose Grantees to fines and/or other admimstrative
                   sanctions as tlie revocation of the Grant approved:

                           BE IT FURTHER DECREED. that the Executive Director of the Municipal Revenue
                   Collection Center (MRCC) and the Secretary of the TTeasury shall determine for each taxable
                   year covered l>y tlus exemption what property and what income the Grantees has used in, or
                   derived rrom the industnal operations hereby declared tnx exempt; PROVIDED, that nothing
                   contained herein shall depiive the Grantees of its right to adminisfrntive and judicial review of
                   SllCh detenninations of the Executive Director of the MRCC nnd the Secretary of the Treasury
                   available by Constitution, Law or Regulation:

                           BE IT FURTHER DECREED, that the Executive Director of the MRCC and the
                   Secretary of the Treasury, in determining what property has been used in and what income has
                   been derived from the industrial operations of the Grantees hereby declared tax c.'Cempt, may
                   review the accounts and records of the Grantees to determine that all purchase prices, sales
                   prices. rates of lease, overhead or any other cost allocations, and all other prices, rates, and cost
                   allocations are fixed on the basis of normal business operations and not for the purposes of
                   avoiding truces ordinarily chargeable to activities not within the scope of the industrial operations
                   covered by this Grant or or charging to the operations carried on outside of Puerto Rico;
                   PROVIDED. that whenever it is found that such rates or charges are made for the purposes of
                   extending the coverage of the Grant beyond the scope of the covered operations reasonable
                   adjustments shall l>e made for the purpose of calculating the amount of truces payable l>y the
                   Grantees. if any, and shall make such recommendations to the Secretary of the Department of
                   Economic Development and Commerce as to such other action as may be taken under the
                   provisions of Section 13 of the Act and the Rules and Regulations promulgated hereunder;
                   PROVIDED. that nothing contained herein shall deprive the Grantees of its right to
                   administrative and judicial review of such determination of the Executive Director of the MRCC
                   and the Secretary of the Treasury available by Constitution, Law or Regu.lation;

                           BE IT FURTHER DECREED, I.hat Grantees must comply with all tbe Jaws. rules,
                   regulations, orders and ordinances promulgated by the Commonwealth of Puerto Rico, its
                   agencies and municipalities which are applicable to Grantees' operations, including all the
                   provisions of Act No. 73. which are applicable to Grantees, and all rules and regulations
                   promulgated pursuant to the Act, regardless of whether or not said provisions are specifically
                   mentioned in th.is Grant;

                          BE IT FURTHER DECREED. that the Grantees must pay or clarify any possible income
                   tax debt. employee withholding income tax and any other debt notified by the Department of the
                   Treasury of the Commonwealth of Puerto Rico. Otherwise, the Grant could be temporarily or
                   pennanently revoked;




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                          BE IT FURTHER DECREED. that upon its acceptance by Grantees, this Grant
                  constitutes a contract between the Commonwealth of Puerto Rico and the Grantees. its
                  shareholders. partners or owners, and said Contract will be the law between the parties involved.
                  Said Contract will be interpreted liberally, pursuant to the purposes of the Act of promoting the
                  economic and social development of Puerto Rico. The Secretary of the Department of Economic
                  Development and Commerce has the discretioo to include, in the name and in representation of
                  the Government of Puerto Rico. all the terms and conditions, concessions and exempl:!Ons that
                  arc consistent with the purpose of this Law and that promote the creation of jobs th1·ough the
                  economic and social development of Puerto Rico, raking into consideratlon the nature of the
                  application or the request submitted including the facts and other related circumstances with
                  respect each case in particular that could be applicable:

                          BE IT FURTH.ER DECREED, that this Grant shall become retroactively null and void
                   unless the Grantees shall file with the Office of Industrial Tax Exemption, within ninety (90)
                  days afler the receipt of ti1is Grant by the Gl'antees, a duly notarized and sworn declaration
                  wherein the Grantees expresses its unconditional acceptance of this Grant and of all the
                  conditions, provisions. and findings which are an integral part hereof;

                        BE IT FURTHER DECREED, that upon receipt of this Grant, the Director of the Office
                  oflndustrial Tax Exemption shall immediately forward a copy to the Grantees.




                                                                           JO R. PEREZ RJERA
                                                                      SEC    RY OF THE DEPARTMENT
                                                                      OF ECONOMIC DEVELOPMENT AND
                                                                      COMMERCE


                                                                              DEC 2 3 2009




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                                        Schedule l.l(y)
                                    Buyer Parent Knowledge

        Eyal Desheh
        David Stark




        LA_LANOI :284952.6




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                                              Schedule 1. l(z)
                                       Draft Debt Commitment Letter

        The draft debt commitment letter from Bank of America Merrill Lynch International Limited,
        Bank of America N.A., London Branch, Barclays Bank PLC, BNP Paribas Fortis SA/NV,
        Citibank, N.A., Credit Suisse AG, Cayman Islands Branch, Credit Suisse Securi ties (USA) LLC ,
        HSBC Bank pie, Mizuho Bank, Ltd., Royal Bank of Canada and Sumitomo Mitsui Banking
        Corporation Banking Corporation provided to Seller Parent on July 26, 2015 sh.all be deemed to
        be customary for similar acquisition financings (except for the provisions contemplating the
        investment grade condition and a termination date that is earlier than the termination date in the
        Agreement), and all such banks and institutions shall be acceptable.




        LA_LANOI :284952.6




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               Schedule 2.1 (b)(vti) - Patents, Lic.ensed Patents, Marks and Licensed Marks




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                                                                                                                 EXECUTION VERSION
                                                                                                                     CONFIDENTIAL


              Pha nnaceutica I        Title         Country    Filing     Appl. No.    Status     Patent No.   Approximate      Owner
                 Product                                       Date                                             Expiration
                                                                                                                  Date

               Aminophylline     BronchodBatatio      BG      16/12/199   BG103023     Granted     BG63965      16/12/2018   Balkanpharma
                formulations             n                        8                                                           Dupnitza AD
                                 Medicamentous
                                      Form
                  Aspartate      Film-tablet Form     BG      28/01/199   BG 103125    Pending     BG64373      28/02/2019   Balkanpharma
                formulations         of Active                    9                                                           Dupnitza AD
                                 Potassium and
                                 Magnesium DL-
                                     Aspartate
                                  Substance and
                                  Method for its
                                    Preparation
               Atomoxetine         Atomoxetine        DE      23/12/200   04815693.9   Granted    EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                  4                                                              PTC ehf
               Atomoxetine         Atomoxetine        EP      23/12/200   04815693.9   Granted    EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                             PTC ehf
               Atomoxetine         Atomoxetine        ES      23/12/200   04815693.9   Granted    EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                  4                                                              PTC ehf
                Atomoxetine        Atomoxetine        FR      23/12/200   04815693.9   Granted    EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                  4                                                              PTC ehf
               Atomoxetine         Atomoxetine        GB      23/12/200   04815693.9   G ranted   EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                             PTC ehf
               Atomoxetine         Atomoxetine        IT      23/12/200   04815693.9   Granted    EP1715856     23/12/2024   Actavis G roup
               Formulations        Formulations                   4                                                             PTC ehf
               Ciprofloxacine      Composition        BG      09/09/199   BG102756     Granted     BG63287      09/09/2018   Balkanpharma
                formulations     And Method For                   8                                                           Oupni1za AO
                                 The Preparation
                                       Of A
                                 Medicamentous
                                      Form
                Conjugated        Compositions        CA      8/27/2004   2,539,872    Granted     2,539,872    August2024      Watson
                 estrogens       For Conjugated                                                                              Laboratories,
                                  Estrogens And                                                                                   Inc.
                                    Associated
                                     Methods
                Conjugated        Compositions        EP      8/27/2004   04782556.7   Granted     1.689,372    August2024     Watson
                 estrogens       For Conjugated                                                                              Laboratories,
                                  Estroaens And                                                                                  Inc.

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                                    Associated
                                     Methods
             ControAed-release      Improved       CA   2/8/2002    2,443,915     Granted   2,433,915     February2019        Andrx
                bupropion           Conlroled                                                                             Pharmaceutica
                                   Release Oral                                                                              Is, LLC
                                   Dosage Form
             ControUed-release      Improved       CA   2/8/2002    2,685,214     Granted   2685214       February2019        Andrx
                buproplon           Controlled                                                                            Pharmaceutic a
                                   Release Oral                                                                              Is, LLC
                                   Dosaae Form
             ControUed-release      Improved       us   2/8/2001    09/905,712    Granted   6 ,589,553    February 2019       Andrx
                bupropion           Controlled                                                                            Pharmaceutica
                                   Release Oral                                                                              Is, LLC
                                   Dosaae Form
             ControAed-release      Improved       us   2/8/2002    10/071 ,257   Granted   8 ,545,880    February 2019       Andrx
                bupropion           ControHed                                                                             Pharmaceutica
                                   Release Oral                                                                              Is, LLC
                                   Dosage Form
             ControNed-release      Improved       us   5/9/2003    10/435,012    Granted   6 ,905,708    February 2019       Andrx
                bu prop ion         ControNed                                                                             Pharmaceutica
                                   Release Oral                                                                              Is, LLC
                                   Dosaae Form
             Controlled•release     Improved       us   3/1/2005    11/069,435    Granted   7,771 ,750    February2019        Andrx
                bupropion           ControNed                                                                             Pharmaceutica
                                   Release Oral                                                                              Is, LLC
                                   Dosaae Form
             ControHed-release      Improved       us   7/14/2010   12/835,863    Granted   8 ,747,898    February 2019       Andrx
                bupropion           ControHed                                                                             Pharmaceutica
                                   Release Oral                                                                              Is, LLC
                                   Dosaae Form
             Controled-release        Stable       us   11/21/200   10/301 ,474   Granted   6 ,893,660    December 2022       Andrx
                bupropion         Pharmaceutical            2                                                             Pharmaceutica
                                   Composition                                                                               Is, LLC
                                     Without
                                    Stabilizers
             ControRed-release        Stable       us   1/3/2005    11/028,391    Granted   8 ,501 ,227   December 2022       Andrx
                bupropion         Pharmaceutical                                                                          Pharmaceutica
                                   Composition                                                                               Is, LLC
                                     Without
                                    Stabilizers




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              ControDed-release       Two Pellet     CA    11/1/1999   2,349,696   Granted   2,349,696   November 2019       Andrx
                  diltiazem           Controlled                                                                         Pharmaceutica
                                       Release                                                                              Is, LLC
                                   Formulation For
                                    Water Soluble
                                    DrugsWhk:h
                                     Contains An
                                    Alkaline Metal
                                       Stearate
              ControUed-release        Diltiazem     CA    7/16/1999   2,338,070   Granted   2,338,070     July 2019         Andrx
                  diltiazem           Control ed                                                                         Pharmaceutica
                                       Release                                                                              Is, LLC
                                   Formulation and
                                      Method of
                                     Manufacture
              Controlled-release       Diltiazem     CA    8/10/2006   2,617,351   Granted   2,617,351    August2026         Watson
                  diltiazem           Controlled                                                                         Pharmaceutic a
                                       Release                                                                            Is, Inc. (n/k/a
                                   Formulation And                                                                        Actavis, Inc.)
                                      Method Of
                                     Manufacture
              Controlled-release       Diltiazem     EPO   8/10/2006   6801043.8   Pending                                   Watson
                  diltiazem           Controlled                                                                         Pharmaceutica
                                       Release                                                                            Is, Inc. (n/kJa
                                   Formulation And                                                                        Actavis, Inc.)
                                      Method Of
                                     Manufacture
              ControUed-release       Two Pellet     NZ    11/1/1999    511448     Granted    511448     November 2019       Andrx
                  diltiazem           ControHed                                                                          Pharmaceutica
                                       Release                                                                              Is, LLC
                                   Formulation For
                                    Water Soluble
                                    DrugsWhk:h
                                     Contains An
                                    Alkaline Metal
                                       Stearate
              ControHed-release       Two Pellet     us    11/6/1998   09/187319   Granted   6,270,805   November 2018      Andrx
                  diltiazem           Controned                                                                          Pharmaceutica
                                       Release                                                                               Is, LLC
                                   Formulation For
                                    Water Soluble
                                    DrugsWhk:h
                                     Contains An
                                    Alkaline Metal




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                                          Stearate




                 ControAed-release        Diltiazem      us   7/20/1998   09/119,323        Granted   6 ,524,620         July 2018         Andrx
                     diltiazem            Controlled                                                                                   Pharmaceutic a
                                           Release                                                                                        Is, LLC
                                       Formulation and
                                          Method of
                                         Manufacture
                 Con tro led-release      Diltiazem      us   8/11/2005   11/201 ,747       Granted   8,778,395        October 2029     AndrxLabs,
                      diltiazem           Controlled                                                                                       LLC
                                           Release
                                       Formulation And
                                          Method Of
                                         Manufacture
                 ControRed-release        Controlled     CA   7/19/2007    2,657,913        Pending                                      Watson
                 hydrocodone and           Release                                                                                     Laboratories,
                  acetaminophen         Formulations                                                                                       Inc.
                                       and Associated
                                           Methods
                 Controled-release        Controlled     JP   7/19/2007   2009-520861       Pending                                      Watson
                 hydrocodone and           Release                                                                                     Laboratories,
                  acetaminophen         Formulations                                                                                       Inc.
                                       and Associated
                                           Methods
                 Controled-release        Controlled     NZ   7/19/2007     574325          Granted    574325            July 2027       Watson
                 hydrocodone and           Release                                                                                     Laboratories,
                  acetaminophen         Formulations                                                                                       Inc.
                                       and Associated
                                           Methods
                 Controled-release        Controlled     us   7/19/2006   11/458.651        Granted   8,765,178        February 2029     Watson
                 hydrocodone and           Release                                                                                     Laboratories,
                  acetaminophen         Formulations                                                                                       Inc.
                                       and Associated
                                           Methods
                 ControUed-release        Controlled     us   6/29/1998   09/106,609
                                                                                        -   Granted   6 ,197,347
                                                                                                                   -    June 2018          Andrx
                    Ketoprofen          Release Oral                                                                                   Pharmaceutica
                                        Dosaae Form                                                                                       Is, LLC
                 Controled-release        Controlled     us   8/11/2000   09/637,404        Granted   6 ,238,703                           Andrx
                    Ketoprofen          Release Oral                                                                                   Pharmaceutica
                                        Dosaae Form                                                                                       Is LLC
             -




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              Controlled-release    Oral Controlled   us   12/2/2003      10/726,024       Granted    7 ,988,993   February 2026         Andrx
               methylphenidate     Release Dosage                                                                                  Pharmaceutica
                                         Form                                                                                           Is, Inc.
              Controlled-release    Oral Controlled   us   7/11/2011      13/179,830       Granted    8,252,327    December 2023         Andrx
               methylphenidate     Release Dosage                                                                                  Pharmaceutica
                                         Form                                                                                           Is, Inc.
              ControDed-release     Oral Controlled   us   8/20/2012      13/590,061       Pending                                       Andrx
               methytphenidate     Release Dosage                                                                                  Pharmaceutlca
                                         Form                                                                                           Is Inc.
              ControKed-release     Oral Controlled   CN   3/1/2007    200780007189.5       To be                                      Watson
                  Zolpidem             Release                                            abandoned                                Pharmaceutica
                                   Formulation For                                                                                  Is, Inc. (n/k/a
                                    Sedative And                                                                                    Actavis, Inc.)
                                   Hvonotic Aaents
              ControUed-release     Oral Controlled   IN   3/1/2007    3270/KOL NP/2008     Tobe                                       Watson
                  Zolpidem             Release                                            abandoned                                Pharmaceutica
                                   Formulation For                                                                                  Is, Inc. (n/k/a
                                    Sedative And                                                                                    Actavis, Inc.)
                                   Hvonotic Aaents
              ControRed-release     Oral Controlled   JP   3/1 /2007     2008-557414        Tobe                                        Watson
                  Zolpidem             Release                                            abandoned                                Pharmaceutic a
                                   Formulation For                                                                                  Is, Inc. (n/k/a
                                    Sedative And                                                                                    Actavis, Inc.)
                                   Hypnotic Agents
              ControUed-release     Oral Controlled   us   2/28/2007      11/712,133       Granted    8,309,104    February 2029       Watson
                  Zolpidem             Release                                                                                     Pharmaceutic a
                                   Formulation For                                                                                  Is, Inc. (n/k/a
                                    Sedative And                                                                                    Actavis, Inc.)
                                   Hvonotic Aaents
              Crystalline Sodium      Crystalline     BR   8/14/2006     Pl 061 .4279-6    Pending                                      Arrow
                 Atorvastatln          Sodium                                                                                       International
                                     Atorvastatin                                                                                    Limited co-
                                                                                                                                     owner with
                                                                                                                                   Zhejiang Neo-
                                                                                                                                      Dankong
                                                                                                                                     Pharm. Co.
                                                                                                                                         Ltd.
              Crystalline Sodium      Crystalline     BR   2/14/2008     Pl 061.4280-0     Pending                                      Arrow
                 AtoNastatin           Sodium                                                                                       International
                                     Atorvastatin                                                                                    Limited co-
                                                                                                                                     owner with
                                                                                                                                   Zhejiang Neo-
                                                                                                                                      Dankong
                                                                                                                                     Pharm. Co.




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                                                                                                                                Ltd.



              Crystallioe Sodium    Crystalline   CA   8/14/2006      2,619,486     Pending                                     Arrow
                 Atorvastatin        Sodium                                                                                 International
                                   Atorvastatin                                                                              Limited CO·
                                                                                                                             owner with
                                                                                                                           Zhejiang Neo-
                                                                                                                              Dankong
                                                                                                                             Pharm. Co.
                                                                                                                                 Ltd.
              Crystalline Sodium    Crystalline   CA   8/14/2006     2,619,040      Granted     2 ,619.040    August2026        Arrow
                 Atorvastatin        Sodium                                                                                 International
                                   Atorvastatin                                                                              Limited CO·
                                                                                                                             owner with
                                                                                                                           Zhejiang Neo-
                                                                                                                              Dankong
                                                                                                                             Pharm. Co.
                                                                                                                                 Ltd.
              Crystalline Sodium    Crystalline   CN   8/14/2006   200680034164.x   Granted        ZL         August2026        Arrow
                 Atorvastatin        Sodium                                                   200680034164.                 International
                                   Atorvastatin                                                     X                        Limited co-
                                                                                                                             owner with
                                                                                                                           Zhejiang Neo-
                                                                                                                              Dankong
                                                                                                                             Pharm. Co.
                                                                                                                                 Ltd.
              Crystalline Sodium    Crystalline   EP   8/1412006     06765276.8     Granted     1928823       August2026        Arrow
                 Atorvastatin        Sodium                                                                                 International
                                   Atorvastatin                                                                              Limited CO·
                                                                                                                             owner with
                                                                                                                           Zhejiang Neo-
                                                                                                                              Dankong
                                                                                                                             Pharm. Co.
                                                                                                                                 Ltd.
              Crystalline Sodium    Crystalline   EP   8/14/2006     06765284.2     Granted     1924555       Augusl2026        Arrow
                 Atorvastatin        Sodium                                                                                 International
                                   Atorvastatin                                                                              Limited CO·
                                                                                                                             owner with
                                                                                                                           Zhejiang Neo-
                                                                                                                              Dankong
                                                                                                                             Pharm. Co.
                                                                                                                                 Ltd.




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              Crystalline Sodium    Crystalline   NZ   2/27/2008    566286      Granted    566286       August2026          Arrow
                 Atorvastatin        Sodium                                                                              International
                                   Atorvastatin                                                                           Limited CO·
                                                                                                                          owner with
                                                                                                                        Zhejiang Neo-
                                                                                                                           Dankong
                                                                                                                          Pham,. Co.
                                                                                                                             Ltd .
              Crystalline Sodium    Crystalline   NZ   2/27/2008    566287      Granted    566287       August2026          Arrow
                 Atorvastatin        Sodium                                                                              International
                                   Atorvastatin                                                                           Limited CO·
                                                                                                                          owner with
                                                                                                                        Zhejiang Neo-
                                                                                                                           Dankong
                                                                                                                          Pham,. Co.
                                                                                                                             ltd.
              Crystalline Sodium    Crystalline   us   8/15/2006   11/504,104   Granted   8 ,097,734   February 2028        Arrow
                 Atorvastalin        Sodium                                                                              International
                                   Atorvastatin                                                                           Limited CO·
                                                                                                                          owner with
                                                                                                                        Zhejiang Neo-
                                                                                                                           Dankong
                                                                                                                          Pharrn. Co.
                                                                                                                             Ltd.
              Crystalline Sodium    Crystalline   us   12/13/201   13/324,678   Granted   8,329,922    September 2026       Arrow
                 Atorvastatin        Sodium                1                                                             International
                                   Atorvastatin                                                                           Limited CO·
                                                                                                                          owner with
                                                                                                                        Zhejiang Neo-
                                                                                                                           Dankong
                                                                                                                          Pharrn. Co.
                                                                                                                             ltd.
              Crystalline Sodium   Crystalline    us   8115/2006   11/504,103   Granted   8,017,647      June 2027          Arrow
                 Atorvastatin        Sodium                                                                              International
                                   Atorvastatin                                                                           Limited co-
                                                                                                                          owner with
                                                                                                                        Zhejiang Neo-
                                                                                                                           Dankong
                                                                                                                          Phann. Co.
                                                                                                                             Ltd.
              Crystalline Sodium    Crystalline   us   5/20/2011   13/112,377   Granted   8,440,712     August2026          Arrow
                 Atorvastatin        Sodium                                                                              International
                                   Atorvastatin                                                                           Limited CO·
                                                                                                                          owner with




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                                                                                                                        Zhejiang Neo-
                                                                                                                          Dankong
                                                                                                                         Pham,. Co.
                                                                                                                             Ltd.
              Delayed-release     Solid Batched    BG   07/06/199   BG100651     Granted   BG62717       07/01/2016     Balkanpharma
                medicines        Medicamentous              6                                                            Dupnitza AD
                                    Forms Of
                                     Delayed
                                    Release
              Delayed-release       Once Daily     us   1/31/1997   08/792,001   Granted   5,922,352     January 2017       Andrx
                 nifedipine          Calcium                                                                            Pharmaceutic a
                                 Channel Blocker                                                                           Is, Inc.
                                     Having A
                                     Delayed
                                  Release Core
              Delayed-Release     Antihistamine    us   11/8/2002   10/291,103   Granted   8,092,831    October 2026        Andrx
              Pseudoephedrine          and                                                                              Pham,aceutica
                                  Decongestant                                                                             Is, LLC
                                      Svstem
              Extended-release   Oral Extended-    CA   6/16/2004   2,673,334    Granted   2,673,334      June 2024         Andrx
               clarithromycin        Release                                                                            Pham,aceutica
                                   Comoosition                                                                             Is LLC
              Extended-release   Oral Extended-    CA   6/16/2004   2,675,724    Granted   2,675,724      June 2024         Andrx
               clarithromycin        Release                                                                            Pham,aceutica
                                   Comoosition                                                                             Is, LLC
              Extended-release   Oral Extended-    CA   6/1612004   2,529,746    Granted   2,529,746      June 2024         Andrx
               clarithromycin        Release                                                                            Pharmaceutica
                                   Comoosition                                                                             Is LLC
              Extended-release   Oral Extended-    EP   6/16/2004   12176084.7   Pending                                    Andrx
               clarithromycin        Release                                                                            Pham,aceutica
                                   Comoosition                                                                             Is, LLC
              Extended-release   Oral Extended-    EP   6/16/2004   12176088.8   Pending                                    Andrx
               clarithromycin        Release                                                                            Pham,aceutica
                                   Comoosition                                                                             Is LLC
              Extended-release   Oral Extended-    EP   6/1612004   4776663.9    Pending                                    Andrx
               clarithromycin        Release                                                                            Pham,aceutica
                                   Composition                                                                             Is LLC
              Extended-release   Oral Extended-    us   10/16/200   10/869,497   Granted   7,476,403    December 2025       Andrx
               clarithromycin        Release                4                                                           Pham,aceutica
                                   Comoosition                                                                             Is, LLC
              Extended-release   Oral Extended-    us   12/3/2008   12/327,477   Granted   8 ,628,797   December 2025       Andrx
               clarithromycin        Release                                                                            Pham,aceutica
                                   Composition                                                                             Is LLC




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              Extended-release   Enteric Coated    us   6121/1996   08/667,308     Granted   5,830,503     Novembeer          Andrx
                  diltiazem      Diltiazem Once-                                                             2016         Pharmaceutic a
                                       A-Day                                                                                 Is, LLC
                                   Formulation
              Extended-release   Formulation and   us   7/11/2003    10/617,456    Granted   7,314,640      July2025          Andrx
                 metoprolol        Process for                                                                            Pharmaceutica
                  succinate       Drug Loaded                                                                                Is, LLC
                                       Cores
              Extended-release   Formulation and   us   10/19/200    11/975,519    Granted   7,790,200      July2023          Andrx
                 metoprolol         Process for             7                                                             Pharmaceutica
                  succinate       Drug Loaded                                                                                Is, LLC
                                       Cores
              Extended-release   Formulation and   us   8/1012010    12/853,820    Pending                                    Andrx
                 metoprolol         Process for                                                                           Pharmaceutics
                  succinate       Drug Loaded                                                                                Is, LLC
                                       Cores
              Extended-release       Extended      HK   101291200   10111018.3     Pending                                    Andrx
                 venlafaxine          Release               4                                                             Pharmaceutica
                                   Venlafaxine                                                                               Is, LLC
                                   Formulation
              Extended-release       Extended      us   11/171200    10/715,219    Granted   7,470,435    December 2025       Andrx
                 ven lafaxine         Release               3                                                             Pharmaceutica
                                   Venlafaxine                                                                               Is, LLC
                                   Formulation
              Extended-release       Extended      us   11/171200    12/313,340    Granted   7,931 ,915   November 2023       Andrx
                 venlafaxine          Release               3                                                             Pharmaceutica
                                   Venlafaxine                                                                               Is, LLC
                                   Formulation
              Extended-release       Extended      us   3118/2011    13/051,076    Granted   8,668,932    November 2024       Andrx
                 venlafaxine          Release                                                                             Pharmaceutic a
                                   Venlafaxine                                                                               Is, LLC
                                   Formulation
                 Finasteride     Formulations Of   EP   21/11/200   03811862.6     Pending       -              -         Actavis Group
                Formulations        Finasteride             3                                                                   hf
                 Finasteride     Formulations Of   IS   21/11/200      7888        Pendilg       -              -         Actavis Group
                Formulations        Finasteride             3                                                                   hf
                 Gabapentin        Gabapentin      us   10/23/200    10/040,251    Granted   6,683,112    November 2021       Andrx
                  prodrug         Prodrugs and              1                                                              Corporation
                                  Formulations
               Lansoprazole        Stable R(+)-    BR   5/12/2009   Pl 0912478-0   Pending                                    Watson
                Amne Salt         Lansoprazole                                                                                Pharma
                                 Amine Salt and                                                                           Private Limited
                                  a Process For
                                  Preoaring The




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                                    Same



               Lansoprazole      Stable R(+ )-    NZ   5/12/2009          589150         Granted     589150      May2029          Watson
                AmneSalt        Lansoprazole                                                                                      Pharma
                               Amine Salt and                                                                                 Private Limited
                                a Process For
                                Preparing The
                                    Same
               Lansoprazole      Stable R(+)-     us   11/10/201        12/992.034       Granted    8,362,042    May2029          Watson
                Amne Salt       Lansoprazole               0                                                                      Pharma
                               Amine Salt and                                                                                 Private Limited
                                a Process For
                                Preparing The
                                    Same
               Lansoprazole      Stable R(+ )-    ZA   5/12/2009        2010/08188       Granted    2010/08188   May2029          Watson
                Ami'le Salt     Lansoprazole                                                                                      Pharma
                               Amine Salt and                                                                                 Private Limited
                                a Process For
                                Preparing The
                                    Same
                Laquinamod       Highly Pure      IN   17/12/200       3167/CHE/2008     Pendi'lg       -            -        Actavis Group
                polymorphs     Laquinimod Or               8                                                                     PTC ehf
                                       A
                               Pharmaceutical!
                                y Acceptable
                                 Salt Thereof
                Laquinamod       Highly Pure      us   15/12/200        13/603,554       Pendng         -            -        Actavis Group
                polymorphs     Laquinimod Or              9                                                                      PTC ehf
                                      A
                               Pharmaceutical!
                                 y A cceptable
                                  Salt Thereof
                Laquinimod         Novel Solid    us   30/06/200        13/001,715       Granted    8,354,428    30/06/2029   Actavis Group
                Polymorphs     State Forms Of             9                                                                      PTC ehf
                               Laquinimod And
                                Its Sodium Salt
                  Linezolid           -           IS   29/01/201
                                                                   -      050044
                                                                                     -   Pendn g        -            -        Actavis Group
                formulations                               3                                                                    PTC ehf
                 Loratadine       Rapidly         us   9/28/2004        10/951,737       Granted    8,529,946    May2028          Andrx
                               Disintergrating                                                                                Pharmaceutlca
                               Antihistamine                                                                                     ls, LLC
                                Formulation
                                                                                                                                           -




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              Modified-release       Modified     us   11 /30/201   12/956,036    Granted   8,597,683   October 2031       Watson
              tranexamic acid        Release                0                                                          Pharmaceutica
                                   Tranexamic                                                                           Is, Inc. (n/k/a
                                       Acid                                                                             Actavis. Inc.)
                                   Formulation
              Modified-release       Modified     us   11/19/201    14/083,563    Pending                                  Watson
              tranexamic acid        Release               3                                                           Pharmaceutica
                                   Tranexamic                                                                           Is, Inc. (n/kla
                                       Acid                                                                             Actavis, Inc.)
                                   Formulation
              Nicotine chewing      Stabilized    AU   11/24/200    2009324945    Pending                                 Watson
                    gum              Nicotine              9                                                           Laboratories,
                                 Chewina Gum                                                                                Inc.
              Nicotine chewing      Stabilized    BR   11/24/200    PI0915256-3   Pending                                 Watson
                    gum              Nicotine              9                                                           Laboratories,
                                 Chewina Gum                                                                                Inc.
              Nicotine chewing      Stabilized    CA   11/24/200     2,742,373    Pending                                 Watson
                    gum              Nicotine              9                                                           Laboratories,
                                 ChewinQ Gum                                                                                Inc.
              Nicotine chewing      Stabilized    us   11/25/200    12/277,590    Granted   8,506,936   January 2030      Watson
                    gum              Nicotine              8                                                           Laboratories,
                                 ChewinQ Gum                                                                                Inc.
                 Olanzapine          Rapidly      DE   02/03/200    06711375.3    Granted    1863443     02/03/2026    Actavis Group
                formulations     Disintegrating            6                                                              PTC ehf
                                  Dosage Form
                                   Comprising
                                   Magnesium
                                   Carbonate
                                      Heavv
                 Olanzapine             A         DE   27/10/200    06831860.9    Granted   EP1928428    27/10/2026    Actavis Group
                formulations     Pharmaceutical            6                                                              PTC ehf
                                  Formulation
                                   Containing
                                   Olanzapine
                 Olanzapine          Rapidly      EP   02/03/200    06711375.3    Granted    1863443     02/03/2026    Actavis Group
                formulations     Disintegrating            6                                                              PTC ehf
                                  Dosage Form
                                   Comprising
                                   Magnesium
                                   Carbonate
                                      Heavv
                 Olanzapine             A         EP   27/10/200    06831860.9    Granted   EP1928428    27/10/2026    Actavis Group
                formulations     Pharmaceutical            6                                                              PTC ehf
                                   Formulation




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                                Containing
                                Olanzapine
                 Olanzapine           A          ES   27/10/200   06831860.9   Granted   EP1928428     27/10/2026     Actavis Group
                formulations   Pharmaceutical             6                                                              PTC ehf
                                 Formulation
                                 Containing
                                 Olanzaoine
                 Olanzapine        Rapidly       FR   02/03/200   06711375.3   Granted    1863443      02/03/2026     Actavis Group
                formulations    Disintegrating            6                                                              PTC ehf
                                Dosage Form
                                 Comprising
                                 Magnesium
                                  Carbonate
                                    Heavy
                 Olanzapine          A           FR   27/10/200   06831860.9   Granted   EP1928428     27/10/2026     Actavis Group
                formulations   Pharmaceutical             6                                                              PTC ehf
                                 Formulation
                                 Containing
                                 Olanzaoine
                 Olanzapine        Rapidly       GB   02/03/200   06711375.3   Granted    1863443      02/03/2026     Actavis Group
                formulations    Disintegrating            6                                                              PTC ehf
                                Dosage Form
                                 Comprising
                                 Magnesium
                                  Carbonate
                                    Heaw
                 Olanzapine          A           GB   27/10/200   06831860.9   Granted   EP1928428     27/10/2026     Actavis Group
                formulations   Pharmaceutical             6                                                              PTC ehf
                                Formulation
                                 Containing
                                Olanzaoine
                 Olanzapine          A           IT   27/10/200   06831860.9   Granted   EP1928428     27/10/2026     Actavis Group
                formulations   Pharmaceutical             6                                                              PTC ehf
                                Formulation
                                 Containing
                                Olanzaoine
                Omeprazole      Omeprazole       us   11/14/199   08/970,489   Granted   6 ,096,340   November 2017       Andrx
                                Formulation              7                                                            Pharmaceutica
                                                                                                                         Is LLC
                Omeprazole      Omeprazole       us   6/18/1999   09/335,575   Granted   6,077,541    November 2017       Andrx
                                Formulation                                                                           Pharmaceutica
                                                                                                                         Is, LLC
                Omeprazole      Omeprazole       us   10/23/200   10/279,622   Granted   6 ,780,435   Novmeber2017        Andrx
                                Formulation               2                                                           Pharmaceutica




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                                                                                                                          Is, LLC
                 Process for     Preparation of   AU   5/19/2006    2006248745      Granted    2006248745    May2026       Arrow
                  preparing     Famciclovir and                                                                         International
                 farnciclovir    Other Purine                                                                            Limited co-
                                  Derivatives                                                                            owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          I Co. Ltd.
                 Process for     Preparation of   BR   5/19/2006    Pl 0609632-8    Pending                                 Arrow
                  preparing     Famciclovir and                                                                         International
                 famciclovir     Other Purine                                                                            Limited co-
                                  Derivatives                                                                            owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          ICo.. ltd.
                 Process for     Preparation of   CA   5/19/2006     2,608,490      Granted     2,608,490    May2026        Arrow
                  preparing     Famciclovir and                                                                         International
                 famciclovir     Other Purine                                                                            Limited co-
                                  Derivatives                                                                            owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          I Co .. Ltd.
                 Process for     Preparation of   CN   5/19/2006   200680017571.X   Granted   CN101233134B   May2026       Arrow
                  preparing     Famciclovir and                                                                         International
                 famciclovir     Other Purine                                                                            Limited co-
                                  Derivatives                                                                            owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          I Co., Ltd.
             -       --
                 Process for     Preparation of   EP   5/19/2006     06743955.4     Granted     1,883,639    May2026        Arrow
                  preparing     Famciclovir and                                                                         International
                 famciclovir     Other Purine                                                                            Limited co-
                                  Derivatives                                                                            owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          I Co., Ltd.




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                Process for     Preparation of   JP   5/19/2006   2008-511798   Granted   5227166        May2026            Arrow
                 preparing     Famciclovir and                                                                          International
                famclclovir     Other Purine                                                                             Limited co-
                                 Derivatives                                                                             owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          I Co. Ltd.
                Process for     Preparation of   NZ   5/19/2006     563636      Granted    563636        May2026            Arrow
                 preparing     Famciclovir and                                                                          International
                famciclovir     Other Purine                                                                             Limited co-
                                 Derivatives                                                                             owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          I Co. Ltd.
                Process for     Preparation of   TW   5/19/2006    9117840      Pending                                    Arrow
                 preparing     Famciclovir and                                                                          International
                famciclovir     Other Purine                                                                             Limited co-
                                 Derivatives                                                                             owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutic a
                                                                                                                          I Co., Ltd.
                Process for     Preparation of   us   11/10/200   11/270,777    Granted   7.601 ,835     July2026           Arrow
                 preparing     Famciclovir and            5                                                             International
                famciclovir     Other Purine                                                                             Limited co-
                                 Derivatives                                                                             owner with
                                                                                                                         Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                       Pharmaceutica
                                                                                                                          I Co., Ltd.
                 Process for   A Process for     BR   12/18/200                 Pending                                     Watson
                  preparing    Preparation of             8                                                                Pharma
                lansoprazole      Stable                                                                               Private Limited
                               Amorphous R-
                               Lansoprazole
                Process for    A Process for     NZ   12/18/200     585944      Granted    585944      December 2028      Watson
                 preparing     Preparation of             8                                                               Pharma
               lansoprazole       Stable                                                                               Private Limited
                               Amorphous R-
                               Lansoorazole
                Process for      Improved        EP   27/04/200   09738481.2    Pending       -              -         Actavis Group
                 preparing      Process For               9                                                               PTC ehf




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                   Laquinimod         Preparing
                                     Quinoline-3-
                                    Carboxamide
                                      Derivatives
                   Process for        Improved        IN   28/04/200   1041 /CHE/2008   Pending       -             -         Actavis Group
                    preparing        Process For               8                                                                 PTC ehf
                   Laquinimod         Preparing
                                     Qu inoline-3-
                                    Carboxamide
                                      Derivatives
                   Process for        Improved        us   27/04/200     12/989,796     Granted   8 ,552,194    27/04/2029    Actavis Group
                    preparing        Process For               9                                                                 PTC ehf
                   Laquinimod         Preparing
                                     Quinoline-3-
                                    Carboxamide
                                      Derivatives
                   Process for        Improved        us   27/04/200     14/020,941     Pending       .             .         Actavis Group
                    preparing        Process For               9                                                                 PTC ehf
                   Laquinimod         Preparing
                                     Quinoline-3•
                                    Carboxamide
                                      Derivatives
             -     Process for       An Improved      NZ   2/5/2009       586930        Granted    586930      February2019       Watson
                    preparing        Process For                                                                                  Phanna
                   paliperidone     Preparation Of                                                                            Private Limited
                                     Pallperidone
                 Pseudoephedrine          A           us   14/11/199    08/746,666      Granted   5,807,579     14/11/2016        Actavis
                   Combination      Phannaceutical             6                                                              Elizabeth LLC
                  Phannaceu lical        Tablet
                   Compositions     Composition For
                                          Oral
                                     Administration
                                       Containing
                                    Pseudoephedrin
                                        e Pellets
                                    Admixed With A
                                     Tablet Mixture
                                      Containing A
                                     Second Active
                                          Drug
                                       Substance,
                                    Either Alone Or
                                    In Combination
                                         With




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                                    Pseudoephedrin
                                         eOrA
                                    Pharmaceutical!
                                      y Acceptable
                                    Salt Thereof, Is
                                    Disclosed. The
                                    Pellets Provide
                                      An Extended
                                       Release Of
                                    Pseudoephedrin
                                    e, Whereas The
                                     Tablet Mixture
                                      Provides An
                                       Immediate
                                    Release Of The
                                     Second Active
                                     Drug And Any
                                    Pseudoephedrin
                                           e.
                 Rasagiline                -           PCT   06/06/201   PCT/EP2013/06164   Pending       -            -        Actavis Group
                formulations                                     3              6                                                  PTC ehf
             Rasagiline Particles      Rasag illne     EP    31/03/200      09726618.3      Pending       -            -        Actavis Group
                                        Mesylate                 9                                                                 PTC ehf
                                     Particles And
                                     Process And
                                      Process For
                                      Preparation
                                        Thereof.
              Sustained-release        ControHed       us    5/26/1998      09/084.622      Granted   6 ,156,342   May2018          Andrx
                  tramadol           Release Oral                                                                               Pharmaceutica
                                     Dosacie Form                                                                                   Is, Inc.
                Tapentadol            Solid State      us    21/09/201      12/886,680      Granted   8,288,592    21/09/2030   Actavis Group
                Polymorphs             Forms Of                  0                                                                 PTC ehf
                                      Tapentadol
                                         Salts

                Tapentadol            Solid State      us    21/09/201      13/609,661      Pending       .            .        Actavis Group
                Pol~orphs              Forms Of                  0                                                                 PTC ehf
                                      Tapentadol
                                         Salts

              Tetracycline Salts      Drug Salts       us    13/03/199      08/402,619      Granted   6 ,077,822   20/06/2017   Actavis Group
                                                                 5                                                                    hf




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                 Tocopherol     Tocopherol       NZ   15/05/199      287857      Granted      287857      15/05/2015      Dumex-
                formulations   Compositions               5                                                            AlpharmaNS
                               For Delivery Of
                                Biologically
                               Active Agents
                 Tocopherol     Tocopherol       us   16/05/199    08/856,054    Granted     6 ,193,985   27/02/2018   Actavis Group
                formulations   Compositions               5                                                                  hf
                               For Delivery Of
                                Biologically
                               Active Agents
                Usnic Acid       UsnicAcid       BA   03/11/200   BAP021296A     Granted   BAP021296B     03/11/2020    Zdravlje AD
                Disinfectant    Disinfectant              0
                Usnic Acid      UsnicAcid        EA   03/11/200   200300021/28   Granted   EAPO006582     03/11/2020    Zdravlje AO
                Disinfectant    Disinfectant              0
                Usnic Acid      UsnicAcid        EP   03/11/200    00974145.5    Granted    EP1294373     03/11/2020    Zdravlje AO
                Disinfectant    Disinfectant              0
                Usnic Acid      UsnicAcid        MD   03/11/200   200300021/28   Granted   EAPO006582     03/11/2020    ZdravljeAO
                Disinfectant    Disinfectant              0
                UsnicAcid       UsnicAcid        MK   03/11/200    00974145.5    Granted    MK901168      03/11/2020    ZdravfjeAD
                Disinfectant    Disinfectant              0
                UsnicAcid       Usnic Acid       RO   03/11/200   00974145.5     Granted   RO/EP1294373   03/11/2015    ZdravljeAO
                Disinfectant    Disinfectant              0
                UsnicAcid       UsnicAcid        RS   15/06/200    P-373-2000    Granted      49778       15/06/2020    ZdravljeAO
                Disinfectant    Disinfectant              0




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                                                                         EXECUTION VERSION
                                                                             CONFIDENTIAL

                                Schedule 2.l (b)(xxi)-- List of Assets

        None.




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                                                                               EXECUTION VERSION
                                                                                   CONFIDENTIAL

                                       Schedule 2.2(i)- Excluded Assets

         •   Generic Drugs sold by the Allergan Business (including Seller Parent's ophthalmic
             business).

         •   Any assets obtained under that certain Collaboration Agreement, dated December 19, 2011,
             by and between Amgen Inc. and Watson Laboratories, Inc.

         •   Trademarks not used in connection with any launched product and which are owned by
             Actavis, Inc., Actavis Group PTC ehf, or Actavis Group ehf.

         •   IJ1tellectual Property relating to the fommlation or composition ofManufactured Products
             (as defined in the Term Sheet for the Manufacturing Agreement set out as Exhibit B to the
             Agreement) which are to be manufactured by the Buyer Group pursuant to the
             Manufacturing Agreement.

             All Intellectual Property owned by the Seller Group and not Related to the Business.

         •   The patents sbown on the workbook in the excel file entitled "Project Trump - Excluded
             Assets_Patents 7 26 15.xlsx", the final version of which was emailed to Jinhee Chung at
             Sullivan & Cromwell by Andrew Clark at Latham & Watkins at 03.04 AM on July 27, 2015,
             solely with respect to patents that do not cover, or otherwise relate to, any Generic Drugs
             (other than the Retained Business).

         •   Rights to any regulatory applications or development projects related to lifecycle products
             for the Retained Business. Lifecycle products may include new fonnulations, product
             combinations, or dosage forms that contain the same active ingredient(s) as a pharmaceutical
             product in the Retained Business, and are intended to be promoted by the Retained Business
             (not to be sold as Generic Drugs).

         •   License Agreement between Merck Sharp & Dohme Corp. and Seller Group dated as of July
             6, 2015 .

         •   Agreement and Plan of Merger among Actavis, Inc., Wolverine Merger Sub, Inc., Oculeve,
             Inc. and Fortis Advisors LLC, as Shareholders' Representative, dated as ofJuly 5, 2015.

         •   Transfer Asset Purchase Agreement and Development Provisions between Rugen Holdings
             (Cayman) Limited and Seller Group dated as of May 1, 20 15, and any related Intellectual
             Prope,ty.

         •   Collaboration Agreement between An1gen, lnc. and Watson Laboratories, Inc. dated as of
             December 19, 20 I 1, and any related Intellectual Property .

         •   License and Development Agreement, dated as of July 14, 20 I 0, by and between Itero
             Biopham1aceuticals, Inc. and Arrow International Ltd.

         •   Excluded Manufacturing Facilities:

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                 o   Weiterstadt, Germany

                 o   Liege, Belgium




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                                                                                EXECUTION VERSION
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                                      Schedule 2.3 - Assumed Liabilities

            •   Any Liabilities in connection with the generic Opana ER paten! infringemenl litigations
                (Endo Phanns. Inc. et al. v. Actavis Inc. et al., Case Nos. 12-cv-8985-Griesa (S.D.N.Y.);
                14-cv-01381 - Andrews (D. Del.))

            •   Any Liabilities in connection with the generic Lysteda patent infringement litigation
                (Ferring B.V. v. Actavis, Inc. et al. 2:15-cv-04222-KSH-CLW (D.N.J.))

            •   Any Liabilities in connection with the generic Opana ER false advertising litigation
                (Endo Phanns. Inc. v. Actavis, Tnc., Case No. 2:l 2-cv-07591-KM-SCM (D.N.J.))

            •   Any Liabilities in connection with the generic Valsartan patent proceedings in EU.

            •   Any Liabilities in connection with lhe generic Alipiprazole patent proceedings in EU.

            •   Any Liabilities, to the extent Related to the Business, in connection with the litigation
                shown in the Excel tile entitled "TRUMP-Commercial Litigation Log.xlsx", the final
                version of which was emailed to Jinhee Chung at Sullivan & Cromwell by Andrew Clark
                at Latham & Watkins at 03.04 AM on July 27,2015.




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                                                                        EXECUTION VERSION
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                               Schedule 2.4(h) - Excluded Liabilities

        None.




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                                                                           EXECUTION VERSION
                                                                               CONFIDENTIAL

                             Schedule 4.3 - Reports and Financial Information



        Schedule 4.3 - Unaudited Performance Financial Statements of the Business for the year
        ending December 31, 2014

        USO in millions                                            USGx         Int'l       Total
                                                                   Business     Business    Business

        Product sales
                                                                   4,002        2,415       6,417

        Otber revenue
                                                                   32           83          115

        Net revenue
                                                                   4,033        2,499       6,532

        Cost of sales
                                                                   (! ,582)     (1,26 l)    (2,843)

        Gross profit
                                                                   2,452        1,237       3,689

        Sales and Marketing expenses
                                                                   (70)         (548)       (618)

        Research and Development expenses
                                                                   (254)        (21 l)      (465)

        General and Administrative expenses
                                                                   (351)        (266)       (617)

        Operating expenses
                                                                   (675)        (1,025)     (1,700)

        Contribution
                                                                   1,777        212         1,989

        Depreciation
                                                                                            151

        EBITDA


                                                   --4 I -




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                                                                                                  2,140

        Notes

        /) The Petformance Financial Statements EXCLUDE:

        a) Items considered to be ofa non-GAAP nature by Allergan pie, all detennined on a basis
        consistent with its non-GAAP presentation as part of quarterly and year-end press releases and
        reporting. Items excluded consist of of I) global supply chain initaitive, 2) acquisition and
        licensing and other charges, 3) impairment / asset sales and related costs, 4) non-recurring losses
        and gains, 5) legal settlements, 6) accretion on contingent liabilities and 7) share based
        co mpen sation.

        b) Depreciation for the Forest and Aptalis business for the 6 months ending December 31 , 2014

        c) The results for the Western-European assets that were sold to Aurobindo Pham1a Limited
        effective April 1, 2014. These assets included tbe commercial infrastructure in France, Italy,
        Spain, Portugal, Belgium, Gennany and the Netherlands, including products, marketing
        authorizations and dossier license rights

        d) The results of Auden McKenzie which was acquired by Allergan pie effective June I, 2015.
        For the avoidance of the doubt, Auden McKenzie will be part of the Business

        2) The Performance Financial Statements in clude tbe international Forest results that will be part
        of the Business for 6 months only, fol lowing the transaction close at July I, 2014

        3) For the avoidance of doubt, the results of certain manufacturing plants and contract
        manufacturing agreements within the Aptalis Pharmaceutical Technologies ("Pharmatech")
        entities that were disposed to TPG in 2015 are included in the above Performance Financial
        Statements




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                                      Schedule 4.6(c) - Transferred Group




                                         Company Name                             Jurisdiction of
                                                                                  Incorporation

        1.    Warner Chilcott Company, LLC                                      Puerto Rico

        2.    Warner Chilcott (Ireland) Limited                                 Ireland

        3.    Warner Chilcott Finance LLC.                                      Delaware

        4.    Warner Chilcott Australia Pty. Ltd.                               Australia

        5.    Warner Chilcott Pharmaceuticals B.V.B.A.                          Belgium

        6.    Warner Chilcott France SAS                                        France

        7.    Warner Chilcott Italy S.r.l.                                      Italy

        8.    Actavis Pharn1a Tbetia S.L. (f/k/a Warner Chilcott Iberia S.L.)   Spain

        9.    Robin Hood Holdings Ltd.                                          Malta

        10.   Paomar pie                                                        Cyprus

        11.   Actavis Phanna Pty Ltd.                                           Australia

        12.   Mako ff R&D Laboratories, Inc.                                    California

        13.   R&D Phannaceurical, Inc.                                          California

        14.   R&D Ferriecit Capital Resources, Inc.                             California

        15.   R&D Research & Development Corp.                                  California

        16.   R&D New Media Services, Inc.                                      California

        17.   Royce Laboratories, Inc.                                          Florida

        18.   Royce Research Group, Inc.                                        Florida

        19.   Royce Research & Development Limited Partnership 1                Florida

        20.   The Rugby Group, Inc.                                             New York

        21.   Watson Laboratories, Inc. Ohio                                    New York




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                                         Company Name               Jurisdictwn of
                                                                    lncorpo,·ation

        22.   Rugby Laboratories, Inc.                            New York

        23.   Changzhou Siyao Pham1aceuticals Co., Ltd.           China

        24. Watson Phannaceuticals (Asia) Ltd.                    BVl

        25.   WP Holdings, Ltd.                                   BVI

        26.   Watson Pham1aceuticals, China Ltd                   BVT

        27.   Med All Enterprise Consulting (Shanghai) Co. Ltd.   China

        28. Nicobrand Limited                                     Northern Ireland

        29.   Watson Pham1aceuticals International Ltd.           BVl

        30.   Watson Diagnostics, Inc.                            Delaware

        31.   Del Mar Indemnity Co. Inc.                          Hawaii

        32.   Actavis Laboratories NY, Inc.                       New York

        33.   Circa Pham1aceuticals West, Inc.                    California

        34.   Circa Sub                                           New York

        35.   Andrx Corporation                                   Delaware

        36.   Andrx South Carolina I, Inc.                        South Carolina

        37. Andrx Pharmaceuticals (Mass), Inc.                    Florida

        38.   Andrx Pharn1aceuticals Equipment # 1, LLC           Florida

        39.   Andrx Pharmaceuticals (NC) Tnc.                     Florida

        40.   Andrx Pbannaceuticals, (NC) Equipment LLC           Delaware

        41.   SR Six, Inc.                                        Florida

        42.   Ancirc Pharmaceuticals                              New York

        43.   RxAPS, Inc.                                         Florida

        44. Andrx Pbannaceuticals Sales and Marketing, Inc.       Florida




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                                          Company Name          Jurisdiction of
                                                                Incorporation

        45.   Actavis Laboratories FL, Tnc.                  F lorida

        46. Watson Management Corporation                    Florida

        47.   Watson Therapeutics, Inc.                       Florida

        48. Yalmed Pharmaceuticals, Inc.                     New York

        49.   Andrx Pharmaceuticals, LLC                     Delaware

        so. Andrx Labs LLC                                    Delaware

        51. Andrx Laboratories (NJ) Inc.                      Delaware

        52. Watson Cobalt Holdings, LLC                      Delaware

        53.   Watson Manufacturing Services, Inc.             Delaware

        54.   Natrapac, Inc.                                 Utah

        55.   Coventry Acquisition, LLC                      Delaware

        56. Cobalt Laboratories, LLC                          Delaware

        57.   Watson Phanna Private Ltd.                      India

        58. Watson Laboratories, LLC                         Delaware

        59.   Actavis Puerto Rico Hold ings Inc.             Delaware

        60.   Actavis US Holding LLC                         Delaware

        61.   Actavis LLC                                    Delaware

        62.   Actavis South Atlantic LLC                     Delaware

        63.   Actavis Elizabeth LLC                          Delaware

        64.   Actavis Kadian LLC                             Delaware

        65.   Actavis Mid Atlantic LLC                       Delaware

        66.   Actavis Totowa LLC                             Delaware

        67. Actavis Phannaceuticals NJ, Inc.                 Delaware




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                                          Company Name                  Jurisdiction of
                                                                        Jncorporatio11

        68.   Watson Laboratories, Tnc.                               Connecticut

        69. Watson Laboratories, Inc.                                 Delaware

        70. Schein Bayer Pharmaceutical Services, Inc.                Delaware

        71.   Schein Pharmaceutical International, Inc.               Delaware

        72.   Schein Pham1aceutical Ltd                               Bem1uda

        73. Marsam Pharma, LLC                                        Delaware

        74.   MSI, Inc.                                               Delaware

        75. Actavis Holding 2 Sari                                    Luxembourg

        76. Actavis Services (Asia) Ltd.                              Malta

        77. Arrow Laboratories, Ltd.                                  Malta

        78.   Arrow Supplies, Ltd.

        79. Arrow Phanna HK Ltd.                                      Hong Kong

        80.   Marrow Phannaceuticals Research & Development Co Ltd.   China

        81.   Actavis S.a.r.1.                                        Luxembourg

        82.   Paomar Plc.                                             Cyprus

        83.   "Specifar"                                              Greece

        84.   Alet                                                    Greece

        85.   Actavis Phanna Pty Ltd                                  Australia

        86.   Ascent Pharmahealth Pty Ltd                             Australia

        87.   Actavis Australia Pty Ltd                               Australia

        88.   Ascent Australia Pty Ltd                                Australia

        89.   Actavis Pty Ltd                                         Australia

        90.   Ascent Pharma Pty Ltd.                                  Australia




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                                          Company Name         Jurisdiction of
                                                               Incorporation

        91.   Ascent Phannahealth Asia Pte Ltd               Singapore

        92.   Drug Houses of Australja Pte Ltd.              Singapore

        93.   Ascent Pharmahealth Hong Kong Ltd.             Hong Kong

        94.   Actavis Sdn. Bhd.                              Malaysia

        95.   Arrow Group ApS                                Denmark

        96.   Arrow ApS                                      Denmark

        97.   Makewhey Products Pty. Ltd.                    South Africa

        98.   Actavis Holdings South Africa (Pty) Ltd.       South Africa

        99.   Actavis Phanna (Pty) Ltd.                      South Africa

        100. Actavis (Pty) Ltd.                              South Africa

        101. Scriptpham1 Marketing (Pty) Ltd                 South Africa

        102. Referral-Net (Pty) Ltd.                         South Africa

        103. Spear Phanuaceuticals (Pty) Ltd                 South Africa

        104. Pharmascript Pharmaceuticals Ltd.               South Africa

        105. Arrow Pharma Tender (Pty) Ltd.                  South Africa

        106. Scriptpham1 Risk Management (Pty) Ltd.          South Africa

        107. Imbani Phannaceuticals (Pty) Ltd.               South Africa

        108. Zelphy 1308 (Pty) Ltd.                          South Africa

        109. Arrow Poland SA                                 Poland

        110. Arrowblue Produtos Fannaceuticos SA             Portugal

        11 J. Bowmed Ltd                                     UK

        112. Selamine Ltd.                                   Ireland

        113. Arrow Blue Ltd                                  Israel




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                                       Company Name            Jurisdiction of
                                                               I ncorporatio11

        ll4. Seeker Tnvestments Ltd.                         BVT

        115. SC Pharma (Pty) Ltd.                            Australia

        116. Spirit Pharmaceuticals NZ Pty Ltd.              New Zealand

        117. Willow Phannaceuticals Pty Ltd.                 Australia

        118. Medis Phanna Pty Ltd                            Australia

        119. Eremad Pty Ltd.                                 Australia

        120. Arrow Uikemedel AB                              Sweden

        121. Arrow Generics Ltd.                             UK

        122. Arrow No 7 Ltd                                  UK

        123. Breath Ltd                                      UK

        124. Soosysoo Ltd.                                   BVT

        125. Actavis New Zealand Limited                     New Zealand

        126. Watson Laboratories, S. de R.L. de C.V          Mexico

        127. Actavis Canada Company                          Canada

        128. Actavis Pham1a Company                          Canada

        129. 3242038 Nova Scotia Company                     Canada

        130. Abri Pharn1ceuticals Company                    Canada

        131. Actavis Phanna Holding 4 ehf. (APH4)            Iceland

        132. Actavis Pharma Holding 5 ehf. (APH5)            Iceland

        133. Actavis Group ehf                               Iceland

        134. Actavis Group PTC ehf                           Iceland

        135. Actavis Dutch Holding BV                        Netherlands

        136. LLC Actavis                                     Russia




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                                       Company Name             Jurisdictwn of
                                                                I ncorporatio,i

        137. Actavis Tlaclari AS # TU000000l                 Turkey

        138. Opening Pharma Bulgaria EOOD                    Bulgaria

        139. Open Pham1a LLC                                 Russia

        140. Actavis ehf.                                    Iceland

        141. Medis ehf.                                      Iceland

        142. Medis Pharma France SAS                         France

        143. Medis-Danmark A/S. # DA000003                   Denmark

        144. Actavis Ireland Ltd.                            Ireland

        145. Actavis Italy S.p.A. # IT00000l                 Jtaly

        146. Actavis Isle ofMan Ltd.                         Isle of Man

        147. Actavis Nordic A/S # DA000002                   Denmark

        148. Actavis Oy                                      Finland

        149. UAB Actavis Baltic                               Lithuania

        150. Actavis Holding AB                              Sweden

        151. Actavis AB                                      Sweden

        152. Actavis Holding Germany GmbH

        153. Medis Phanna GmbH                               Germany

        154. Actavis A/S #DA00000l                            Denmark

        155. Actavis Norway AS                               Norway

        156. Actavis, S. de. R.L. de C.V.                    Mexico

        157. Actavis Pharma S. de R.L. de C.V.               Mexico

        158. Actavis Hungary Kft.                             Hungary

        159. Arrow Pham1 (Malta) Ltd.                        Malta




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                                          Company Name          Jurisdiction of
                                                                Incorporation

        160. Medis Pharma BY                                 Netherlands

        161. PhannaPack International B.V.                   Netherlands

        162. Actavis Polska Sp. z.o.o.                       Poland

        163. Actavis International Ltd.                       Malta

        164. Actavis Malta Ltd.                              Malta

        165. Actavis Export International Ltd.                Malta

        166. Actavis Ltd.                                     Malta

        167. Actavis GmbH                                     Austria

        168. Actavis Holdings UK Ltd.                         UK

        169. Actavis Holdings UK IT Ltd.                     UK

        170. Actavis UK Ltd.                                 UK

        171. Warner Chilcott Acquisition Limited             UK

        t 72. Chilcott UK Limited                            UK

        173. Warner Chilcott Research Laboratories Ltd.      UK

        174. Warner Chilcott UK Limited                      UK

        175. Warner Chilcott Pharmaceuticals UK Limited      UK

        176. Warner Chilcott Deutsch land GmbH               Germany

        177. Millbrook (Nl) Limited                          UK

        178. Auden Mckenzie Holdings Ltd.                    UK

        179. Auden Mckenzie (Pharma Diyjsion) Ltd.           UK

        180. NRTM Ltd.                                       UK

        181. Lime Phanna Ltd.                                UK

        182. D3 Pharma Ltd.                                  UK




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                                       Company Name                  J11risdiction of
                                                                     Incorporation

        183. Actavis d.o.o. Belgrade                               Serbia

        184. Lotus Laboratories Private Ltd.                       India

        18S. Actavis Ukraine LLC                                   Ukraine

        186. Zdravlje AD                                           Serbia

        187. Actavis Switzerland AG                                Switzerland

        188. Oncophanna AG # SZ00000 1                             Switzerland

        189. Sindan Pharma SRL                                     Romania

        190. Actavis SRL                                           Romania

        191. Sindan Foundation                                     Romania

        192. Actavis CZ a.s. # EZ00000l                            Czech Republic

        193. Actavis S.r.o.                                        Slovak Republic

        194. Biovena Phanna Sp. z.o.o.                             Poland

        19S. Actavis (Cyprus) Ltd.                                 Cyprus

        196. Actavis Operations EOOD                               Bulgaria

        197. Balkanphanna Troyan AD                                Bulgaria

        198. Balkanphanna Dupnitsa AD                              Bulgaria

        199. Balkanphanna Security EOOD                            Bulgaria

        200. Balkanpharma Healthcare International (Cyp,us) Ltd.   Cyprus

        201. Actavis EAD                                           Bulgaria

        202. Actavis Istanbul nae Sanayive Ticaret Ltd. Sirketi    Turkey

        203. Actavis (MEEA) FZE                                    UAE

        204. Actavis Farmaceutica Lim.itada                        Brazil

        20S. Actavis Holding Asia BV                               Netherlands




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                                        Company Name                        Jurisdiction of
                                                                            Incorporation

        206. Actavis Hong Kong Limited                                    Hong Kong

        207. China Medical & Chemical Industrial Development Group Ltd.   China

        208. Actavis Phanna Development Centre Private Ltd.               lndia

        209. Actavis Phanna Private Lrd.                                  India

        21 0. PT Actavis Indonesia                                        Indonesia

        211. Actavis ASKA KK                                              Japan

        212. Actavis KK # JA000000l                                       Japan

        213. Actavis (Asia Pacific) Pte. Ltd.                             Singapore

        214. Actavis Thailand Co., Ltd. (f/k/a Silom Medical Co., Ltd)    Thailand

        215. Silom Medical International Co., Ltd.                        Thailand

        216. Forest Laboratories UK Ltd.                                  UK

        217. Pharmax Ltd.                                                 UK

        218. Forest Pharma BV                                             Netherlands

        219. Forest Laboratories Osterreich GmbH                          Austria

        220. Forest Laboratories Denmark ApS                              Denmark

        221. Forest Laboratories France S.A.S.                            France

        222. Forest Laboratories Deutschland GmbH                         Germany

        223. Forest Laboratories ltaly S.r.L.                             ltaly

        224. Forest Laboratories Spain, SL                                Spain

        225. Forest Laboratories Switzerland GmbH

        226. Axcan France (Invest) SAS                                    France

        227. Actavis Biopharn1a SAS                                       France

        228. Aptalis Pharma SAS                                           France




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                                         Company Name          Jurisdiction of
                                                               Incorporation

        229. Forest Tosara Ltd.                              Ireland

        230. Allergan UK LLP                                 UK

        231. Actavis Laboratories UT, Inc.                   Delaware

        232. Watson Laboratories, Inc.                       Nevada

        233. Actavis Pharma, Inc.                            Delaware

        234. Arrow International Ltd.                        Malta

        235. Allergan UK Group Ltd.                          UK




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                                                  Schedule 4.80)

        In the event that the Transactions constitute the transfer by Seller Parent of assets with a total
        gross fair market value exceeding one third of all of the assets of Seller Parent (as determined
        under Section l .280G-1 (Q/A 6)), certain payments or benefits to the Business Employees who
        are "disqualified individuals" (as detern1ined under Section 1.280G- I (Q/A 15-21 )) could
        constitute "excess parachute payments" for purposes of Section 280G of the Code.

        In the event that the Transactions constitute the sale by Seller Parent of assets exceeding fifty
        percent (50%) of all of the assets of Seller Parent, the Transactions could trigger enhanced
        severance, vesting or other benefits for the Bus iness Employees under certain of the Seller
        Benefit Plans or the Transferred Entity Benefit Plans.

        Provided that the foregoing thresholds are not exceeded, no change in control benefits or
        payments should be payable to the Business Employees as a result of the Transactions.




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                                   Schedule 4.l0(a) - Business Contracts

           •   Development and Commercialization Agreement, dated March 27, 2009, by and among
               3M Company, 3M Innovative Properties Company and Actavis Tnc. (as amended on July
               20, 2010, January 11 , 2011 , March 14, 2011, September 11 , 2012 and September 19,
               2014).

           •   Share and Asset Purchase Agreement, dated March 28, 2014, by and among Actavis
               Holding NWE B.V., Actavis Holding B.V., Actavis Holding Gem1any GmbH, Arrow
               Group ApS, Actavis A/S, Actavis Italy SpA, Actavis, Inc. , as Vendor Guarantor, Agile
               Pharma B.V., as Purchaser, and Helix Healthcare B.V., as Purchaser Guarantor.

           •   License and Supply Agreement, dated April I, 2014, between Medis efh. and Agile
               Pharma B.V.

           •   Distribution Agreement, dated April I, 2014, between Actavis Group PTC ehfand Agile
               Phanna B.V.

           •   License and Distribution Agreement, dated April I, 2014, between Med is ehfand Agile
               Pharma B.V.

           •   Supply Agreement, dated June I 0, 2010 between The RiteDose Corporation and Watson
               Laboratories, Inc. (as amended on June 1, 2012 and August, 2012).

           •   Manufacturing Services Agreement, dated February 20, 2004, between Patheon Inc. and
               Watson Laboratories, Inc. (as amended on January 1, 2008, February I, 2012 and May
               15,2013).

           •   Development, Supply and License Agreement, dated December 21, 2009, between
               Watson Phannaceuticals, Tnc. and Tndoco Remedies Ltd. (as amended March 24, 2011).

           •   Amended and Restated Supply Agreement, dated December 19, 2014, by and among
               Actavis Pham1a Inc., Actavis Mid Atlantic LLC and G&W Laboratories, Inc.

           •   Supply Agreement, dated October 23, 2009, between Breath Ltd. and Catalent Pharma
               So lutions, LLC.

           •   Sale and Purchase Agreement for the Share Capital ofSilom Medical Company Limited
               and Silom Medical International Company Limited, dated March 31, 2014, among
               ASEAN Pham1a Holding Limited, Ms. Preeya Sibunruang and others, and Actavis
               Holding Asia B.V.

           •   Sale and Purchase Agreement for Shares in Silom Medical Company Limited and Silom
               Medical International Company Limiled, dated March 31, 2014, between Thai Individual
               Shareholders and Actavis Holding Asia B.V.




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           •   Joint Venture Agreement, dated March 6, 2009, between Actavis Holding Asja B.V. and
               ASK.A Phannaceutical Co., Ltd.

           •   Actonel Promotion and Distribution Agreement, dated as of January 15, 2015 by and
               between Warner Chilcott Company, LLC and Sanofi Winthrop Industrie.

           •   Transition Agreement, dated as of October 31, 2014, between Warner Chilcott Company,
               LLC and Sanofi-Aventis U.S. LLC.

           •   Actonel Promotion and Distribution Agreement, dated as ofJanuary 30, 2014, by and
               between Warner Chilcott Company, LLC and Sanofi Winthrop Industrie.

           •   Seller Parent has over 100 licensing agreements for supply of products in specific
               markets or territories, which were entered into in the Ordinary Course of
               Business. These agreements are consistent with the standards in the industry. They
               typically are for a tenn of3-5yrs, with the option to extend. Pricing varies by contract,
               but typically include a sales royalty and/or a floor price for product supply. These
               contracts contain exclusivity provisions granted by the Business, which are not
               individually material to the Business.

               Settlement Agreement, dated March 23, 2013 , between Watson Laboratories, Inc., EGIS
               Pham1aceuticals PLC, AstraZeneca AB and Shionogi Sieyaku Kabushiki Kaisha in
               connection with approvals requested from the FDA for a rosuvastatin zinc product (NOA
               No. 202-172) and a rosuvastatin calcium product (ANDA No. 79-167).




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                                                                                                                         EXECUTION VERSION
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             Transferred Leased Real Property

                 Country          City, State       Dataroom              Address       Area square   OWNED /   Lease Expiry or   Base Rent
                                                    Refe rence                            footage     LEASED       1st Break
             United States      Parsippany NJ    8.7.6.46.8.S         400 Interpace       224,294     LEAS ED     3 I-Dec-22      $6,845,744
                                                                      Parkway
             United States      Weston FL        8.7 .6.46.4.4.2      2945 West           128,840     LEASED       l4-Oct-19      $1,497,228
                                                                      Corporate Lakes
                                                                      Boulevard
             United States      Morristown, NJ   8.7.6.46.8.3         60 Columbia Rd.     51 ,729     LEASED      29-Feb-20       $1 ,293,225
                                                                      Building B
             Iceland            Hafharfjordur    8.7.6.18.1.4         Dalshraun I         30,591      LEASED      31-Aug-20       $1 ,280,526




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                                 Schedule 4.1 O(b) - Seller M ateria I Contracts

           •   Actavis, Tnc. has been in correspondence with Agile Pharma BV relating to a potential
               claim relating to rebates under an indemnity for tender penalties relating to an AOK
               tender for Pantroprazole contained in transaction documents relating to the sale of its
               Western European generics business on I April 2014. No request for indemnification has
               yet been received. Actavis, Inc. is still assessing the merits ofany potential indemnity
               claim with its counsel, but in any event it considers its liability under the indemnity to be
               capped at a maximum of€5,000,000 pursuant to the licence and supply agreement
               entered into between Medis and Agile Pharma BV.




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                       Schedu]e 4.l0(c) - Renegotiation of Seller Material Contracts

        The Business is currently renegotiating its contracts with Catalent Phanna Solution s, LLC and a
        new agreement is expected to be entered into shortly fo llowing signing of this Agreement.




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                                   Schedule 4. tt - Investigations; Litigation.

        Generic Opana ER patent infringement litigations (Endo Pharms. Inc. et al. v. Actavis Inc. et al.,
        Case Nos. I 2-cv-8985-Griesa (S.D.N.Y.); I 4-cv-01381 - Andrews (D. Del.))

        Generic Lysteda patent infringement litigation (Ferring B.V. v. Actavis, Inc. et al. 2:l 5-cv-
        04222-KSH-CLW (D.N.J.))

        Generic Opana ER false advertising litigation (Endo Pharms. lnc. v. Actavis, lnc, Case No. 2:12-
        cv-07591-KM-SCM (D.N.J.))

        Generic Valsartan patent proceedings in Finland.

        Generic Aripiprazole patent proceedings in Turkey.

        The litigation shown in the excel file entitled ''TRUMP-Commercial Litigation Log.xlsx" to the
        extent Related to the Business, the final version of which was emailed to Jinhee Chung at
        Sullivan & Cromwell by Andrew Clark of Latham & Watkins at 03.04 AM on July 27,2015.

        On June 26, 2015, Allergan, Inc. received a grand jury subpoena from the United States
        Department of Justice, Antitrust Division. The subpoena seeks infommtion for the period from
        January 1, 20 I 2 through the present. The Antitrust Division is seeking information relating
        primarily to three generic products: Butalbital, Doxycycline and Probenecid. The subpoena
        requests information relating to the pricing of each of these drugs as well as any communications
        with competitors or other third parties relating to these products. In addition, the subpoena seeks
        infom1ation relating to corporate and employee organizational strucn,res and company policies
        and procedures.

        IRS investigation relating to treatment oflegal costs relating to patent infringement cases (further
        detail provided in Schedule 4.14).




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                               Schedule 4.12(a)- Regulatory Permits

        None.




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                         Schedule 4.12(b)- Compliance with Health Care Laws

              ACT Poland will be unable to comply with the new Good Distribution Practice ("GDP")
              requirements coming into effect in Poland on April I , 2016. T o address this issue, ACT
              Poland will develop an interim solution to be implemented after signing, which solution
              will not have a material adverse effect on the Business.




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                                         Schedule 4.12(d) - Recalls

              Recall ofLutera ® 0.1 mg-0.02mg (Levonorgestrel - Ethi11yl Est radio I) on June 4 , 2015
              due to product lots packaged with outdated inserts; FDA letter received June 30, 2015;
              recall TD D-1148-2015, classification TTL

              Recall ofRosuvastatin 5mg F/C tablets on February 26, 2015 due to 5-ketoacid impurity
              failure in product distributed in Australia, Slovenia, Ukraine, Moldova, Russia,
              Uzbekistan, Kazakhstan, Hong Kong and Malta; recall classification TBD.

              Recall ofVancomycin HCL l25MG CAP 2 X 10 NDC 0591-3560-15 and Vancomycin
              HCL 250MG CAP 2 X IO NDC 059 I -3 561-15 on February 12, 20 I 5 due to potency
              testing results below USP specifications; FDA letter received March 30, 2015 , recall
              classification II.




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                                                                                EXECUTION VERSTON
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                                          Schedule 4.14-Tax Matters

        Tax items under exam for which the Company has concluded a tax reserve is not required under
        U.S. GAAP include but is not limited to the following:

        Issue                              Description
                a. Deductibility of        Several of the Company's subsidiaries settled various
                   AV/P settlement         claims under the False Claims Act (for both federal and
                   payments (US            state purposes) related to whether allegedly improper price
                   federal and state)      reporting by phannaceutical manufacturers led to increased
                                           payments by various government agencies. The Company
                                           deducted the related settlement payments as ordinary and
                                           necessary business expenses pursuant to Code Section 162.
                                           The Internal Revenue Service (" IRS") has argued that some
                                           or all of these expenses are non-deductible fines or penalties
                                           pursuant to Code Section l 62(t). Th is issue ex_ists for all
                                           open years, some of which are currently under exan1ination.
                b. Patent infringement     In the ordinary course of its business, the Company incurred
                   litigation costs (US    legal costs to defend itself against patent infringement
                   federal and state)      lawsuits. The Company deducted these legal costs as
                                           ordinary and necessary business expenses pursuant to Code
                                           Section 162. The TRS has argued that some or all of these
                                           legal costs should be capitalized and amortized as intangible
                                           assets. Th is issue exists for all open years, some of which
                                           are currently under examination.
                C.   lntercompany          The Company's US subsidiaries deducted interest expense
                     Financing (US         related to notes due to certain non-US affiliates. The
                     federal and state)    Company concluded that these notes were debt for US tax
                                           purposes any related interest expense was deductible.
                                           Furthermore, the Company concluded that no limitations
                                           were applicable to limit the interest deduction under Code
                                           Section 163G) or any other provisions of the Code. Further,
                                           the Company concluded that no withholding tax was due
                                           when the interest payments were made to the non-US
                                           affiliates. The Company has not recorded any income tax
                                           reserves related to the intercompany financing transactions.
                d. Intercompany            Certain Icelandic subsidia1ies deducted interest expense
                   Financing (Iceland):    related to notes due to non-US affiliates. The Company
                                           concluded that this interest was fully deductible. The
                                           Company has not recorded any income tax reserves related
                                           to tbe Icelandic intercompany financing transactions.
                e. lntercompany            Certain UK subsidiaries deducted interest expense related to
                   Financing (UK):         notes due to cetiain non-US affiliates. The Company
                                           concluded that these notes were debt for UK tax purposes
                                           and the related interest was fully deductible. Furthem1ore,
                                           the Company concluded that no limitations were aoolicable

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                                         under any other provisions of the UK tax law. The ·
                                         Company has not recorded any income tax reserves related
                                         to this intercompany financing transaction.
              f.   Unremitted Earnings   No liability or reserve has been provided for the tax cost of
                   of affi Iiates        repatriating earnings of subsidiaries. The Company
                                         intended that these amounts were indefinitely reinvested.
              g. Interest income of      Iceland PTC holds receivables and receives interest income
                 Iceland PTC (US         from certain US entities. For periods when Iceland PTC was
                 federal and state)      a controlled foreign corporation ("CFC"), no portion of
                                         Iceland PTC's income was included in US taxable income
                                         as the CFC had no positive accumulated or cun-ent earnings
                                         and profits. No income tax reserve has been provided.
              h. Deemed Liquidation      No reserve has been provided related to either the fair value
                 of Actavis, Inc. SCS    or tax basis of the interests in Actavis, Inc. SCS at the time
                 (US federal and         of its deemed liquidation for US tax purposes in 2012,
                 state)                  which was a reportable loss transaction under the Code.
              I. Legal entity            Prior to April 20 I 0, Actavis 000 (Russia) was owned 90%
                 reorganization          by Balkanpharma 000 (Bulgaria). At the time,
                 (Russia)                Balkanpham1a 000 was a donnant company th at was
                                         owned by Actavis EAD, a Bulgarian entity. The Company
                                         restructured this ownership by merging Balkanpharma into
                                         Actavis 000, which resulted in one shareholder in Actavis
                                         000, which was a Dutch holding company. This item has
                                         not been examined by the relevant taxing authorities.
              j.   Withholding tax       Withholding tax may apply to interest payments
                   (Russia)              between Actavis PTC ehf. and Actavis 000, depending
                                         on tbe nature of the underlying loan in the eyes of
                                         relevant taxing authorities. No reserve has been
                                         recorded for this item.
              k. Transaction costs       The company deducted certain costs incurred in connection
                 (US federal and         with acquisitions of assets and shares. The Company has
                 state)                  not recorded a tax reserve for this item.
              I. State nexus (Various    Certain states have or could argue that the Company has
                 US state and local)     nexus and should file income tax returns in their
                                         jurisdictions. The Company has not recorded a tax reserve
                                         for all jurisdictions.
              m. Permanent               The Company received a notice fornon-filing ofa tax
                 Establishment Risk      return in Italy related to the Med is business. The Company
                 (Italy)                 believes it is more likely than not that activities rose to the
                                         level ofa pem1anent establishment, and has recorded a
                                          reserve in connection with the non-filing notice
                                         accordingly.
              n. Intercompany            Axcan France claimed tax deductions related to interest
                 financing (France)      expense arising from loans with an entity based in a low tax
                                         jurisdiction




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                0.   Foreign Exchange       The Company deducted a foreign exchange loss related to
                     Loss (US federal and   the refinancing of certain intercompany payables for US
                     state)                 federal and state tax purposes. The Company has not
                                            recorded a tax reserve for this item.
                p. Withholding tax (US      The Company makes various payments to related and
                   federal and state)       w1related non-US persons. The IRS may question the
                                            sufficiency of documentation supporting the need to
                                            withhold on these payments. The Company has not
                                            recorded a tax reserve for this item.

        The following is a list of tax items under exam for which the Company has concluded a tax
        reserve is required under U.S. GAAP:

        Issue                               Description
                a. Section 199              The Company has provided a full tax reserve for its 199
                   deduction in short       deductions generated in short taxable years related to
                   taxable years (US        potential wage limitations.
                   federal and state)
                b. Section 199              The Company has provided a reserve for a p0ttion of the
                   deduction, all other     domestic manufacturing deduction taken on its US federal
                   (US federal and          tax returns due to possible IRS challenges to deduction
                   state)                   calculations.
                C. Research and             The Company has provided a reserve for a portion the
                   Development credit       research and development credit taken on its US federal tax
                   (US federal and          returns to reflect possible IRS challenges to credit
                   state)                   calculations.

                d. Non-US charge out        The Company has provided a partial tax reserve for tax
                   ofa management fee       deductions taken by affiliates of PTC for management
                    from Actavis PTC to     charges from PTC.
                   other affi Iiates
                   (Various non-US
                   jurisdictions)
                e. Non-US Charge            The Company accrued severance payments in the U.K.,
                   back of severance        Puerto Rico and Ge1many. The severance expenses in the
                   expenses to Warner       U.K. and Germany were included as pa1t of the transfer
                   Chilcott Company,        pricing adjustments and, as result, were borne by Warner
                   LLC (Germany, UK         Chilcott Company. LLC. Therefore. the tax exposure with
                   and Puerto Rico)         respect to this item is in Puerto Rico. Income tax reserves
                                            were established for the U.K. and German severance
                                            expenses borne by Puerto Rico as the tax authorities could
                                            argue that Puerto Rico has no contractual obligation to
                                            bear the economic cost of these expenses.
                f.   Asset sale (Spain)     In 2004, Actavis Pham1a Iberia S.L. sold assets to the Vita
                                            Gro1~r The sale generated a loss for tax purposes. TI1is loss
                                            coul be challenged by the SP.anish tax authorities when the
                                            Net Operating Losses are utilized. An income tax reserve




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                                         has been established for this item.
              g. Charitable              The Company claimed a deduction for donated inventory at
                 Contributions (US       twice cost. The IRS challenged both Actavis' fair market
                 federal and state)      val ue of the donated drugs and the impact of expiration
                                         dates. The TRS has argued that these deductions were
                                         overstated. Moreover, the IRS contended that donated
                                         products with near term expiration dates should be valued at
                                         zero and therefore no charitable deduction shou Id be
                                         allowed.
              h. Combined filing (US     Actavis Phanna, Inc. filed its Indiana Corporate Income tax
                   state, Indiana)       return on a separate state filing basis. The Company has
                                         recorded a reserve related to the risk that its intercompany
                                         transactions with Actavis, lnc. and Subsidiaries could be
                                         included in the Indiana filing;.
              I.   Net operating loss    On its Florida income tax returns, the Company claimed
                   (US state, Florida)   certain net operating losses and other deductions which may
                                         not have been available for use due to certain subsidiaries
                                         not having filed pre-consolidated separate tax returns.
              j.   Actavis Phanna net    Actavis, Inc. has recorded an income tax reserve related to
                   operating loss        certain net operating loss caiTyovers generated in the
                   (Various US state)    Actavis Phanna, Inc. separate states. The net operating
                                         losses were generated primarily from interest expenses
                                         arising from debt used to acquire Schein Pharmaceutical,
                                         Inc. There is uncertainty whether the separate states would
                                         allow the interest expenses that resulted in the creation of
                                         the net operating losses.

              k. Intercompany            The company has recorded reserves related to the aml's
                 transactions (US        length pricing ofcertain intercompany transactions.
                 state, Wisconsin)
              I. Location Savings        During the audit for the assessment year 2008-2009,
                 ( India)                Watson Phanna Private Limited was assessed with
                                         additional tax liabilities related to '"location savings"
                                         associated with the contract manufacturing and research and
                                         development service segments that it operated.           The
                                         " location savings" argument attributes additional income to
                                         an Indian entity resulting from a comparison of the cost of
                                         operating a branch in India compared to operating a branch
                                         in other, arguably, more expensive locations.
              m. Transfer Pricing        The amount of profit earned by Actavis Italy SpA was less
                 (Italy)                 than the 3% markup that is generaUy eamed pursuant to the
                                         Actavis group transfer pricing policy. Due to the significant
                                         Italian cost structure and higher costs of buying third party
                                         products, the PTC would have had to compensate Actavis
                                         Italy SpA for an amount that would have been higher than
                                         its costs of goods sold.




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               n. Transfer Pricing -        Warner Chilcott operates limited-risk distributors
                  certain Warner            (''LRDs") in the United Kingdom ("WCUK"), France
                  Chilcott Distributors     ("WC France"), Spain (' WC Spain"), Italy ("WC Italy")
                  (Various non-US)          and Gennany {"WC Germany" ). WC restructured a number
                                            of its European operations effective with the start of the
                                            fourth quarter of FY 2011. The level of remuneration for
                                            several of Warner Chilcott's European distributors was
                                            reduced to reflect an approp1iate arm's length level of
                                            compensation consistent with the reduction in the scope of
                                            functions perfom1ed by these entities following the
                                            restructuring.
               o. Sale of assets            A tax loss resulting from the sale ofBalkanphanna Razgrad
                  (Bulgaria)                may be challenged by the tax authorities.
               p. Intercompany              The Actavis Danish entities are Actavis Nordic A/S,
                  financing and asset       Actavis A/S, Colotech A/S, and Medis-Danmark A/S (in
                  sales (Denmark)           Liquidation) which file a consolidated tax return in Demark.
                                            The Company had taken tax deductions related to interest
                                            expense, amortization related to Alpharma offset by a small
                                            gain on the sale of Alpharma. The Company has recorded a
                                            tax reserve for these deductions.
               q. Transfer Pricing          Actavis Canada Company and/or its predecessors entered
                  (Canada)                  into certain intercompany transactions with related parties.
                                            These transactions include contract R&D se1vices, royalty
                                            payments for the use of proprietary fonnulations, and cost
                                            reimbursement transactions. In addition, the Company took
                                            SR&D benefits related to research and development
                                            activities of the Company. The Company has recorded a
                                            tax reserve for these intercompany transactions.

        The fo II owing is a 1ist of ongoing US federal audits:
               a) U.S. federal income tax audit, currently in apl?eals, for the tax years ended
                  12/3 l /2008 and 12/31/2009 for Actavis, Inc. (flk/a Watson Pham1aceuticals, fnc.).
               b) U.S. federal income tax audit for the tax years ended 12/3 l /20 JO and 12/31 /2011 for
                  Actavis, Inc. (f/k/a Watson Pharmaceuticals, Inc.).

               c) U.S. federal income tax audit for the tax years ended 12/3 1/2009, 12/31 /2010,
                  12/31/20 I I and I 0/31/2012 for Acta vis [LC (flk/a Actavis Inc.).

        The fo II owing is a Iist of ongoing non-US audits:

                       Legal Entity                           Country            Years
         Balkanpbam1a Troyan AD                               Bulgaria         2008-2010
         Cobalt Pharma Inc.                                   Canada     I     2011-2012
         Actavis A/S, Actavis Nordic A/S, Colotech
                                                              Denmark          2007-2011
         NS
         Arrow Pham1a ApS                                     Denmark          2009-2014




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        ~n:ow Group ApS                                  Denmark                2011
         Actavis OY                                       Finland            2013 - 2014
         Aptalis Pharma SAS                               France        10/1/2009 - 09/30/2012
                                                            Italy
         Medis ehf                                                           201 1-2012
                                                         (Iceland)
         Actavis ehf                                        Italy             All Years
         Actavis Group ehf                                Iceland          All Open Years
         Lotus Laboratories Pvt Ltd                         India            2010-2012
         Watson Phanna Pvt Ltd                             India             2008-2012
         Actavis Phanna Development Center Pvt             India             2011-2012
         Warner Chilcott Ltd                              Ireland               2012
         Actavis Italy S.P.A.                               Italy            2011-2013
         Actavis New Zealand Ltd                        New Zealand          2012-2014
         Biovena Phanna Sp.                               Poland             20I0-2011
         Actavis Polska sp. Z.o.o.                        Poland           All Open Years
         Actavis 000                                       Russia          All Open Years
         Zdravlje doo                                      Serbia               2013
         Zdravlje doo                                      Serbia          December 2014
         Actavis Switzerland AG                         Switzerland          2011-2012
         Forest Laboratories UK Ltd.                         UK            All Open Years

        The following is a list ofongoing U.S. state audits:

         Le2al Entitv                                      State                Years
         Actavis Inc.                                    New York               2011
         WPT & Subs                                      California      2000 - 2004 & 2007
         Watson Pharma and Affiliates                     Georgia           2000 - 2008
         WPI& Subs                                        nlinois           2000 - 2003
         WPI& Subs                                      Massachusetts       2011 - 2012
         Watson Pharma and Affiliates                    M ichigan          2008 - 201 1
         Watson Phanna and Affiliates                    Minnesota          2009 - 2011
                                                         New York
         WPT &Subs                                         State             2006 - 2008
                                                         New York
         WPI & Subs                                        State             2009 - 2011


        US federal statute waivers:

                                            Federal - IRS Audit

         Actavis, Inc. (flea: Watson     12/31 /2008
         Phannaceuticals, Inc. &             and       6/30/2016




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         Subs)                              12/31 /2009

         Actavis, Inc. (flea: Watson        12/31 /20l0
         Phannaceuticals, Inc. &                &
         Subs)                              12/31 /2011   12/3 1/2016 Income Tax

         Cobalt Laboratories, Inc.          12/31/2010    6/30/2015    Withholding Tax
         Watson Laboratories, Inc.          12/31 /2010   6/30/2015    Witbholding Tax

                                            l 2/3 1/2009-
         Actavis Inc. (Legacy)              12/31 /2012 11/30/2016     Income T ax


        US state and local statute waivers:

         Legal Entity                I      State          Years           Waiver Extending SOL
                                     I                    2000to
         WPI & Subs                         Illinois       2003       December 3 1, 2015
                                                          201 I to
         WPl & Subs                      Massachusetts     2012       April 30, 2016
                                                          2006 to
         WP! & Subs                       New York         2008       September 30, 2015
                                                          2009to
         WPI & Subs                       New York         2011       December 31 , 2015

        Actavis, Inc. has certain indemn ification obligations under Share and Asset Purchase Agreement.
        dated March 28 , 2014, by and amongActavis Holding NWE B.V., Actavis Holding B.V.,
        Actavis Holding Germany GmbH, Arrow Group ApS, Actavis A/S, Actavis Italy SpA, Actavis,
        lnc., as Vendor Guarantor, Agile Pharma B.V., as Purchaser, and Helix Healthcare B.V., as
        Purchaser Guarantor.

        Aptalis Pham1a SAS has certain indemnification obligations under the Stock and Asset Purchase
        Agreement dated February 12 , 2015 by and between AtpaJis Ho ldings Inc. and TPG Indigo
        S.a.r.l.

        Actavis, Inc. and the other US entities in the Transferred Group are members of a US
        consolidated federal income tax group wh ich includes certain Sellers and Seller Affi liates.

        In 2009, Watson Phannaceuticals, Inc. and Subsidiaries (" Watson") retired the $575 million face
        amount of the Debt for its face amount through a cash payment to holders of the Debt. Watson
        exercised its optional redemption rights under the terms of the Debt to redeem the Debt for cash.
        The total consideration paid to retii-e the Debt was less than the adjusted issue price of the Debt
        at the time of the conversion. Therefore, Watson should realize Cancellation of Debt (''COD")
        income of approximately $214.7 million with respect to the Debt. Under 108(i), Watson elected
        to defer the recognition of COD income. lnstead of recognizing the COD income on Watson's




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        2009 tax return, the COD income will be ratably included in taxable income over a five-year
        period from 2014-2018.




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                                                                                   EXECUTION VERSION
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                          Schedule 4.16(e}- Claims Relating to Intellectual Property

        Generic Opana ER patent infringement litigations (Endo Pharms. fnc. et al. v. Actavis Inc. et al.,
        Case Nos. 12-cv-8985-Griesa(S.D.N.Y.); 14-cv-01381 - Andrews (D. Del.))

        Generic Lysteda patent infringement litigation (Ferring 8. V. v. Actavis, Inc. et al. 2: I 5-cv-
        04222-KSH-CL W (D.N .J.))

        Generic Opana ER false advertising litigation (Endo Phanns. Inc. v. Actavis, Inc, Case No. 2:12-
        cv-07591-KM-SCM (D.N.J.))

        Generic Valsartan patent proceedings in Finland.

        Generic Aripiprazole patent proceedings in Turkey.

        The Seller Parent and its Subsidiaries have been involved in the following "at risk" launches:

                    I. Opana ER (Endo Pharrns. Tnc. et al. v. Actavis Inc. et al., Case Nos. I 2-cv-8985-
                       Griesa (S.D.N.Y.); 14-cv-0138 I - Andrews (D. Del.))

                   2. Lysteda (Ferring B.V. v. Actavis, Inc. et al. 2:15-cv-04222-KSH-CLW (D.N.J.))

                   3. Lovenox (U.S.)

                   4. Aripiprazole (Turkey)

                   5. Pregabalin (Warner-Lambert Company LLC v Actavis Group PTC ehf, Actavis
                      UK Limited, Caduceus Pharma Limited - re Pregabalin, Claim No. HC-2014-
                      001795)

                   6. Escitalopram (Denmark) (H Lundbeck A/S v Actavis A/S re Escitalopram, case
                       number T-0010-11)

                   7. Valsartan (Finland) (Actavis Oy v Novartis AG, re Valsartan, case number S
                      12/1879)

                    8. Rosuvastatin (Australia) (Watson Pha1ma Pty Ltd v AstraZeneca AB,
                       AstraZeneca AB v Ascent Phamia Pty Ltd NSD208/2012 and NSD2342/2011 re
                       Rosuvastatin)

                   9. Quetiapine (Switzerland) (Actavis Switzerland AG v AstraZeneca AB, re
                      Quetiapine SR).

                    10. Entacapone Triple Combination (multiple markets) (Actavis Group PTC ehfv
                        Orion Corporation in the UK High Court HPl4 A 01644 re Entacapone triple
                        combination)



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                 l l. Rivastigmine Patch (Novartis AG and others v Focus Pharmacueticals and
                      Actavis UK Limited, in the UK High Court HP13 D 03312 re Rivastigmine patch)




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                                                                                EXECUTION VERSION
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                                  Schedule 4.16(k) - Paragraph IV Products

        The following chart lists those products for which Actavis believes it has either exclusive or
        shared first-to-file status.

                            Product Name                            Believed First-to-File Status

           Acetaminophen/Oxycodone ER Tablets
                                                                              Exclusive
           (Xartemis XR), Mallinckrodt/Depomed
           32517.5mg

           Adapalene/Benzoyl Peroxide Topical Gel
                                                                              Exclusive
           (Epiduo ), Galdenna/Nestle
           0. I %/2.5%, tube

           Ambrisentan Tablets                                                Exclusive
           (Letairis), Gilead
           5mg, 10mg

           Ascorbic Acid/PEG 3350/Potassium
                                                                              Exclusive
           Chloride/Sodium Ascorbate/Sodium
           Chloride/Sodium Sulfate Powder for
           Solution
           (Moviprep), Valeant
           4.7/100/l .0l 5/5.9/2.69 l /7.5g

           Benzoyl Peroxide/Clindamycin Topical Gel
                                                                              Exclusive
           (Acanya), Va\eant
           2.5%/ 1.2%, pre-mixed pump

           Brimonidine tartrate Topical Gel
                                                                              Exclusive
           (Mirvaso), Galdenna/Nestle
           0.33%

            Budesonide ER Tablets
                                                                              Exclusive
            (Uceris), Cosmo/Valeant
            9mg

            Buprenorphine Patch
                                                                             Exclusive
            (Butrans), Purdue
             5mcg, lOmcg, 20mcg (FTF confirmed, 3M
            ANDA)
            15mcg (FTF confinned, SLC ANDA)




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                          Product Name               Believed First-to-File Status

           Buprenorphine/Naloxone ODT
                                                              Exclusive
           (Zubsolv), Orexo
           l.4/0.36mg, 5.7/1.4mg

           Buprenorphine/Naloxone Thin Film
           (Suboxone), Tndivior                               Exclusive
           2/0.Smg, 812mg, 4/ 1mg, 1213mg

           Bupropion SR/Naltrexone ER Tablets
           (Contrave), Orexigenffakeda                        Exclusive
           9018mg

           Clindamycin Vaginal Cream
           (Clindesse), Perrigo                               Exclusive
           2%

           Clindamycin Phosphate/Tretinion Topical
           Gel                                                Exclusive
           (Ziana), Valeant
           l .2%/0.025%

           Deferasirox Dispersible Tablets for
           Suspension                                         Exclusive
           (Exjade), Novartis
           125mg, 250mg, 500mg

           Diclofeoac Potassium Soft Gel Capsules
           (Zipsor), Depomed                                  Exclusive
           25mg

           Diclofenac Sodium Topical Solution
           (Pennsaid 2%), Horizon                             Exclusive
           2%

           Dienogest/Estradiol Valerate Tablets
           (Natazia), Bayer                                   Exclusive
           3mg EV 213mg EV/Dienogest 1mg EV 212mg
           EV/D

           Doxylamine/Pyridol-ine ER Tablets
           (Diclegis), Duchesnay                              Exclusive
           10/ I0mg




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                          Product Name                Believed First-to-File Status

           Drospirenone/EE plus MTRF Tablets
           (Beyaz), Bayer                                      Exclusive
           310.02mg, 0.45 I mg

           Drospirenone/EE plus MTHF Tablets
           (Safyral), Bayer                                    Exclusive
           3.0/0.03mg, 0.451mg

           Esomeprazole DR Capsules (OTC)
           (Nexium 24HR), Pfizer/ AstraZeneca                  Exclusive
           20mg

           Etonogestrel/EE Vaginal Ring
           (Nuvaring), Merck/Bayer                             Exclusive
           0.12mg/0.015mg/24hr

           Fentanyl Citrate Sublingual Tablets
           (Abstral), Galena/Orexo                             Exclusive
           0.1mg, 0.2mg, 0.3mg, 0.4mg, 0.6mg, 0.8mg

           Gabapentio GR Tablets
           (Gralise), Depomed                                  Exclusive
           300mg, 600mg

           Hydrocodone Bitartrate ER Capsules
           (Zohydro ER), Pemix                                 Exclusive
           l 0mg, 20mg, 30mg, 40mg, 50mg

           lcosapent Ethyl Soft Gel Capsules
           (Vascepa), Amarin                                   Exclusive
           lg

           Imiquimod Topical Cream
           (Zyclara), Valeant                                  Exclusive
           2.5%

           Imiquimod Topical Cream
           (Zyclara), Valeant                                  Exclusive
           3.75%

           lsotretinoin Hard Gel Capsules
           (Absorica), Cipher/Sun                              Exclusive
           10mg, 20mg, 30mg, 40mg




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                          Product Name                Believed First-to-File Status

           Lenalidomide Capsules
           (Revl imid), Celgene                                Exclusive
           5mg, J0mg, 15mg, 25mg

           Levalbuterol HFA Aerosol Metered
           (Xopenex HFA), Sw10vion                             Exclusive
           0.045mg

           Methylpbenidate ER Powder for Suspension
           (Quillivant XR), Pfizer                             Exclusive
           5mg/ml

           Methylphenidate Transdermal Patch
           (Daytrana), Noven                                   Exclusive
           10mg, 15mg, 20mg, 30mg

           Morphine ER/Naltrexone Capsules
           (Embeda), Pfizer                                    Exclusive
           3011.2mg, 5012mg, 6012.4mg, 8013.2mg,
           10014mg

           Niacin/Simvastatin ER Tablets
           (Simcor), AbbVie                                    Exclusive
           500140mg

           Nicotine Transdermal Patch (OTC)
           (Nicoderm CQ), GSK                                  Exclusive
           7mg/24hr, 14mg/24hr, 21 mg/24hr

           Oxcarbazepine ER Tablets
           (Oxtellar XR), Supemus                              Exclusive
           150mg, 300mg, 600mg

           0:x')'codone ER TR Tablets
           (OxyContin), Purdue                                 Exclusive
           Fommlation A: 40mg

           Oxycodone ER TR Tablets
           (OxyContin), Purdue                                 Exclusive
           Formulation B: I 0mg, 15mg, 20mg

           Oxymorphone ER TR Tablets
           (Opana ER), Endo                                    Exclusive
           5mg




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                         Product Name                  Believed First-to-File Status

           Phentermineffo piramate ER Capsules
           (Qsymia), Vivus                                      Exclusive
           3.75123mg, 7.5146mg, 11.25/6mg, 15192mg

           Posaconazole DR Tablets
           (Noxafil), Merck                                     Exclusive
           100mg

           Prednisone DR Tablets
           (Rayos), Horizon                                     Exclusive
           l mg, 2mg, 5mg

           Rotigotine Transdermal Patch
           (Neupro), UCB                                        Exclusive
           1mg, 2mg, 3mg, 4mg, 6mg, 8mg/24hr

           Sevelamer Carbonate Powder for Suspension
           (Renvela), Genzyme/Sanofi                            Exclusive
           0.8g, 2.4g

           Sodium Phosphate Dibasic
           Anhydrous/Sodium Phosphate Monobasic                 Exclusive
           Mono hydrate Tablets
           (Osmoprep), Valeant
           0.398/1.102g

           Tacrolimus ER Capsules
           (Astagraf XL), Astellas                              Exclusive
           0.5mg, I mg, 5mg

           Tapentadol Oral Solution
           (Nucynta), Depomed                                   Exclusive
           20mg/ml

           Testosterone Topical Solution
           (Axiron), Lilly                                      Exclusive
           30mg/1.5ml

           Testosterone Topical Gel
           (Fortesta), Endo                                     Exclusive
           2%

           Topiramate ER Capsules
           (Trokendi XR), Supemus                               Exclusive




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                          Product Name           Believed First-to-File Status
           200mg



           Trazodone Hydrochlol'ide ER Tablets
           (Oleptro), Endo                                Exclusive
           150mg, 300mg

           Treprostinil Inhalation Solution
           (Tyvaso), United Therapeutics                  Exclusive
           1.74mg/2.9ml, ampules

           Vardenafil ODT
           (Staxyn), GSK                                  Exclusive
           10mg

           Abiraterone acetate Tablets
           (Zytiga), Johnson & Johnson                     Shared
           250mg

           Dabigatran Etexilate Capsules
           (Pradaxa), Boehringer Ingelheim                 Shared
           75mg, 150mg

           Dalfampridine ER Tablets
           (Ampyra), Blan/Acorda                           Shared
           10mg

           Desvenlafaxine E R Tablets
           (Pristiq), Pfizer                               Shared
           50mg, 100mg

           Doxepin Hydrochloride Tablets
           (Silenor), Pemix                                Shared
           3mg, 6mg

           Dronedarone Tablets
           (Multaq), Sanofi                                Shared
           400mg

           Fesoterodine Fumarate SR Tablets
           (Toviaz), Pfizer                                Shared
           4mg, 8mg




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                          Product Name            Believed First-to-File Status

           Fingolimod Capsules
           (Gilenya), Novartis                              Shared
           0.5mg

           Lacosamide Tablets
           (Vimpat), UCB                                    Shared
           50mg, I 00mg, I 50mg, 200mg

           Lisdexamfetamine Dimesylate Capsules
           (Vyvanse), Shire/New River                       Shared
           20mg, 30mg, 40mg, 50mg, 60mg, 70mg

           Lurasidone HCI Tablets
           (Latuda), Sunovion                               Shared
           20mg, 40mg, 60mg, 80mg, 120mg

           Pitavastatin Tablets
           (Livalo), Kowa                                   Shared
           I mg, 2mg, 4mg

           Prasugrel Tablets
           (Effient), Lilly                                 Shared
           5mg, 10mg

           Ramelteon Tablets
           (Rozerem), Takeda                                Shared
           8mg

           Rasagiline Tablets
           (Azilect), Teva                                  Shared
           0.5mg, 1mg

           Rosuvastatio Tablets
           (Crestor), AstraZeneca                           Shared
           5mg, 10mg, 20mg, 40mg

           Saxagliptin Tablets
           (Onglyza), BMS                                   Shared
           2.5mg, 5mg

           Sitagliptin Tablets
           (Januvia), Merck                                 Shared
           25mg, 50mg, I 00mg




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                            Product Name                             Believed First-to-File Status

           Sitagliptin/Metformin Tablets
           (Janumet), Merck                                                     Shared
           501500mg, 5011000mg

           Tapentadol Tablets
           (Nucynta), Depomed                                                   Shared
           50mg, 75mg, I 00mg

           Tapentadol E R Tablets
           (Nucynta ER), Depomed                                                Shared
           50mg, 100mg, 150mg, 200mg, 250mg

           Varenicline Tartrate Tablets
           (Chantix), Pfizer                                                    Shared
           0.5mg, 1mg



               The following chart lists those products/ litigations for which Seller believes it could
        potentially commence sales \Vithout a valid license prior to closing.


                         Product/Litigation                        Believed 30-Month Stay Expiration
        Bortezomib Injection (Velcade®)                                             6/8/15
        Mille11nium Pharmaceuticals v. Actavis Inc. (D. Del.
        1 :2012-cv-01011-Sleet)

        Estradiol Valerate/Dienogest (Natazia®)                                      N/ A
        Bayer v. Watson (D. Del. 1:2012-cv-01726-Stark)

        Levalbuterol Inhalation Aerosol (Xopenex HFA®)                            12/20/ 14
        Su11ovio11 Pharms. v. Watson (D. Del. J :2012-cv-
        00993-Stark)

        Oxymo~hone Extended-Release Tablets                                        6/6/15
        (Opana R CRT) "new formulation"

        Endo v. Actavis, Inc. (S.D .N.Y. l 3-cv-0436-Griesa)

        VardeoafiJ ODT (Staxyn®)                                                   9/14/14
        Bayer v. Watson (D. Del. l :2012-cv-00517-Sleet)




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                        Product/Litigation                      Believed 30-Month Stay Expiration
        Aripiprazole Tablets (AbiUfy®)
                                                                              NIA
        Otsuka v. Actavis Inc. (D.N.J. I :2014-cv-07106-
        Simandle)

        Lenalidomide Capsules (Revlimid®)
                                                                             418/13
        Celgene Corp. v. Natco Pharma Ltd. (D.N.J. 10-cv-
        05197-Wigenton)

        Methylpbenidate HCI Extended-Release Oral
                                                                              NIA
        Suspension, CII (Quillivant XR®)

        Tris Pharma Inc. v. Actavis Laboratories FL In c. (D.
        Del. 1: I 5-cv-00393-Sleet)

        Vardenafi1 Hydrochloride (Stu-yo®)
                                                                             9114114
        Bayer Pharma AG, et al. v. Watson Laboratories,
        Inc., et al. (D. Del. I: 12cv-00517-GMS-Sleet)

        DrospirenonelEE/Levomefolatc and Levomefolate
                                                                            12/20/ 15
        (Beyaz®)

        Merck & Cie and Bayer v. Watson (D. Del. I :2013-
        cv-01272-Andrews)
        Ethinyl Estradiol/Etonorgestrel Vaginal Ring
                                                                             6124/16
        (NuvaRing®)

        Merck v. Wamer Chilcott (D. Del. 1 :2013-cv--02088-
        Sleet)

        Testosterone Gel, 10 mg/0.S g (Fortcsta®)                            7116/ 15
        Endo v. Watson (E.D. Tex. 2:13-cv-00192-Gilstrap)

        Bendamustine Injection (Treanda®)
                                                                             7/2/16
        Cephalon v. Actavis LLC et al. (D. Del. l: 13-cv-
        02046-Sleet)




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                         Product/Litigation                     Believed 30-Month Stay Expiration
        Buprenorphine/Naloxone Sublingual Film
                                                                             2/28/16
        (Suboxone®)

        Reckitt Benckiser v. Watson (D. Del. l :2013-cv-
        01674-Andrews)

        Colchicine Tablets (Colcrys®)
                                                                             7/31 / 16
        Takeda v. Actavis et al. (D. Del. l :20 l 4-cv-00268-
        Robinson)

        Doxylamine/Py ridoxine Delayed-Release Tablets
                                                                             12/2/16
        (Diclegis®)

        Duchesnay Inc. et al. v. Actavis FL (D. Del. I :2014-
        cv-00912-McNulty)



        Drospirenone/EE/Levomefolate and Levomefolate
                                                                            10/ 24/ 15
        (Safyral®)

        Merck & Cie and Bayer HealthCare ?harms. v.
        Watson (D. Del. I :20 I 3-cv-00978-Andrews)

        Esomeprazol Delayed-Release Capsules                                 8/4/15
        (Ne:\ium®)

        AstraZeneca v. Watson (D.N.J. 3:2013-cv-01669-
        Pisano) - 40 mg

        Esomeprazole and Naproxen Delayed-Release
                                                                            9/29/ 15
        Tablets (500/20 mg) (Vimovo®)

        AstraZeneca and Horizon v. Watson (D.N.J. 3:2011-
        cv-023 17-Cooper)

        lcosapent Ethyl Capsules (Vascepa®)
                                                                             10/6/16
        Amari11 v. Watson (D.N.J. 3:2014-cv-03259-Cooper)

        Isotretinoin Capsules {Absorica®)
                                                                            3/16/ 16
        Cipher/Ranbaxy et al. v. Watson Florida et al.
        (D.N.J. 1 :2013-cv-06502-Jrenus)




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                         Product/Litigation                  Believed 30-Month Stay Expiration
        Lacosamide Tablets (Vimpat®)                                     12/12/15
        UCB et al. v. Watson Florida (D. Del. I : 13-cv-
        01206/1219-Stark)

        Oxcarbazepine Extended-Release Tablets                           12/24/ 15
        (OxteUar XR®)

        Supernus v. Watson (D.N.J. I :2013-cv-04740-Bumb)

        Pbentermine and Topiramate Extended-Release
                                                                          11 /5/16
        Capsules (Qsymia®)

        Vivus v. Watson (D.N.J. 2:2014-cv-03786-Chesler)

        Prasugrel Tablets (Effien t®)                                     7/26/16
        Eli lilly v. Watson (S.D. Tnd. I :2014-cv-00389-
        Barker)

        Prednisone Delayed-Release Tablets (Rayos®)
                                                                          1/ 14/ 16
        Horizon v. Watson (D.N.J. I :2013-cv-05124-Trenus)



        Saxagliptin HCI Tablets (Onglyza®)                               10/19/ 16
        AstraZeneca v. Watson (D. Del. I :2014-cv-00664-
        Sleet)



        Saxagliptin and Metformin Extended-Release
                                                                         10/ 19/16
        Tablets (Kombiglyze XR®)

        AstraZeneca v. Watson (D. Del. I :2014-cv-00664-
        Sleet)

        Sodium Oxybate Oral Solution (Xyrem®)
                                                                          6/9/15
        Jazz v. Watson (D.N.J. 2 :1 3-cv-00391-Salas)




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                         Product/Litigation                       Believed 30-Montb Stay Expiration
        Tapentadol Immidiate-Release & Extended-
                                                                                 12/12/15
        Release Tablets (Nucynta®)

        Janssen v. Actavis (D.N.J. 2 :13-cv-04507-Cecchi)

        Tapentadol Oral Solution (Nucynta®)
                                                                                 12/ 11 / 16
        Janssen v. Actavis (D.N.J. 2:14-cv-04617-Cecchi)

        Testosterone Topical Solution (Axiron®)                                   11 /8/ 15
        Eli Lilly v. Watson (S.D. Ind. 1 :20 I3-cv-00851-
        Barker)



              The following chart lists those products/litigations for which Seller believes the statutory
        30-month s tays will expire in 2015-16.

                         Product/Litigation                       Believed 30-Month Stay Expiration
        Drospirenone/EE/Levomefolate and Levomefolate
                                                                                 12/20/15
        (Beyaz®)

        M erck & Cie and Bayer v. Watson (D. Del. 1:2013-
        cv-01272-Andrews)
        Ethinyl Estradiol/Etonorgestrel Vaginal Ring
                                                                                 6/24/16
        (NuvaRing®)

        Merck v. Warner Chilcott (D. Del. I :2013-cv-02088-
        Sleet)

        Testosterone Gel, JO mg/0.5 g (Fortesta®)
                                                                                 7/16/15
        Endo v. Watson (E.D. Tex. 2:l 3-cv-00192-Gilstrap)

        Bendamustine Injection (Treanda®)                                         7/2/16
        Cephalon v. Actavis LLC et al. (D. Del. 1: I 3-cv-
        02046-Sleet)




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                         Product/Litigation                     Believed 30-Montb Stay Expiration
        Buprenorpbine/Naloxone Sublingual Film
                                                                             2/28/ 16
        (Suboxone®)

        Reckitt Benckiser v. Watson (D. Del. 1:2013-cv-
        01674-Andrews)

        Colchicine Tablets (Colcrys®)
                                                                             7/31 / 16
        Takeda v. Actavis et al. (D. Del. 1 :20 I 4-cv-00268-
        Robinson)

        Doxylamine/Pyridoxine Delayed-Release Tablets
                                                                             12/2/ 16
        (Diclegis®)

        Duchesnay Inc. et al. v. Actavis FL (D. Del. I :2014-
        cv-00912-McNulty)



        Drospirenone/EE/Levomefolate and Levomefolate
                                                                            I 0/24/15
        (Safyral®)

        Merck & Cie and Bayer HealthCare Pharms. v.
        Watson (D. Del. 1 :2013-cv-00978-Andrews)

        Esomeprazol Delayed-Release Capsules
                                                                             8/4/ 15
        (Ne'.\.;um®)

        AstraZeneca v. Watson (D .N.J. 3:2013-cv-01669-
        Pisano) - 40 mg

        Esomeprazole and Naproxen Delayed-Release
                                                                            9/29/ 15
        Tablets (500/20 mg) (Vimovo®)

        AstraZeneca and Horizon v. Watson (D.N.J. 3:2011-
        cv-02317-Cooper)

        lcosapent Ethyl Capsules (Vascepa®)
                                                                             10/6/16
        Amarin v. Watson (D.N.J. 3:2014-cv-03259-Cooper)

        Isotretinoin Capsules (Absorica®)
                                                                            3/ 16/ 16
        Cipher/Ranbaxy et al. v. Watson Florida et al.
        (D.N.J. 1:2013-cv-06502-Jrenus)




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  Case: 1:17-md-02804-DAP Doc #: 1909-5 Filed: 07/19/19 113 of 144. PageID #: 87787




                         Product/Litigation                  Believed 30-Montb Stay Expiration
        Lacosamide Tablets (Vimpat®)                                     12/ 12/ 15
        UCB et al. v. Watson Florida (D. Del. 1: 13-cv-
        01206/12 l 9-Stark)

        Oxcarbazepine Extended-Release Tablets                           12/24/ 15
        (Oxtellar XR®)

        Supernus v. Warson (D.N.J . I :2013-cv-04740-Bumb)

        Pbentermine and Topiramate Extended-Release
                                                                          11 /5/16
        Capsules (Qsymia®)

        Viv-us v. Watson (D.N.J. 2:2014-cv-03786-Chesler)

        Prasugrel Tablets (Effient®)                                      7/26/16
        Eli lil~v v. Watson (S .D. Ind. I :2014-cv-00389-
        Barke r)

        Prednisone Delayed-Release Tablets (Rayos®)
                                                                          1/ 14/16
        Horizon v. Watson (D.N.J. l :2013-cv-05124-Irenus)



        Saxagliptin HCI Tablets (Onglyza®)                               10/ 19/ 16
        Asn·aZeneca v. Watson (D. Del. 1 :2014-cv-00664-
        Sleet)



        Saxagliptin and Metformin Extended-Release
                                                                         10/l9/ 16
        Tablets (Kombiglyze XR®)

        AstraZeneca v. Watson (D. Del. 1 :2014-cv-00664-
        Sleet)

        Sodium Oxybate Oral Solution (Xyrem®)
                                                                          6/9/15
        Jazz v. Watson (D.N.J. 2:13-cv-00391-Salas)




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                         Product/Litigation                  Believed 30-Montb Stay Expiration
        Tapentadol Immidiate-Release & Extended-
                                                                         12/ 12/ 15
        Release Tablets (Nucynta®)

        Janssen v. Actavis (O.N.J. 2:13-cv-04507-Cecchi)

        Tapentadol Oral Solution (Nucyota~
                                                                         12/ 11/16
        Janssen v. Actavis (O.N.J. 2 :14-cv-04617-Cecchi)

        Testosterone Topical Solution (Axiron®)                           1J/8/ 15
        Eli Lilly v. Watson (S.D. Ind. l :20 l 3-cv-00851-
        Barker)




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                        Schedule 4.17(a) - Transferred Owned Real Property




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                                                                                                           EXECUTION VERSION
                                                                                                               CONFIDENTIAL


             Country          City                       Address
             Brazil           Rio de Janeiro             Rua Barao De Petropolis 293
             Brazil           Rio de Janeiro             Rua Sarao De Petropolis 3 1l
             Bul2aria         Dupnitsa                   Samokovsko shosse 3, Buildings I through 31
             Bulgaria         Sofia                      Rainbow Plaze: 29, Atanas Dukov Street, 1407, 2nd a nd 3rd
             Bulgaria         Troyan                     I , Krayrcchna Str.
             Canada           Mississauga                6500 Kitimat Road
             China            Shang hai                  Suites 3101,3102,3103,3104; 31st Floor Tower B, Eton Plaza ,555 Pudong Dadao
             Greece           Athens                     Octovriou 28, Agia Varvara
             Greece           Schimitari                 Thesi Rahili Schimatariou, Oinois 32009
             Iceland          Hafnarfjordur              Reykjavikurvegur 76
             Iceland          Hafnarfjo rdur             Reykjavikurvegur 78
             Iceland          Hafnarfjo rdur             Reykjavikurvegur 80
             Iceland          Kopavogur                  Karsnesbraut 108,201 Kopavogur
             Iceland          UthliO, Selfos             Djaknavegur 23 & 27
             India            Ambernath                  N-15 Additional Ambemath Industrial Area, D istrict 3
             India            Ambernath                  Plot K -7 Additional Ambemath Industrial Area, District 3
             Ireland          B aldoyle                  Unit 146, Baldoyle Industrial Estate, Grange Rd
             Ireland          Dundalk                    Building 8, Xerox Technolol!V Park
             Italy            Nerviano                   Viale Pasteur l 0
             New Zealand      Auckland                   Unit B8, 3 J -49 Norrnanby Road, Mt. Eden
             New Zealand      Auckland                   Unit 89, 31-49 Normanby Road, Mt. Eden
             Puerto Rico      Las Crobas                 El Conquistador, 1000 Conquistador Ave, Las Croabas, Puerto Rico 00738. Units
                                                         509 J , 92 and 93
             Pue rto Rico     Manati                     PR Road 2, KM 46.2, Coto Norte Ward
             Romania          Bucharest                  Bucharest I, 11 Ion Mihalache blvd.
             Romania          Bucharest                  Bucharest 1, 179-185 Odai Street
             Serbia           Leskovac                   Vlajkova 199
             Thailand         Phra Nakhon Si Ayutthaya   89 Moo I , Tarnbon Ban Chang, Amphoe Uthai

                                                  -90-




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             UK               Barnstaple             Barnstaple Site, Whiddon Valley Industria l Estate
             UK               Larne                  Old Belfast Road, Millbrook
             USA              Copiague               200 North Oak Street
             USA              Copiague               26 Bethpage Road
             USA              Copiague               33 Ralph Ave
             USA              Copiague               45 Ralph Ave
             USA              Corona                 I 00 Business Center Drive (82)
             USA              Corona                 1781 Capital Street
             USA              Corona                 1791 Capital Street
             USA              Corona                 31 J Bonnie Circle (B4)
             USA              Davie                  4955 Orange Drive
             USA              Elizabeth              200 Elmora Avenue
             USA              Grand Island           3000 Alt Blvd
             USA              Gurnee                 605 Tri-State PKY
             USA              Salt Lake City         579 South Chipeta Way




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                                                Schedule 5.2
                                               Share Capita)

        Amended and Restated Deposit Agreement, dated November 5, 2012, among Teva
        Pharmaceutical Industries Limited, JPMorgan Chase Bank N.A., as depositary, and the holders
        from time to time of shares

        Convc1tible Senior Debentures issued January 2006 and due in 2026




        LA_LAN0\ :284952.6




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                            ALLERGAN_MDL_03367147
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                                                    Schedule 5.3
                             Corporate Authority Relative to this Agreement; No Violation

        The following material Contracts contain provisions which may be breached if Closing were to
        occur without new Debt Financing being put in place by Buyer Parent:

        Senior Unsecured Revolving Credit Agreement among Teva Pharmaceutical Industries Limited ,
        Teva Pharmaceuticals USA, Inc., Teva Finance Services B.V., Teva Finance Services II B.V.,
        Teva Capital Services Switzerland GMBH, Citibank N.A., as administrative agent and HSBC
        Bank PLC, as documentation agent, dated December 18, 2012 (as amended from time to time)

        Senior Unsecured Japanese Yen Tem1 Loan Agreement among Teva Pharmaceutical Industries
        Limited, Teva Holdings K.K. and Mizuho Bank, Ltd., as administrative agent, dated December
        17, 2013

        Seruor Unsecured Fixed Rate Japanese Yen Term Loan Credit Agreement dated among Teva
        Phannaceutical Industries Limited, Teva Holdings G.K. and Sumitomo Mitsui Banking
        Corporation, as administrative agent, dated March 28, 2012




        LA_LAN0 l:284952.6




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                               ALLERGAN_MDL_03367148
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                                                     Schedule 5.7
                                         Absence of Certain Changes or Events


        Teva's proposal to acquire Mylan N.V.

        Dividends declared by Tiger since December 31, 2014:

                •            $00.34 per ordinary share - Declared February 5, 2015

                •            $00.34 per ordinary share - Declared May 4, 2015




        LA_ LAN01:284952.6




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                                                     Schedule 5.9
                                         Consents and Governmental A pprovals

        Filings under the Foreign Antitrust Laws whose Consent is required include:

                •            Canada (clearance)

                •            The European Union (clearance)

                •            The Russian Federation (clearance)

                •            The Republic of Serbia (clearance)

                •            The Republic of Turkey (clearance)

                •            Ukraine (clearance)




        LA_LANOI :284952.6




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                                                                                EXECUTION VERSION
                                                                                    CONFIDENTIAL

                                  Schedule 6.1 (b)- Conduct of the Business

           •   Pursuant to the sale and purchase agreement entered into on 23 January 20 I 5 between,
               inter alia, Amit Patel, Meeta Patel and Actavis pie, the determination of the completion
               statements is still ongoing. The parties are not currently in dispute and Seller Parent's
               current estimate is that the Vendors (as defined in the purchase agreement) will be
               entitled to an additional payment of approximately £2.4 million. These discussion with
               continue following signing of the Agreement.

           •   An amended version of the Master Supply Agreement between Watson Laboratories, Inc.
               and Catalent Phanna Solutions, LLC is expected to be signed shortly after signing the
               Agreement. The version of the Master Supply Agreement that is executed shortly after
               signing the Agreement is expected to be substantially similar to the draft that has been
               provided to Buyer Parent prior to the date of the Agreement.

           •   Buyer Parent and its Subsidiaries (including the Transferring Group) intends to settle
               ANDA and/or patent claims related to the following products; provided that
               notwithstanding anything to the contrary, Seller Parent shall infonn Buyer Parent a
               reasonable period in advance prior ofente,ing into a settlement with respect to the
               following products:

                   o   Natazia (Settlement/AG Supply)
                   o   Staxyn (Settlement/AG Supply of Levitra)
                   o   Beyaz (Settlement/AG Supply)
                   o   Safyral (Settlement/AG Supply)
                   o   Xopenex HF.A (Settlement/AG Supply)
                   o   Letairis
                   o   Treanda
                   o   Ampyra
                   o   Multaq
                   o   Minivelle
                   o   Abstral
                   o   Gilenya
                   o   Absorica
                   o   Effient (agreement to be bound)
                   o   Revlimid
                   o   Men's & Women's Rogaine
                   o   Brisdelle
                   o   Zometa
                   o   Onglyza
                   o   Kombiglyze XR
                   o   NexiumR.x
                   o   NexiumOTC

        Retention Bonus Plan: Seller Parent may adopt a cash retention program at one or more of the
        Transferred Entities for key Business Employees, to be paid after the Closing, with an aggregate

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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                               ALLERGAN_MDL_ 03367151
  Case: 1:17-md-02804-DAP Doc #: 1909-5 Filed: 07/19/19 123 of 144. PageID #: 87797




        retention pool ofup to $20 million, with the participants and terms to be jointly agreed upon by
        Seller Parent and Buyer Parent in reasonable consultation.

        Nothing in Section 6.1 and 6.2 ofthe Agreement shall prevent the Seller Parent and its Affiliates
        from implementing any lease temlinations or employee tenninations in connection with existing
        integration plans announced as of the date hereof.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                              ALLERGAN_MDL_03367152
      Case: 1:17-md-02804-DAP Doc #: 1909-5 Filed: 07/19/19 124 of 144. PageID #: 87798




                                                Schedu le 6.l(f)
                                                  Dividends

        Quarterly dividends by Buyer Parent in accordance with past practice.




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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                      ALLERGAN_MDL_03367153
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-~} Allergan
                                                        Allergan pie and Subsidiaries
                                                              At August 2, 2016
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                                                            Prtportd by Cerino Sinclair; To1' CHpartm~ttt
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                                                                                                                                                                               Warner Chilcott pk.




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                         "' Legal Entities Sold to Teva on August 2, 2016
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                   ALLERGAN- MDL- 03674501
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·f •: Allergan                                   Allergan pie and Subsidiaries
                                                       At August 2, 2016
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                              "Legacy Watson, Warner Chilcott US, Durata"
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::ONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                            ALLERGAN MDL 03674502
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                                                 Allergan pie and Subsidiaries                                                                                    ~~~
 ( •~• Allergan                                       At August 2, 2016
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~}Allergan                                                                                                                                                                                                                                                                                                                                                                                                                   Page 4 of 6
                                                                Allergan pie and Subsidiaries
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                            Allergan pie and Subsidiaries                                                                                                                                                                                                                                                                                                  Page 5 of 6
-~:~• Allergan                    At August 2, 2016
                               Tango US Holdings Inc.


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                                                         Allergan pie and Subsidiaries                                                                                                                                                                                                                                                                                                                                                        Page 6 of 6
  f•~• Allergan                                                At August 2, 2016
                                                         Allergan, Inc. and Subsidiaries                                                                                                                      ALLERGAN, INC.
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~ONFIDENTIAL - S UBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                       ALLERGAN MDL 03674506
                          Case: 1:17-md-02804-DAP Doc #: 1909-5 Filed: 07/19/19 131 of 144. PageID #: 87805

       Steve Ka ufho ld: In formation collected in respo nse to Plaintiffs' 30(b)(6) Notice


NO                  Topic                                                                     Response
43.1   The corporate structure of all                                                   Corporate History
       Allergan e ntities (inc luding
       Alle rgan Finance, LLC,            See provided graphic laying out Allergan's transactional history.
       Alle rgan pie, and a ll
       subsidiaries, parents,                                                         Corporate Structure
       predecessors, successors
       and/or associated e ntities        The corporate structure of a ll the entities identified below is s hown in the fo llowing corporate
       res ulting from a ny and a ll      organizational charts: 20I1-01-05 ALLERGAN_ MDL_03367307; 20 I 1-0 1-21
       mergers over the years) a nd       ALLERGAN_MDL_03367302; 2012- 10-12 ALLERGAN_MDL_0336730 I; 2012- 1 1-30
       each such e ntity's                ALLERGAN_ MDL_0276 I472; 2012- 12-3 1 ALLERGAN_ MDL_03367304; 2013-0 1-24
       involvement with any opioid        ALLERGAN_ MDL_02758853; 2013-06-30 ALLERGAN_MDL_0293 I208; 20 13- 10-0 I
       products from 1995 to the          ALLERGAN_MDL_0 I098786; 2014-0 1-3 1 ALLERGAN_MDL_0 1384578; 20 I 4-06-30
       present, inc luding the            ALLERGAN_ MDL_03295845; 2014-12-31 ALLERGAN_MDL_02 I77059; 20 15-01-0 I
       identification of all drugs, the   ALLERGAN_ MDL_02079795; 2015-09-08 ALLERGAN_ MDL_0 1471538; 20 15-09-30
       e ntity's role in connection       ALLERGAN_MDL_02 I 473 I 5; 2016-0 1-0 I ALLERGAN_MDL_0 137373 1; 20 16-03-3 1
       with such drugs, and a ll opioid   ALLERGAN_MDL_02 I 47 I I I; 2016-08-03 ALLERGAN_ MDL_03295865; 20 16-09-30
       management involved.               ALLERGAN_ MDL_03295869; 2017-06-30 ALLERGAN_ MDL_00000006; 20 17-08-0 I
                                          ALLERGAN_MDL_0000000 I; 20 18-03-31 ALLERGAN_MDL_03295860.

                                          Key Chart - 08-02-20 16 ALLERGAN_ MDL_0367450 I

                                                                                   Involvement with Opioids

                                          Transferred Entities/IP Ownership:

                                          A llergan sold its generic businesses to Teva in 20 16. Teva- Allergan MPA
                                          (ALLERGAN_MDL_0 1481207). As part of that transaction, Allergan sold a number of entities lo Teva
                                          that were involved with gene ric opioids. The followin g entities sold to Teva were listed as the ANDA or
                                          NDA holders for the fo llowing schedule II opio id products (see FDA "Orange Book"):

                                                  I.     Watso n Laboratories, Inc.
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NO                   Topic                                                                      Response
                                                           (a)     Fentanyl citrate injection (ANDA# 074917)

                                                           (b)     Fentanyl cilrate lable (ANDA# 079075)

                                                           (c)     Fentanyl transderrnal (ANDA# 076709)

                                                           (d)     Hydrocodone / acetaminophen (ANDA #s 081083; 081080; 081079; 040094;
                                                                   040122;040123;040099;040148;089883; 040248)

                                                           (e)     Meperidine Hydrochloride Injection (ANDA #s 073443; 073444; 073445)

                                                           (f)     Meperidine Hydrochloride Tablet (AN DA #s 040186)

                                                           (g)     Morphine sulfate injection (ANDA #s 073373; 073374; 073375; 073376)

                                                           (h)     Morphine sulfate capsule (ANDA #s 200812)

                                                           (i)     Oxycodone I acetaminophen (ANDA #s 040234; 040171; 040371; 040535)

                                                           (j)     Oxycodone / aspirin (ANDA #s 040255; 090084)

                                                           (k)     Oxycodone I ibuprofen (ANDA# 078394)

                                                           (I)     Morphine sulfate tablet (ANDA# 075656)

                                                   2.      Actavis Laboratories FL, Inc. f/k/a Watson L aboratories, I nc. - Florida

                                                           (a)     Hydrocodone / acetaminophen (ANDA #s 040493; 040494; 040495; 040148 1;
                                                                   206470)

                                                           (b)     Hydrocodonc / ibuprofen (ANDA #s 077454; 076604)


     1
         Some products arc listed under more than one entity if the ANDA or NOA transferred between the enti ties.


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NO   Topic                                                        Response
                                 (c)    Oxycodone / aspirin (ANDA# 090084)

                                 (d)    Hydromorphone tablet (ANDA# 202144)

                           3.    Actavis T otowa LLC

                                 (a)    Oxycodone I acetaminophen (ANDA #s 040203; 040199; 040800)

                                 (b)    H omalropine methyl bromide/ hydrocodone bitartratc (ANDA# 040295)

                                 (c)    Oxycodone / hydrochloride tablet (ANDA# 076636)

                           4.    Actavis Elizabeth LLC

                                 (a)    Oxycodone / acetaminophen (ANDA #s 040203; 040199; 040800; 201447)

                                 (b)    Homatropine methyl bromide/ hydrocodone bitartrate (ANDA# 040295)

                                 (c)    Morphine sulfate capsule (ANDA #s 020616; 079040)

                                 (cl)   Morphine sulfate tablet (ANDA# 203849)

                                 (e)    Oxycodone / hydrochloride tablet (ANDA# 076636)

                                 (f)    Oxycoclone / ibuprofen (ANDA # 078769)

                                 (g)    Oxymorphone tablet (ANDA# 079046)

                           5.    Actavis Mid Atlantic LLC

                                 (a)    H omatropine methyl bromide/ hydrocodone bitartrate (ANDA# 088017)

                           6.    Actavis Laboratories UT, Inc. Uk/a Watson Laboratories, Inc. Salt Lake City




                                                  3
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NO   Topic                                                             Response
                                     (a)    Morphine sulfate capsule (N OA # 020616)

                             7.     Actavis South Atlantic LLC

                                     (a)    Oxymorphone tablet (ANDA # 079046)

                                     (b)    Fe ntany l transcle rmal (ANDA# 077602)

                     Remaining Allergan Entities:

                     Kadi an®: From December 19, 2005, until it purchased the me dicatio n, Actavis El izabeth LLC served as
                     the contrac t manufacturer of Kaclian® for Alpharma. February 2, 2008 Actavis Elizabeth and Alpharma
                     Contract (ALLERGAN_MDL_0 I 076982); December 19, 2005, Alpharrna - Pure pac Contract
                     (ALLERGAN_MDL_0 1474803).

                     Actavis Eli zabeth LLC acquired Kadian® from Alpharma in December 2008 . December 17, 2008 Asset
                     Purchase Agreeme nt by and between King Pharrnaceuticals, Inc. and Actavis Elizabeth, L.L.C.
                     (ALLERGAN_ MDL_0 1514893).

                     The ho lders of the Kadi an® NO A (020616) since Decembe r 2008 were and are (see FDA "Orange
                     Book"):

                     •   December 2008-20 13: Acta vis Elizabeth LLC

                     •   20 13-20 16: Acta vis Laboratories UT, lnc. f/k/a Watson Laboratories, Inc. - Salt Lake C ity

                     •   20 16-Present: A lle rgan Sales, LLC

                     Apri I I I, 20 13 Transfer Letler (A LLERGAN_ MDL_008 I 13 13); November 20, 20 14, Company Name
                     Change Le tter (ALLERGAN_MDL_02l95036); Marc h 11 , 2016 Trans fer Letter
                     (ALLERGA N_ MDL_02 I 97647).




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NO                Topic                                                                   Response
                                        As part of the sale of its generic business to Teva, Teva agreed to continue manufacLUring Kadian® and
                                        Norco for Allergan. Exhibit B of Teva-Allergan 2015 MPA (ALLERGAN_MDL_03367042). At that
                                        time, Allergan also contracted with UPS SCS, Inc. to distribute controlled substances, including Kadian®
                                        and Norco.2015 UPS Al lergan Contract ALLERGAN_MDL_0 I 396729.

                                        Since December 2008, K adian's label has identified the following entities as the manufacturer or
                                        distributor of Kadi an®: Actavis Elizabeth LLC; Actavis Kadian L LC; Aclav is Pharma, Inc.; and Allergan
                                        USA, Inc. 02/2009 Label (ALLERGAN_MDL_0220069 I ); 02/20 IO L abel
                                        (A LLERGAN_MDL_0I 132982); 07/2012 L abel 2; 04/2014 L abel3 .

                                        The current label (revised 09/20184) states that Kadian® is distri buted by A llergan USA, Inc.; however,
                                        Allergan USA, Inc. does not distribute K adian® itself. I nstead, after A llergan sold the entities with the
                                        DEA-registrations required to produce and distri bute schedule II controlled substances, A l lergan USA,
                                        Inc. has contracted with UPS SCS, Inc. to distribute Kadian® on its behalf. 2015 UPS A llergan Contract
                                        (ALLERGAN_MDL _0 1396729).

                                         Norco: The holders of the Norco ANDAs (40099 & 40148) were and arc (see FDA " Orange Book") :

                                        ANDA 40099:

                                        •   1997-1999: UCB Pharmaceuticals, Inc .

                                        •   2000-2015: Watson Laboratories, Inc .

                                        •   2016: Allergan Sales, LLC

                                        •   2017-Present: A llergan Pharmaceuticals International Li mited




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         hllps://www.acccssdala.rda.gov/drugsatfda_docs/labcl/2012/0206 16s04 I lbl.pdf
     J
         https://www.acccssdata.rc1a.gov/drugsatfda_docs/labcl/2014/020616s05 I lbl.pdf
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         https://www.allcrgan.com/asscts/pdf/kad ian_pi


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NO                 Topic                                                                        Response
                                          ANDA 40148:

                                          •   1997-20 14: Watson Laboratories, Inc .

                                          •   2015: Acta vis Laboratories FL, l nc .

                                          •   2016: Allergan Sales, LLC

                                          •   2017-Present: Allergan Pharmaceuticals International Li mitcd

                                          The following entities were involved in manufacturing and distributing Norco: Watson Pharma, Inc.,
                                          Watson Laboratories, Inc., Warner Chi lcott Company, LLC, Allergan USA, Inc., and Allergan Sales,
                                          LLC. 04/2002 Label (ALLERGAN_MDL_0 I095947); Apri l 2003 Label
                                          (ALLERGAN_MDL_0 I095940); 07/2007 Label (ALLERGAN_MDL_0 1680965); I0/2009 Label
                                          (ALLERGAN_MDL_02206790); 06/2011 Label s (ALLERGAN_MDL_02209823;
                                          ALLERGAN_MDL_022 I0219); 08/2012 Label (ALLERGAN_MDL_0 1768757); 08/2013 Labels
                                          (ALLERGAN_MDL_022 I0402; ALLERGAN_ MDL_02209867); 20 14 Labels\ 02/2017 Label
                                          (ALLERGAN_ MDL_022 I9 168); Current Labe l6 .

                                          Sim ilar to Kadian®, after Allergan sold the enti ties with the DEA-registrations requi red to produce and
                                          distribute schedule IT control led substances, Allergan contracted with Teva and UPS, SCS Inc. to
                                          manufacture and distribute Norco on behalf of Allergan USA, lnc. and Al lergan Sales, LLC. 2015 UPS
                                          Allergan Contract (ALLERGAN_MDL_0 1396729); Exhibit B of Teva-Allergan 2015 MPA
                                          (ALLERGAN_MDL_03367042).

                                          Other Schedule II Branded Drugs: Between 2004 and 2006, Watson Pharmaceuticals, Inc., collaborated
                                          with lnterpham, Inc. (the ANDA holder) in the marketing and sa le of Reprexain (ANDA 076642 -
                                          Hydrocodone bitartrate / ibuprofen). June 07, 2004 Email & Press Release Announci ng Launch


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         htLps://www.acccssdata.fda.gov/drugsaLfda docs/labcl/20 I 4/040099Orig I s0 I 81bl.pdf';
         hllps://www.acccssdata.f"da.gov/drugsatfda_docs/labcl/20 14/040 I 48s0531bl.pdf'
     6
         hllps://www.allcrgan.co m/asscts/pd lJnorco_pi


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NO                 Topic                                                                    Response
                                         (ALLERG AN_MDL_0 1830938; ALLERGAN_MDL_0 1830941 ); June 14. 2006 Email Di scussing No
                                         L onger Promoting Rcprcxain ( ALLERGAN_MDL_0 1728789).

                                         On October 12, 2000, Watson Pharma, lnc. announced the addition of M axidonc (40094 - hydrocodone
                                         bitartrate / acetaminophen) to its product portfolio. October 12, 2000 Product Introduction Notification
                                         (ALLERGAN_MDL_025797 I 3). Since 201 5, M axidone has been included on the FDA 's list of
                                         discontinued drugs. (See 201 5 FDA Orange Book, " Discontinued Drug Product List").

                                         Acta vis acquired Forest Laboratories, Inc. in 201 4. Prior to the acqui sition, Forest L aboratories, Inc. sold
                                         a product called Combunox (02 1378 - Oxycodone Hydrochloride/ ibuprofen). Forest received approval
                                         for Combunox on November 26, 2004. Since 20 12, Combunox has been included on the FDA 's list of
                                         discontinued drugs. (See 20 12 FDA Orange Book, " Discontinued Drug Product List").

43.2   The management of the             Each of the seven entities identified above that had in volvement with generic opioid medications is
       generic opioid business from      included on Schedule 4.6(g) of the Teva-Allergan MPA, which lists the entiti es transferred to Teva. Teva-
       1995 to the present for all       A llergan MPA Schedules (ALLERGAN_MDL_03367048).
       A llergan entities (including
       A llergan Finance, LLC,           The Janu ary I , 201 5. organization chart shows where each of these entities fel l within the the corporate
       Allergan pie, and all             structure of A llergan prior to the sale to Teva. ALLERGA N_MDL_02079795. Actavis South Atl antic
       subsidiaries, parents,            LLC, Actavis Elizabeth, LLC, A ctavis Mid Atlantic LLC, and Actavis Totowa LLC were all direct
       predecessors, successors          subsidiaries of Actavis LLC, whi ch was an indirect subsidiary of Watson L aboratories, Jnc. See id at 2.
       and/or associ ated entities       Watson L aboratories, lnc. was a direct subsidi ary of Actavis, Inc. n/k/a Allergan Finance, L LC. See id.
       resulting from any and all        A ctavis L aboratories UT, Inc. was a direct subsidiary of Acl avis, Jnc. n/k/a Allergan Finance, LLC. Id.
       mergers over the years) and all   Actavis L aboratories FL, Inc. (f/k/a W atson L aboratories. Inc. - Florida) was a direct subsidiary of A ndrx
       generic opioids for which any     Corporation, which was a direct subsidiary of A ctav is, Inc. n/ k/a Allergan Finance, LLC. Id. Andrx
       Allergan entities had any         Corporation and Actavis LLC, in addition to the seven generic ANDA-holding entities, were transferred to
       involvement                       Teva. Teva-Allergan MPA Schedules (ALLERGAN_MDL_03367048).

                                         Prior to the sale of these entities to Teva, Actavis, Inc. n/k/a A llergan Finance, LLC did not manufacture,
                                         market, distri bute, or sel I any pharmaceutical products. It operated solely as a holding company . All of the
                                         direct subsidi aries of Actavis, Inc. n/k/a Allergan Finance invol ved in the management of the generic




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NO   Topic                                                             Response
                     opioid bus iness were trans ferred to Teva. No other affiliate of Al le rgan Fina nce LLC or Allergan pie had
                     invo lveme nt wilh generic o pioicls.

                     Officers & Directors of Generic Entities:

                     Based on a review of reasonably available documents, we have identified the following persons as
                     directors and officers of some of the entities identified above.

                     Watson Pharma, Inc.

                     7-24-20 12:

                     Director: Paul M. Bisaro;

                     Officers: Pa ul M. Bisaro, G. Frederic k Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                     Ranjana B. Pathak, Andrew Boyer, C ha rles M. Mayr, Lynne Amato, Tho mas R. Griffin , Tim Callah an,
                     Diane Miranda, Kathleen Reape, Allan Slavsky, Michael W. Carr, Sigurd C. Kirk, James O ' Brie n, James
                     A. Williamson, Brett W. Hagardorn.

                     See ALLERGAN_MDL_03367292

                     8-30-2013:

                     Director: Paul M. Bisaro;

                     Officers: Pau l M. Bisaro, G. Frede rick Wilkinson, Robert A. Stewart, R. T odd Joyce, David A. Buchen,
                     Ranjana B. Pathak, Andrew Boyer, C ha rles M. Mayr, Lynne Amato, Tho mas R. Griffin , Tim Callah an,
                     Kathleen Reape, Alla n Slavsky, Mic hael W. Carr, Sigurd C. Kirk, James O'Brien, James A. Wi lli amson,
                     Bretl W. Hagardorn, John Larocca.

                     See ALLERGAN_MDL_03367295.

                     Watson Laboratories, Inc.



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NO                  Topic                                                                   Response
                                          7-24-20 12:

                                          Director: Paul M. Bisaro;

                                          Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A . Stewart, R. Todd Joyce, David A . Buchen,
                                          Patrick G. Brunner, Charles D. Ebert, Ranjana B. Pathak, Nick Kerkhof, Gary Kozloski , Gary Holloway,
                                          Jeffery Regan, Beth Brennan, K athleen Reape, Michael W. Carr, James O'Brien, James A. Williamson,
                                          Miguel A. Gomez, Brett W. Hagadorn, Roberta L oomar.

                                          See ALLERGAN_MDL_03367294.

                                          8-30-20 13

                                          Director: Paul M. Bisaro;

                                          Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A . Stewart, R. Todd Joyce, David A. Buchen,
                                          Patrick G. Brunner, Charles D. Ebert, Ranjana B. Pathak, H afrun Fridriksdottir, N ick K erkhof, Gary
                                          K ozloski , Gary Holloway, Jeffery Regan, Beth Brennan, K athleen Reape, Michael W. Carr, James
                                          O'Brien, James A. Willi amson, Miguel A. Gomez, Brett W. Hagadorn, John L arocca.

                                          See A LLERGAN_MDL_03367296.

43.3   All involvement and                A l lergan pie "was established for the purpose of facilitating the business combination between Allergan
       communications Allergan pie        Finance, LLC (formerly known as A ctavis, Jnc.) and Warner Chilcott pie." Allergan pie 201 7 10-K at 3.
       has had with any of its            A llergan Finance, LLC acquired Warner Chilcott pie in a stock-for-stock transaction in 20 13. 5/1 9/20 I 3
       subsidiaries invol ved in the      Actav is, lnc. 8-K at 9. After the transacti on, W arner Chilcott and A llergan Finance, LLC each became
       licensing, manufacture,            wholly owned, indirect subsidiaries of Allergan pie. A llergan pie 20 17 I 0-K at 3.
       marketing, sale, or distribution
       of any opi oid products,           A llergan pie f/k/a A ctavis pie is an Irish corporation and its only offices are located in Ireland. Allergan
       including Allergan pie's           pie is a holding company that exists for the purpose of holding shares of other companies that manufacture
       ownership interests in, control    and di stribute prescription drugs rather than producing or selling its own goods or services. A llergan pie
       over, and financial                does not finance or control the daily affairs, including marketing or sales operations, of its subsidiaries.
       interrelati onships w ith any



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NO                Topic                                                                         Response
     such subsidiaries, as well as      The following individuals are or were lhe primary executi ves at A llergan Finance, LLC in the following categories
     how subsidiaries' management       at the specified time period:
     interacted wi th and reported to
     Allergan pie and how this          Watson Pharmaceuticals, Inc.
     changed over time.
                                        Officers
                                               (i)         Chief Executi ve Offi cer: Allen Chao ( 1999-2008), Paul Bisaro (2008-20 12)
                                               (ii)        Chief Financial Officer: Michael Boxer ( 1999-2002), Charles Slacik (2003-2007), M ark
                                                           Durand (2008-2009), R. Todd Joyce (20 I 0-20 I 2)
                                                 (iii)     Chief Operating Offi cer: Fred Wilkinson ( 1999-2000), Joseph Papa (200 1-2004), Robert
                                                           Stewart (20 I 0-2012)
                                                 (i v)     General Counsel: Robert Funsten ( 1999-200 I ), David Buchen (2002-20 12)
                                                 (v)       Sales: L y nne A mato ( 1999, 2003-2009), Carolyn Logan ( 1999), Andy Boyer (2003-20 12),
                                                           Tim Cal lahan (20 I 0-20 12)
                                                 (vi)      Marketing: Lynne Amato ( 1999, 2003-20 12), Carolyn Logan ( 1999), A ndy Boyer (2003-
                                                           20 12)
                                                 (vii)     Compliance: Roberta Loomar (2008-20 I 0), Deborah Penza (20 I 1-2012)
                                                 (vi ii)   Sales or Marketing Training: None
                                                 (ix)      Government Affairs: G. Thomas L ong (2004-2010), Charl ie Mayr (20 11-2012)
                                                 (x)       M edical Director: Gary Kozlosk i (200 1-20 12)
                                                 (xi)      Research and Development: Charles Ebert ( 1999-20 12), Francois Menard (2007-2012)

                                        Directors
                                                (i)        Paul Bisaro (2007 - 20 12)
                                                (ii )      Chri stopher Bod ine (2009 - 2012)
                                                (iii)      Allen Chao ( 1983 - 2009)
                                               •(i v)      Michael Fed ida ( 1995 - 20 12)
                                                (v)        Michael Feldman ( 1985 - 20 12)
                                                (vi)       Albert Hummel ( 1986 - 20 12)
                                                (vi i)     A lec K eith ( 199 1 - 2000)
                                                (vi ii)    Catherine Klema (2004 - 20 12)
                                                (ix)       Jack Michelson (2002 - 2012)



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NO   Topic                                                                   Response
                              (x)        M elvin Sharoky ( 1995 - 1998)
                              (xi)       Anthony T abatznik (2009 - 20 12)
                              (xii)      Ronald Taylor ( 1994 - 201 2)
                              (x iii)    A ndrew Turner ( 1997 - 20 12)
                              (xi v)     Fred Weiss (2000 - 20 12)

                     Actavis, Inc.

                     Officers:
                            (i )         Chief Executi ve O fficer: Paul Bi saro (201 3-20 14), Brent Saunders (20 15-20 I 6)
                            (ii)         Chief Financial Officer: Todd Joyce (20 I 3-20 14), Tessa Hilado (20 I 5-20 I 6)
                            (i i i)      Chief Operating O fficer: Robert Stewart (20 13-2016)
                            (i v)        General Counsel: David Buchen (201 3-20 14), A . Robert D . Bailey (20 15-20 16)
                            (v)          Sales : A ndy Boyer (20 13), Tim Callahan (20 13), Siggi Olafsson (201 3-20 14), William
                                         M eury (20 15-20 16)
                              (vi)       M arketing: A ndy Boyer (201 3), L ynne A mato (20 13), Siggi Olafsson (20 13-20 14),
                                         Will iam M eury (20 15-20 16)
                              (vii)      Compliance: Debra Penza (20 I 3-20 14), Joseph Z immerman (20 14), Jonathon Kellerman
                                         (20 I 5-20 I 6)
                              (vi i i)   Sales or M arketing Training: None
                              (i x)      Government A ffairs: Charlie M ayr (20 13-20 14), A lex K elly (20 15-20 16)
                              (x)        M edical Director: Gary Kozlowski (20 13), Gavin Corcoran (20 14-20 16)
                              (xi)       Research and Development: Chuck Ebert (20 13-20 14), Hafrun Fridriksdottir (20 13-20 14),
                                         David N icholson (20 15-20 16)

                     Directors
                            (i )         Paul Bisaro (201 3-201 4)
                            (ii)         Christopher Bodine (20 13-20 14)
                            (i i i)      Michael Fedida (20 13-20 14)
                            (iv)         Michael Feldman (20 I 3-20 14)
                            (v)          A lbert Hummel (20 13-20 14)
                            (vi)         Catherine K lema (201 3-20 14)



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NO   Topic                                                         Response
                           (vii)    Jack Michelson (20 13-2014)
                           (viii)   Ronald T aylor (20 13-20 14)
                           (i x)    Andrew Turner (201 3-20 14)
                           (x)      Fred W eiss (201 3-2014)

                     Allergan Finance, LLC

                     Officers
                     A llergan Finance, LLC's management structure is set forth in the Second Amended and Restated
                     Operating A greement of Allergan Finance, LLC (ALLERGA N_MDL_SUPP_00000326). This Operating
                     Agreement identifies the following officers:
                             (i)     A . Robert D. Bailey
                             (ii)    M atthew M. Walsh
                             (iii)   Jonathon Kellerman
                             (iv)    Karen Ling
                             (v)     Alex Kelly
                             (vi)    Will iam Meury
                             (vii) Sigurd Kirk
                             (v iii) M arc Pri nccn
                             (i x)   James D' Arecca
                             (x)     Sean L ennon
                             (x i)   David N icholson
                             (x ii ) L ynne Bolduc
                             (xiii) Thomas Poche
                             (x iv) Bri an Anderson
                             (xv)    Riccardo M ancuso
                             (xvi) M artin Shindler
                             (xvii) Wayne Swanton
                             (xviii) Stephen M. K aufhold
                             (x ix) Kira Schwartz
                             (xx)    Judith T omkins




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NO             Topic                                                                                    Response
                                         Directors
                                         Allergan Finance, LLC does not have a Board of Directors. Allergan Finance, LLC instead has a two-
                                         person Board of Managers that is comprised of A. Robert D. Bailey and Matthew M. Walsh.

                                         Allergan pie Board & Executive Leadership Team:

                                         10-02-20137

                                         Directors:
                                                (i)         Paul M. Bisaro
                                                (ii)        James H. Bloem
                                                (iii)       Christopher Bodine
                                                (iv)        Tamar D. Howson
                                                (v)         John A. King
                                                (vi)        Catherine M. Klema
                                                (vii)       Jiri Michal
                                                (viii)      Jack Michelson
                                                (ix)        Sigurdur Oli Olafsson
                                                (x)         Patrick J. O'Sullivan
                                                (xi)        Andrew L. Turner
                                                (xii)       Fred G. Weiss

                                         Current Leadership:

                                         Executive Leadership Team:
                                                (i)   Brenton L. Saunders, Chairman, President and CEO
                                                (ii)   William Meury, EVP & Chief Commercial Officer
                                                (iii) Matt Walsh, EVP & Chief Financial Officer
                                                (iv)   A. Robert D. Bailey, EVP & Chief Legal Officer and Corporate Secretary
                                                (v)   Karen L. Ling, Esq., EVP & Chief Human Resources Officer

     https ://www .a Ilergan. com/news/news/tho mson-reu ters/acta vis-p lc-names-board-of-d irectors



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NO   Topic                                                           Response
                            (vi)     C. David Nicholson, PhD, EVP & Chief R&D Officer
                            (vii)    Alex Kelly, EVP & Chief Communications Officer
                            (viii)   Wayne R. Swanton, EVP, Global Operations

                     Directors
                            (i)      Nesli Basgoz, M.D.
                            (ii)     Joseph H. Boccuzi
                            (iii)    Christopher W. Bodine
                            (iv)     Adriane M. Brown
                            (v)      Christopher J. Coughlin
                            (vi)     Carol Anthony (John) Davidson
                            (vii)    Michael E. Greenberg, PhD
                            (viii)   Thomas C. Freyman
                            (ix)     Catherine M. Klema
                            (x)      Peter J. McDonnell, M .D.
                            (xi)     Fred G. Weiss




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